                          Appendix C




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     ··
     ··UNITED STATES DISTRICT COURT
     ··EASTERN DISTRICT OF TENNESSEE
     ··KNOXVILLE DIVISION
     ··---------------------------------------x
     ··LEWIS COSBY, KENNETH R. MARTIN,
     ··as beneficiary of the Kenneth Ray Martin
     ··Roth IRA, and MARTIN WEAKLEY on
     ··behalf of themselves and all others
     ··similarly situated,
     · · · · · · · · · · · · · ·Plaintiffs,
     · · · · · · · · · ·vs.· · · · · · ··No. 3:16-cv-00121
     ··KPMG, LLP,
     · · · · · · · · · · · · · ·Defendant.
     ··---------------------------------------x
     · · · · · · · · · · · · · ·April 25, 2019
     · · · · · · · · · · · · · ·8:57 a.m.
     ··
     · · · · · · · · · ·CONTINUED VIDEOTAPED DEPOSITION of
     ··CHAD COFFMAN, held at the law offices of MCDERMOTT
     ··WILL & EMERY LLP, 340 Madison Avenue, New York, New
     ··York, before Eleanor Greenhouse, a Shorthand
     ··Reporter and Notary Public within and for the State
     ··of New York.
     ··

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 ·4··
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 ·1··
 ·2··A P P E A R A N C E S: (Continued.)
 ·3··
 ·4··ALSO PRESENT:
 ·5·· · · ·Assen Koev, Charles River Associates
 ·6·· · · ·Allison Hart, Paralegal, McDermott Will & Emery
 ·7·· · · ·Darrak Lighty, Video Specialist, Reporters
 ·8·· · · · ·Central
 ·9··
 10··
 11··
 12··
 13··
 14··
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 ·1·· · · · · · · · · · ··C. Coffman
 ·2·· · · · · · ·THE VIDEO TECHNICIAN:··This is the
 ·3·· · · ·continued video deposition of Chad Coffman in
 ·4·· · · ·the matter of Lewis Cosby, et al., versus
 ·5·· · · ·KPMG, LLP.··This deposition is being held at
 ·6·· · · ·McDermott Will & Emery LLP on April 25th,
 ·7·· · · ·2019 at 8:57 a.m.
 ·8·· · · · · · ·My name is Darrak Lighty from Reporters
 ·9·· · · ·Central and I am the video specialist.··The
 10·· · · ·court reporter today is Eleanor Greenhouse,
 11·· · · ·also associated with Reporters Central.
 12·· · · ·Counsel will now state their appearances for
 13·· · · ·the record.
 14·· · · · · · ·MS. POSNER:··Laura Posner, Cohen
 15·· · · ·Milstein, for the Plaintiffs.
 16·· · · · · · ·MR. BALLARD:··I'm Greg Ballard from
 17·· · · ·McDermott Will & Emery.··I have Allison Hart,
 18·· · · ·a paralegal, also from McDermott, with me.
 19·· · · ·We're representing KPMG, and Assen Koev from
 20·· · · ·Charles River Associates is here with us as
 21·· · · ·well.
 22·· · · · · · ·MR. DAVIDSON:··Paul Davidson from
 23·· · · ·Waller Lansden Dortch & Davis, representing
 24·· · · ·KPMG.
 25·· · · · · · ·THE VIDEO TECHNICIAN:··The witness has

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2·· · · ·been previously duly sworn.
 ·3··C H A D· ·C O F F M A N,· ··resumed as a witness,
 ·4·· · · ·having been previously sworn by the Notary
 ·5·· · · ·Public, was examined and testified further as
 ·6·· · · ·follows:
 ·7··EXAMINATION BY
 ·8··MR. BALLARD:
 ·9·· · · ·Q.· ··Good morning.
 10·· · · ·A.· ··Good morning.
 11·· · · · · · ·(Exhibit 42, corrected expert report of
 12·· · · ·Chad Coffman, signed April 19, 2019, marked
 13·· · · ·for identification.)
 14·· · · ·Q.· ··Mr. Coffman, I've placed before you
 15··several newly marked exhibits.··Do you have in your
 16··hands Exhibit No. 42?
 17·· · · ·A.· ··Yes.
 18·· · · ·Q.· ··What is Exhibit 42?
 19·· · · ·A.· ··Exhibit 42 appears to be a copy of the
 20··corrected expert report I've now submitted in this
 21··matter.
 22·· · · ·Q.· ··Did you sign this on April 18, 2019?
 23·· · · ·A.· ··April 19, 2019, I believe.
 24·· · · ·Q.· ··Does Exhibit 42 contain a complete
 25··statement of all opinions you will express, and the

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··basis and reasons for them, on class certification
 ·3··in this case?
 ·4·· · · ·A.· ··It provides a summary of all the
 ·5··opinions I've been asked to -- all the questions
 ·6··I've been asked to answer in this phase of this
 ·7··case, yes.
 ·8·· · · ·Q.· ··And I used the phrase "a complete
 ·9··statement" because that's what the Federal Rules
 10··require.··You intended to include a complete
 11··statement of your opinions; right?
 12·· · · ·A.· ··Yes.
 13·· · · ·Q.· ··Did you do your best to make sure that
 14··Exhibit 42, your corrected report, contains the
 15··facts and the data that you considered in forming
 16··your opinions?
 17·· · · ·A.· ··It provides a summary of the facts and
 18··analyses that I'm relying upon.··There's also
 19··backup material that is not in the report that I
 20··view as part of what I produced.
 21·· · · ·Q.· ··Does Exhibit 42 contain the exhibits
 22··that you would use to support your opinions?
 23·· · · ·A.· ··As far as I know at this point, yes.
 24·· · · ·Q.· ··When you produced the corrected report
 25··to us in this case, did you also produce some

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··additional backup material?
 ·3·· · · ·A.· ··That's my understanding, yes.
 ·4·· · · ·Q.· ··Before we get to that, I want to show
 ·5··you what we previously marked as Exhibit 25.··This
 ·6··was your old report.··So you've got Exhibit 25 and
 ·7··42 in your hands.··We should look to Exhibit 42,
 ·8··not Exhibit 25, to find your current opinions; is
 ·9··that right?
 10·· · · ·A.· ··Well, I don't think the overall
 11··opinions have changed at all, but in terms of
 12··corrected numbers based on the updated analysis,
 13··yes.
 14·· · · ·Q.· ··For that we should be using Exhibit 42?
 15·· · · ·A.· ··Yes.
 16·· · · · · · ·MR. BALLARD:··So let's set aside 25.
 17·· · · ·We don't need to look at that anymore.
 18·· · · · · · ·(Exhibit 43, redline of original report
 19·· · · ·against corrected report, marked for
 20·· · · ·identification.)
 21·· · · · · · ·MR. BALLARD:··In your pile over there,
 22·· · · ·there is Exhibit 43.··We ran a redline of
 23·· · · ·your original report against your corrected
 24·· · · ·report.··That's what this is, to show the
 25·· · · ·changes, and so you can just keep that handy

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2·· · · ·today in case it's useful to refer to.
 ·3·· · · · · · ·THE WITNESS:··Okay.
 ·4·· · · · · · ·MR. BALLARD:··I don't have any
 ·5·· · · ·questions on it at this point.··I just
 ·6·· · · ·thought it would be helpful in case you
 ·7·· · · ·needed to refer to it.
 ·8·· · · · · · ·The next document in your pile there is
 ·9·· · · ·Exhibit 44.
 10·· · · · · · ·(Exhibit 44, printout of regression CS
 11·· · · ·tab in the backup provided with corrected
 12·· · · ·report, marked for identification.)
 13·· · · ·Q.· ··Do you see the big printout?
 14·· · · ·A.· ··Yes.
 15·· · · ·Q.· ··This is a printout of the regression CS
 16··tab in the backup you provided with your corrected
 17··report.
 18·· · · ·A.· ··Okay.
 19·· · · · · · ·MS. POSNER:··Just for clarity, the only
 20·· · · ·changes you made to this is formatting?
 21·· · · · · · ·MR. BALLARD:··Yes.··What we did is we
 22·· · · ·took the regression CS tab of the larger
 23·· · · ·spreadsheet, formatted it to print on a page
 24·· · · ·like this, and printed it.··None of the
 25·· · · ·numbers or data has been changed and all of

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2·· · · ·the columns are printed the way they appear
  ·3·· · · ·in the spreadsheet.
  ·4·· · · · · · ·MS. POSNER:··Thank you.
  ·5·· · · ·Q.· ··Do you recognize this?
  ·6·· · · ·A.· ··Yes.··This appears to be a -- what
  ·7··appears to be a copy of a spreadsheet that would be
  ·8··produced as a result of the event study.
  ·9·· · · ·Q.· ··And you recall that we looked at a
  10··similar large spreadsheet on the first day of your
  11··deposition?
  12·· · · ·A.· ··Yes.
  13·· · · ·Q.· ··The numbers have changed a little bit
  14··in this spreadsheet; right?
  15·· · · ·A.· ··Yes.
  16·· · · ·Q.· ··So we should consult Exhibit 44 if we
  17··want to see what your regression analysis for the
  18··common stock showed?
  19·· · · ·A.· ··Yes.
  20·· · · · · · ·(Exhibit 45, trade dates tab from
  21·· · · ·backup to corrected report, marked for
  22·· · · ·identification.)
  23·· · · · · · ·(Exhibit 46, news dates tab from backup
  24·· · · ·to corrected report, marked for
  25·· · · ·identification.)

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2·· · · · · · ·(Exhibit 47, earnings release dates tab
  ·3·· · · ·from backup to corrected report, marked for
  ·4·· · · ·identification.)
  ·5·· · · · · · ·(Exhibit 48, SEC filing dates tab from
  ·6·· · · ·backup to corrected report, marked for
  ·7·· · · ·identification.)
  ·8·· · · · · · ·(Exhibit 49, analyst report dates tab
  ·9·· · · ·from backup to corrected report, marked for
  10·· · · ·identification.)
  11·· · · ·Q.· ··There's a series of several additional
  12··exhibits in your pile there also printed from your
  13··backup.··Do you have that Exhibit 45, 46, 47, 48
  14··and 49?
  15·· · · ·A.· ··Yes.
  16·· · · ·Q.· ··And these, again, were printed from
  17··your backup.··We added to the top of each page a
  18··reference to the Bates number or the file number
  19··from your backup and also next to that, the title
  20··of the tab that was printed.··So the Exhibit 45
  21··says "Trade Dates."··Do you see that?
  22·· · · ·A.· ··Yes.
  23·· · · ·Q.· ··Exhibit 46 says "News Dates."··Exhibit
  24··47 says "Earnings Release Dates" and Exhibit 48
  25··says "SEC," for SEC filing dates, and Exhibit 49

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··says "AR" for analyst report dates.··Do you see
  ·3··that?
  ·4·· · · ·A.· ··I see that, yes.
  ·5·· · · ·Q.· ··Do you recognize these materials?
  ·6·· · · ·A.· ··I mean, I've seen these in electronic
  ·7··form at some point, but I mean, yes, these appear
  ·8··to be the standard sort of interim data files that
  ·9··are created from our process of doing the event
  10··study.
  11·· · · ·Q.· ··One of the things that you had to do in
  12··conducting your analysis was to determine what days
  13··were going to be categorized as no news days;
  14··right?
  15·· · · ·A.· ··Yes.
  16·· · · ·Q.· ··And you categorized a day as a no news
  17··day if there was no news article, no SEC filing, no
  18··earnings release and no analysis report on that
  19··date; is that right?
  20·· · · ·A.· ··That's correct.
  21·· · · ·Q.· ··And does this backup material here in
  22··Exhibits 44 through 49 tell us which dates you
  23··categorized as a date when there was a news
  24··article, an SEC filing, an earnings release or an
  25··analyst report?

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2·· · · ·A.· ··As long as this is the backup material
  ·3··that was produced along with the corrected report,
  ·4··yes, because there would have been similar tables I
  ·5··believe produced for the original report.
  ·6·· · · ·Q.· ··These are the materials we printed from
  ·7··the backup that you produced for your corrected
  ·8··report.
  ·9·· · · ·A.· ··Okay.
  10·· · · ·Q.· ··So for purposes of determining if you
  11··treated a day, a particular day, as a no news day,
  12··we could consult these exhibits and if the day does
  13··not appear on the news day, the earnings release
  14··day, the SEC filing day or the analyst report day,
  15··and is a trade date, that would be a no news day;
  16··right?
  17·· · · ·A.· ··That's my understanding, yes.
  18·· · · ·Q.· ··You can set those aside for now.··We
  19··will come back to those later.··I'd like to return
  20··now to your original report for a minute, number
  21··25.··Please turn to page 50.
  22·· · · · · · ·On page 50, you had the conclusion in
  23··your original report, and you wrote that you
  24··declared, under penalty of perjury under the laws
  25··of the United States of America, that the foregoing

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··is true and correct and you signed that on March
  ·3··15, 2019; right?
  ·4·· · · ·A.· ··Yes.
  ·5·· · · ·Q.· ··Before you signed, what did you do to
  ·6··make sure the report and exhibits were true and
  ·7··correct?
  ·8·· · · ·A.· ··Well, I would say that there's a whole
  ·9··process in place as the work is being done to make
  10··sure that's true.··I mean, everything -- you know,
  11··I reviewed the report myself.··I guided and
  12··provided direction to my staff as to what analyses
  13··I wanted performed.··They would present me with
  14··results.··I would review those.··There's a process
  15··in place for a second independent person to produce
  16··those results.
  17·· · · · · · ·So, I mean, that's at a very general
  18··level the processes that are in place, and then the
  19··conclusions are based off of the analysis that has
  20··been performed.
  21·· · · ·Q.· ··Are those what you would call quality
  22··control procedures that you follow as a general
  23··matter in all your matters?
  24·· · · ·A.· ··Yes.
  25·· · · ·Q.· ··And who was the second independent

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··reviewer who worked with you on this?
  ·3·· · · ·A.· ··Well, there was a team of people that
  ·4··were helping me.··I had a manager whose name is
  ·5··Mark Hedstrom and then there were two research
  ·6··analysts, Thomas Keene and Christian Geoppo.
  ·7·· · · ·Q.· ··I thought you said that there was
  ·8··someone who was designated to be a second
  ·9··independent reviewer.··Was there someone who had
  10··that role on this matter?
  11·· · · ·A.· ··Well, Mr. Hedstrom helped serve as a
  12··manager of the process, and then the two
  13··individuals beyond him that I mentioned would have
  14··been the ones performing the work, each one working
  15··independently to audit results.
  16·· · · ·Q.· ··So in producing your original report in
  17··this matter, did you follow the quality control
  18··procedures that you would typically follow in any
  19··matter?
  20·· · · ·A.· ··Yes.
  21·· · · ·Q.· ··Have you had occasions like this before
  22··where you had to revise your report?
  23·· · · ·A.· ··Not often, but there have been a couple
  24··of occasions where I've had to make corrections to
  25··a report.

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2·· · · ·Q.· ··On how many occasions have you signed
  ·3··reports that you later had to revise because of
  ·4··errors brought to your attention during a
  ·5··deposition?
  ·6·· · · ·A.· ··I don't recall a specific number but I
  ·7··believe it's less than a handful.
  ·8·· · · ·Q.· ··At the time of the day of your first
  ·9··deposition, you had not discovered any of the
  10··errors; is that right?
  11·· · · ·A.· ··That's correct.
  12·· · · ·Q.· ··Do you think you ever would have
  13··discovered them on your own?
  14·· · · ·A.· ··In the context -- not without
  15··performing an additional review which at some point
  16··may have occurred somewhere along the line in this
  17··case.
  18·· · · ·Q.· ··Have you adopted or are you considering
  19··adopting any new policies or procedures or
  20··practices to prevent this kind of thing from
  21··happening again?
  22·· · · ·A.· ··Well, I think it's really more
  23··reiterating the process that was in place and some
  24··of the procedures that should be performed.
  25··Clearly there was a -- I would say a -- in

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··investigating how the error occurred, there was an
  ·3··over-reliance on one particular source instead of
  ·4··consulting multiple sources on certain things.
  ·5·· · · · · · ·So yeah, there are updates to the --
  ·6··not really updates to the procedures as much as
  ·7··just a reiteration of all the things that need to
  ·8··be checked to make sure things are accurate.
  ·9·· · · ·Q.· ··Describe how you investigated how the
  10··errors occurred.
  11·· · · ·A.· ··I convened a conference call with the
  12··people I mentioned before, you know, asked how this
  13··happened, and we had a discussion about that.··And
  14··it became clear that there were certain procedures
  15··that -- you know, my staff works on a lot of these
  16··types of matters, and so we discussed how some of
  17··the procedures that were being done were not being
  18··done as thoroughly and carefully as they need to
  19··be.
  20·· · · ·Q.· ··Whose fault was it that your report
  21··contained errors?
  22·· · · ·A.· ··Well, I think ultimately it's my fault.
  23··I'm the one who is responsible.··I would say there
  24··was fault along the way at every level.
  25··Mr. Hedstrom didn't do a sufficient review, and

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··there was an over-reliance on just looking at Dow
  ·3··Jones newswires, newswire stories, as the way to
  ·4··identify the dates on which earnings announcements
  ·5··occurred, which in most cases wouldn't lead to this
  ·6··sort of error, but in this particular case, did
  ·7··because of the correction we discussed.
  ·8·· · · · · · ·And I had an understanding that the
  ·9··review was going beyond just cataloging those and
  10··reviewing those press releases much more carefully
  11··than had been done in this case.··So I would say
  12··there were errors made at all levels, but I'm
  13··ultimately responsible.
  14·· · · ·Q.· ··Have you provided feedback or criticism
  15··to anyone on your staff as a result?
  16·· · · · · · ·MS. POSNER:··Objection.
  17·· · · ·A.· ··Yes.
  18·· · · ·Q.· ··Can you describe that?
  19·· · · ·A.· ··It would have been part of that
  20··conference call and follow-up conversations
  21··enumerating some of the things that should be done
  22··each time we're looking at the timing of an
  23··earnings announcement, and going forward, there's
  24··going to be a -- we're putting in process a
  25··checklist procedure to make sure those are

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··followed.
  ·3·· · · ·Q.· ··So I believe I asked you what you did
  ·4··to investigate or to describe your investigation.
  ·5··You talked about a conference call.··Was there
  ·6··anything else you did as part of this
  ·7··investigation?
  ·8·· · · ·A.· ··Well, there were a number of follow-up
  ·9··conversations, so after the initial conference call
  10··where I asked my staff -- you know, we talked about
  11··how the error occurred, but I also said we need to
  12··go back and recheck every single -- the timing of
  13··every single earnings announcement and event date
  14··that we're studying and verify that we're looking
  15··at the right event date.
  16·· · · · · · ·And then they provided me the detailed
  17··information that supported that.··I looked at it.
  18··Mr. Hedstrom looked at it.··So there was certainly
  19··followup to make sure we were getting that right.
  20·· · · ·Q.· ··So as your work in connection with the
  21··corrected report, your team went back and took a
  22··very close look at each of the events to make sure
  23··you had the right date and the right time?
  24·· · · ·A.· ··Yes.
  25·· · · ·Q.· ··And are you confident that this time

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··you have the right date and the right time for each
  ·3··event?
  ·4·· · · ·A.· ··Yes.
  ·5·· · · ·Q.· ··How many people worked on the corrected
  ·6··report?
  ·7·· · · ·A.· ··I think it was the same group of
  ·8··people.
  ·9·· · · ·Q.· ··Four people?
  10·· · · ·A.· ··Yes.··I mean, there may have been
  11··another person that somebody asked to check
  12··something, but those were the main people working
  13··on it.
  14·· · · ·Q.· ··Do you know how many hours were spent
  15··working on the corrections?
  16·· · · ·A.· ··I don't know that, no.
  17·· · · ·Q.· ··Are you planning to bill your time and
  18··your team's time for the corrections?
  19·· · · ·A.· ··I don't think a final decision has been
  20··made about that, but I'm certainly considering not
  21··doing that.
  22·· · · ·Q.· ··Can you describe whatever quality
  23··checks you have performed on the corrected report,
  24··to the extent you haven't already described them?
  25·· · · ·A.· ··Yeah.··I think the general process that

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··I described before was used for the corrected
  ·3··report as well.··Any corrections were checked by
  ·4··multiple people.··The updated analysis was
  ·5··independently confirmed by multiple people.
  ·6·· · · · · · ·That's the general quality control
  ·7··check, and then Mr. Hedstrom reviews everything and
  ·8··then I reviewed everything.
  ·9·· · · ·Q.· ··I want to walk through and just make
  10··sure I have a complete inventory of the changes
  11··that were made, so feel free to look at either the
  12··redline or the new report or the old report,
  13··whatever is more useful to you.··I'm looking at
  14··Exhibit 43, which is the redline.
  15·· · · · · · ·So obviously the date on the front has
  16··changed and it says, "Corrected," and you have a
  17··new date and signature at the end, and it looks to
  18··me that in your corrected report, Exhibit 42, the
  19··section titled, "Explanation of Need For Correction
  20··and Summary of Changes," which starts on page 3 and
  21··goes through page number 11, is new.··Is that
  22··right?
  23·· · · ·A.· ··Yes.
  24·· · · ·Q.· ··So that text and the charts on those
  25··pages are all new?

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2·· · · ·A.· ··Yes.
  ·3·· · · ·Q.· ··And then I notice there are changes in
  ·4··the section that discusses your regression analyses
  ·5··in the text, in the footnotes and in the charts; is
  ·6··that right?
  ·7·· · · ·A.· ··Yes.
  ·8·· · · ·Q.· ··Then there are changes in your Exhibit
  ·9··7 on the regression analysis for the common stock;
  10··right?
  11·· · · ·A.· ··Yes.
  12·· · · ·Q.· ··There are changes in Exhibit 8?
  13·· · · ·A.· ··Yes.
  14·· · · ·Q.· ··I saw some changes in Exhibit 9 as
  15··well; is that right?
  16·· · · ·A.· ··Yes.
  17·· · · ·Q.· ··9 is the regression analysis for the C
  18··series.
  19·· · · ·A.· ··Yes.
  20·· · · ·Q.· ··And then 10 changed as well, Exhibit
  21··10?··I think because the days with no news number
  22··changed, the numbers in the right-hand column
  23··changed in Exhibit 10; is that right?
  24·· · · ·A.· ··Yes.
  25·· · · ·Q.· ··And then Exhibit 11 is your regression

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··analysis, or a summary of it, for the Series D.
  ·3··There were some changes in that as well; right?
  ·4·· · · ·A.· ··Give me just a second.
  ·5·· · · ·Q.· ··I believe you updated some of the
  ·6··headlines and the times.
  ·7·· · · ·A.· ··Yeah, but I don't think any of the
  ·8··numbers should have changed.··Let me just
  ·9··double-check that.
  10·· · · · · · ·MS. POSNER:··You're in 11 or 12?
  11·· · · · · · ·MR. BALLARD:··11.
  12·· · · ·Q.· ··It doesn't look like the numbers
  13··changed in any of the columns other than -- I take
  14··that back.··In the time, it looks like in the
  15··second column, there's a change, for example, in
  16··the first row.
  17·· · · ·A.· ··Yes.··Yeah, but none of the
  18··regression -- none of the output of the regression
  19··changed.··Some of the details of the headlines and
  20··timing changed, yes.
  21·· · · ·Q.· ··And there are some changes in the
  22··footnotes which we will talk about later.··Right?
  23·· · · ·A.· ··Yes.
  24·· · · ·Q.· ··I think you added another outlier day.
  25·· · · ·A.· ··Yes.

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2·· · · ·Q.· ··And then on Exhibit 12, there are
  ·3··changes here as well; right?
  ·4·· · · ·A.· ··To the right-hand column, yes.
  ·5·· · · ·Q.· ··And in the footnotes; right?
  ·6·· · · ·A.· ··Yes.
  ·7·· · · ·Q.· ··And I think the next exhibit where we
  ·8··notice changes is Exhibit 17.··Can you turn to
  ·9··that.
  10·· · · ·A.· ··Yes.
  11·· · · ·Q.· ··So there were changes there?··This is
  12··the autocorrelation analysis.
  13·· · · ·A.· ··Yes.··There are changes there because
  14··of the changes in certain exclusion dates.··That
  15··caused changes in the autocorrelation as well.
  16·· · · ·Q.· ··The outlier dates?
  17·· · · ·A.· ··Yes.
  18·· · · ·Q.· ··So that would have resulted in changes
  19··to 17-C and 17-D as well?
  20·· · · ·A.· ··Slight changes, yes.··17-C, yes.
  21·· · · ·Q.· ··Actually 17-D --
  22·· · · ·A.· ··17-D, I don't believe it changed any of
  23··the numbers.··Just the footnote.
  24·· · · ·Q.· ··Okay.··And then I think nearly last,
  25··but not least, you've obviously updated Appendix A

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··to add the documents that you considered; right?
  ·3·· · · ·A.· ··Correct.
  ·4·· · · ·Q.· ··And then I think I noticed throughout
  ·5··there were some miscellaneous changes in the text
  ·6··of your report.··So, for example, on page 30 --
  ·7·· · · ·A.· ··The redline doesn't have page numbers.
  ·8·· · · ·Q.· ··Yes.··It's probably better to look at
  ·9··Exhibit 42, the corrected report.
  10·· · · ·A.· ··Sure.··Yes.
  11·· · · ·Q.· ··So in paragraph 46, you had said,
  12··"Other than at the start and very end of the
  13··analysis period," and you've changed that to say,
  14··"Other than at the start and towards the end of the
  15··analysis period."··That was a change; right?
  16·· · · ·A.· ··Yes.
  17·· · · ·Q.· ··And then there are some other changes
  18··throughout.··On page 46, in paragraph 73, the
  19··second line, it looks like you added the words,
  20··"types of" to the phrase "two types of agreements."
  21··Do you see that?
  22·· · · ·A.· ··Yes.
  23·· · · ·Q.· ··Why did you make that change?
  24·· · · ·A.· ··I just thought that was a better way of
  25··describing -- I wasn't -- upon further reflection,

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··I wasn't sure that there were -- exactly how many
  ·3··agreements there were, so I noted that there were
  ·4··at least two types of agreements.
  ·5·· · · · · · ·Again, that's not particularly relevant
  ·6··to any of the opinions I'm giving.··I just thought
  ·7··it was a better way to describe it.
  ·8·· · · ·Q.· ··On the same page, I noticed in the
  ·9··footnotes, you previously had a bunch of footnotes
  10··that described 10-Qs and stated that they were
  11··dated as of a certain date, and it has been
  12··corrected to say that they were for the quarter
  13··ended that date in a number of instances, and that
  14··was just to make it more accurate; right?
  15·· · · ·A.· ··Yes.··It didn't change any analysis.
  16··It was just to make clear that's what I was
  17··referring to, yes.
  18·· · · ·Q.· ··So when you went through and revised
  19··your report, if you noticed things like that that,
  20··whatever you want to call them, minor changes or
  21··typos or whatever, you fixed them; right?
  22·· · · ·A.· ··Yes.
  23·· · · ·Q.· ··So anything you saw that was wrong, you
  24··fixed; right?
  25·· · · ·A.· ··Yes.

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2·· · · ·Q.· ··Even if it was minor?
  ·3·· · · ·A.· ··Yes.
  ·4·· · · ·Q.· ··I think we've touched on all the
  ·5··categories of changes that we've identified.··Have
  ·6··I missed anything that you can think of?
  ·7·· · · ·A.· ··I don't believe so, no.
  ·8·· · · ·Q.· ··And looking at the redline Exhibit 43,
  ·9··the redline at least says 1,545 insertions, 1,364
  10··deletions for a total of 2,913 changes.
  11·· · · ·A.· ··I think -- I don't know if that's
  12··counting the number of characters.··I mean, I
  13··inserted eight or nine pages of text and charts so
  14··I assume that accounts for a lot of it.··But the --
  15··I mean, there were only a couple of errors
  16··identified, but those errors obviously propagate
  17··through a lot of the numbers that were calculated
  18··and so the changes reflect that.
  19·· · · ·Q.· ··We can set aside the redline and let's
  20··focus on your corrected report which is Exhibit 42.
  21·· · · ·A.· ··Okay.
  22·· · · ·Q.· ··Let's turn to page 3, please --
  23·· · · ·A.· ··Okay.
  24·· · · ·Q.· ··-- in the section where you explain the
  25··need for correction and you summarize the changes.

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··So you do acknowledge that there were errors in
  ·3··your original report that needed to be corrected;
  ·4··right?
  ·5·· · · ·A.· ··Yes.
  ·6·· · · ·Q.· ··And you've listed two types of errors
  ·7··here on page 3, the first relating to identifying
  ·8··the date upon which the market would have first
  ·9··reacted to Miller Energy's release of earnings;
  10··right?
  11·· · · ·A.· ··Correct.··Of Q4 2013 earnings
  12··specifically.
  13·· · · ·Q.· ··So that was for one of the 17 events
  14··you looked at in the regression study for the
  15··common stock, there was an error in the date for
  16··one of the 17?
  17·· · · ·A.· ··Correct, yes.
  18·· · · ·Q.· ··And you note that you have confirmed
  19··that "The market date for the other 16
  20··announcements I analyzed was correct."
  21·· · · ·A.· ··Yes.
  22·· · · ·Q.· ··And that you've double-checked and
  23··you're confident that the other 16 were and
  24··continue to be correct; right?
  25·· · · ·A.· ··Yes.

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2·· · · ·Q.· ··And then the second type of error you
  ·3··listed here relates to two days upon which
  ·4··plaintiffs assert that news impacted the market
  ·5··price for Miller Energy that were inaccurately
  ·6··reclassified as no news dates; right?
  ·7·· · · ·A.· ··Correct.
  ·8·· · · ·Q.· ··So you're saying these two errors led
  ·9··to the many changes in the data and analysis and
  10··conclusions throughout the report?
  11·· · · · · · ·THE WITNESS:··I'm sorry.··Could I have
  12·· · · ·that read back, please.
  13·· · · · · · ·(Record read.)
  14·· · · ·A.· ··Well, again, I don't think there's a
  15··change to any of the conclusions, but it certainly
  16··changed specific numbers within the report and so
  17··those numbers have been updated.
  18·· · · ·Q.· ··Well, did you draw a conclusion about
  19··whether each of the events you studied resulted or
  20··led to a statistically significant change in the
  21··market price?
  22·· · · ·A.· ··Yes.··I was referring to my overall
  23··conclusions about whether there was evidence of
  24··cause and effect.
  25·· · · ·Q.· ··So these errors didn't cause you or

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··correcting these errors did not lead you to change
  ·3··your conclusion about market efficiency; right?
  ·4·· · · ·A.· ··It did not, that's correct.
  ·5·· · · ·Q.· ··But correcting these errors did lead
  ·6··you to change your conclusion about whether
  ·7··individual events led to a statistically
  ·8··significant price movement?
  ·9·· · · ·A.· ··Well, one of the 17 events, yes.··But
  10··again, the overall conclusion from the analysis,
  11··which is whether or not there's a significant
  12··difference between what you observe on earnings
  13··dates versus no news dates, that didn't change, but
  14··the significance of one of the dates did change
  15··based on the misidentification of which day should
  16··be analyzed.
  17·· · · ·Q.· ··In your original report, you concluded
  18··that 4 out of 17 events led to statistically
  19··significant movements in the price of the common
  20··stock; right?
  21·· · · ·A.· ··Correct.
  22·· · · ·Q.· ··And in your corrected report, you've
  23··concluded that only 3 of 17 led to such price
  24··movements; right?
  25·· · · ·A.· ··That's correct, yes.

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2·· · · ·Q.· ··So that conclusion changed?
  ·3·· · · ·A.· ··Yes, the results of those calculations
  ·4··changed and that's reflected in my corrected
  ·5··report, but it didn't change any conclusion about
  ·6··whether there was evidence for cause and effect.
  ·7·· · · ·Q.· ··On page 4 of your corrected report,
  ·8··there's a paragraph, little iv.··Do you see that?
  ·9·· · · ·A.· ··Yes.
  10·· · · ·Q.· ··In that paragraph, you state that "The
  11··errors do not indicate that the methodology used in
  12··my report is inadequate in any way."··Why do you
  13··say that?
  14·· · · ·A.· ··That the methodology -- I'm not doing
  15··anything to change the overall methodology by which
  16··I'm conducting the test.··In other words, the error
  17··was not in methodology, it was in just in
  18··execution, and I stand by that the methodology I'm
  19··using hasn't changed in any way and is what is
  20··standard and regularly accepted.
  21·· · · ·Q.· ··At some point, if you found additional
  22··errors, or at some point would the number of errors
  23··or repetition of errors or something cause you to
  24··question the methodology?
  25·· · · ·A.· ··Not the overall methodology that I'm

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··employing to test for market efficiency, no.··I
  ·3··mean, it matters that the execution is accurate,
  ·4··but the methodology, itself, that I'm employing is
  ·5··something that I've used in many different reports
  ·6··and has been accepted many times.
  ·7·· · · ·Q.· ··So it was the same methodology that you
  ·8··used in your corrected report that led you to
  ·9··conclude 3 of 17 events had statistically
  10··significant price movements as the methodology you
  11··used that previously led you to conclude that 4 of
  12··17 had such movements?
  13·· · · ·A.· ··Yes.··I guess what I'm trying to say is
  14··the methodology didn't change.··The execution of it
  15··did slightly because of an inadvertent error, but
  16··the methodology, itself, the approach to the
  17··problem or the question, has not changed in any
  18··way.
  19·· · · ·Q.· ··In the next paragraph of your report on
  20··page 4, little v, you write that as part of your
  21··detailed review, you reevaluated whether it was
  22··appropriate to include Miller Energy's press
  23··release announcing the Q4 2011 earnings after
  24··market hours on August 30, 2011 as new news to be
  25··analyzed, given that information about Q4 2011

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··earnings had been previously released.
  ·3·· · · · · · ·Do you see that?
  ·4·· · · ·A.· ··Yes.··It says, "as further described
  ·5··below."
  ·6·· · · ·Q.· ··And then you also say "I can confirm
  ·7··that it was appropriate to include this earnings
  ·8··release in my analysis."··Right?
  ·9·· · · ·A.· ··Yes.
  10·· · · ·Q.· ··That was the first of the 17 events in
  11··your list; right?
  12·· · · ·A.· ··That's correct, yes.
  13·· · · ·Q.· ··You took a very close look at that to
  14··make sure that it was correct to include it?
  15·· · · ·A.· ··Yes.··I mean, I evaluated whether there
  16··was any information in that announcement that could
  17··still be considered new.··Even if it was unlikely
  18··to cause a stock price movement, there was still
  19··some new information in that, so to be consistent
  20··with the methodology I employ, it was correct to
  21··include that.
  22·· · · ·Q.· ··To be clear, that would be on Exhibit
  23··7, event number 1; right?
  24·· · · ·A.· ··Correct, yes.
  25·· · · ·Q.· ··So in your corrected report, your event

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··number 1 is the "Miller Energy Resources reports
  ·3··fourth quarter and year-end results," and your
  ·4··source is Business Wire; right?
  ·5·· · · ·A.· ··That's the source that is listed, yes.
  ·6·· · · ·Q.· ··And you used a date of August 30, 2011,
  ·7··and a market date of August 31, 2011; right?
  ·8·· · · ·A.· ··Yes.
  ·9·· · · ·Q.· ··So that's the one you took a really
  10··hard look at to make sure that was right?
  11·· · · ·A.· ··Well, I took a look at all of them to
  12··make sure that they were right, but that's one of
  13··them I took a look at.··And the reason I took an
  14··even closer look at that one is because as
  15··described in my report, some information had been
  16··previously already revealed about Miller Energy's
  17··fourth quarter 2011 earnings.
  18·· · · ·Q.· ··So based on your additional work and
  19··your taking an even closer look at that, you're
  20··confident that event 1 is correctly listed here
  21··with a market date of August 31, 2011?
  22·· · · ·A.· ··Yes.
  23·· · · ·Q.· ··Turning to page 4 of your report, in
  24··paragraph little vi, you say that as part of your
  25··review, you performed additional analysis of the

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··movements of Miller Energy's common stock to
  ·3··information concerning the original reporting of
  ·4··Miller Energy's fiscal year 2011 financial
  ·5··performance, and then it continues.··Right?
  ·6·· · · ·A.· ··Yes.
  ·7·· · · ·Q.· ··And that section spans a few pages
  ·8··where you have detailed some analyses you did of
  ·9··that period of time; right?
  10·· · · ·A.· ··Yes.
  11·· · · ·Q.· ··So what you're describing here at the
  12··bottom of 4 through page 10 -- I'm sorry, through
  13··page 11 -- that's all new; right?
  14·· · · ·A.· ··Yes.
  15·· · · ·Q.· ··Those are new analyses that you
  16··performed after the first day of your deposition;
  17··right?
  18·· · · ·A.· ··Yes.
  19·· · · ·Q.· ··And so these are new opinions that were
  20··not expressed in your original report?
  21·· · · · · · ·MS. POSNER:··Objection.
  22·· · · ·A.· ··Well, they're new analyses that I would
  23··say further support the opinion that was given in
  24··my opening report, but the analyses are new, yes.
  25·· · · ·Q.· ··Your team conducted these analyses

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··after completing your original report and after the
  ·3··first day of your deposition; right?
  ·4·· · · ·A.· ··That's correct, yes.
  ·5·· · · ·Q.· ··And these analyses relate to a study
  ·6··you did of a period outside of the proposed class
  ·7··period; right?
  ·8·· · · ·A.· ··With the exception of the last date
  ·9··that I analyzed, that's correct.··I think the last
  10··date is the beginning of the class period.
  11·· · · ·Q.· ··I know you said that the corrections
  12··didn't change your ultimate opinion about whether
  13··there was cause and effect.··Right?
  14·· · · ·A.· ··Correct.
  15·· · · ·Q.· ··And one of the changes that was made
  16··was you concluded that 3 of 17 instead of 4 of 17
  17··earnings releases led to statistically significant
  18··movements in the price of Miller Energy's common
  19··stock; right?
  20·· · · ·A.· ··Correct.
  21·· · · ·Q.· ··If it dropped to 2 of 17, would it
  22··still be statistically significant, the difference
  23··between earnings releases and no news days?
  24·· · · ·A.· ··I don't know for certain the answer to
  25··that, but I don't believe it would still be -- in

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··terms of the percentage of days that are
  ·3··statistically significant, it likely would not be,
  ·4··but that doesn't mean that the other tests I
  ·5··performed wouldn't still be statistically
  ·6··significant.
  ·7·· · · ·Q.· ··If one more event dropped out, though,
  ·8··and it dropped from 3 of 17 to 2 of 17, your
  ·9··conclusion about whether there was cause and effect
  10··would change; right?
  11·· · · ·A.· ··Not necessarily.··Again, I performed
  12··three different tests on the common stock to check
  13··for cause and effect.··I studied the percentage of
  14··dates that are significant, the average absolute
  15··price movement after controlling for market
  16··factors, and also the volume on earnings dates
  17··versus no news dates, so it's not related just to
  18··the 3 out of 17 or 2 out of 17.··There's more
  19··beyond that.
  20·· · · · · · ·And also, the -- as I discussed in my
  21··prior deposition, and now I've outlined in this
  22··section, there are certainly, at least at an
  23··anecdotal level, other dates that make clear
  24··there's strong examples of cause and effect.
  25·· · · ·Q.· ··You don't normally rely on anecdotal

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··evidence; do you?
  ·3·· · · ·A.· ··I don't normally completely rely on
  ·4··anecdotal evidence.··I think if there's anecdotal
  ·5··evidence that reinforces or supports an opinion I'm
  ·6··giving, that it's also relevant to look into and
  ·7··I've pointed it out in a number of different
  ·8··reports.
  ·9·· · · ·Q.· ··You wouldn't describe relying on
  10··anecdotal evidence as a scientific method; would
  11··you?
  12·· · · ·A.· ··I think it would depend on the context
  13··of the question.
  14·· · · ·Q.· ··If you had found only 1 of 17 events
  15··led to statistically significant price movements in
  16··the common stock, would your conclusion about cause
  17··and effect have changed?
  18·· · · · · · ·MS. POSNER:··Objection.
  19·· · · ·A.· ··It may have.
  20·· · · ·Q.· ··If you had observed no statistically
  21··significant price movements in response to any of
  22··the 17 events for the common stock, what would you
  23··have concluded about cause and effect?
  24·· · · ·A.· ··I don't know the ultimate answer to
  25··that because if I had observed that, I would have

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··carefully considered why I was observing that,
  ·3··whether there was a reason I was observing that,
  ·4··and whether or not the reason I was observing that
  ·5··is because for some reason the power of that test
  ·6··was low because of the nature of what was being
  ·7··disclosed, and thought about whether there was a
  ·8··more appropriate test that might have -- could be
  ·9··performed, or I may have concluded that there was
  10··insufficient evidence to support market efficiency,
  11··so I just don't know.··That's not something I
  12··confronted.
  13·· · · ·Q.· ··If you had found zero of 17 earnings
  14··releases led to statistically significant price
  15··movements in the common stock, would you have
  16··concluded that there was no cause and effect
  17··relationship and, therefore, there was no market
  18··efficiency?
  19·· · · · · · ·MS. POSNER:··Objection.
  20·· · · ·A.· ··I think I just answered that, which is
  21··to say I would have -- certainly that analysis, in
  22··and of itself, would not provide evidence of market
  23··efficiency.··What I would ask at that point is why
  24··am I observing what I'm observing.··Is it because
  25··the market really wasn't focused on earnings and,

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··therefore, a better test for cause and effect would
  ·3··be to look at other types of dates, or was it
  ·4··because there's really no evidence of cause and
  ·5··effect, and then I would conclude there's not
  ·6··sufficient evidence to support market efficiency.
  ·7·· · · · · · ·So again, the reason I didn't get to
  ·8··that particular question is that's not what I
  ·9··observed.
  10·· · · ·Q.· ··So if you had observed zero of 17
  11··events leading to statistically significant price
  12··changes in the common stock, you would have done
  13··additional analyses and you might have nonetheless
  14··concluded that the market was efficient?
  15·· · · ·A.· ··Again, it would depend on if there was
  16··other reliable evidence of a cause and effect
  17··relationship.··I think if hypothetically I observed
  18··what you're suggesting, obviously, like I said,
  19··that test, in and of itself, would not provide
  20··evidence of a cause and effect relationship.
  21·· · · · · · ·So I would want to understand why, if
  22··there were rationales why I was observing that, and
  23··if there was a test -- if there were more relevant
  24··dates to test that relationship, much as I did with
  25··the preferred stock in this case.

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2·· · · · · · ·It was clear that over large portions
  ·3··of the class or the analysis period, earnings date
  ·4··would not be something powerful to test and so I
  ·5··looked for other events that have strong economic
  ·6··rationale of why you would expect there to be
  ·7··material information that might move the stock
  ·8··price or the securities price, and then test that.
  ·9·· · · · · · ·I mean, the reason I select earnings
  10··announcements in the first place is because there's
  11··literature that talks about why those are
  12··generally, not always, but generally important
  13··dates on which there can be value-relevant
  14··information that moves the stock price in a
  15··significant way.
  16·· · · · · · ·But it's not the only types of dates.
  17··So it's not -- if you don't observe cause and
  18··effect from the earnings dates, I would say that's
  19··not completely dispositive of the question, but it
  20··certainly doesn't provide affirmative evidence if
  21··you find zero dates that are significant.
  22·· · · ·Q.· ··Let me see if I understand this.··I'm
  23··going to make several statements and see if you
  24··agree with them.··Your methodology, as performed
  25··here, the regression analysis on the common stock,

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··depending on the results, could allow you to
  ·3··conclude that there is evidence of a cause and
  ·4··effect relationship and, therefore, evidence of
  ·5··efficiency; right?
  ·6·· · · ·A.· ··Yes.
  ·7·· · · ·Q.· ··And it did in this case?
  ·8·· · · ·A.· ··Yes.
  ·9·· · · ·Q.· ··Your methodology, depending on the
  10··results, could lead you to conclude that there is
  11··no evidence from the test to support a finding of
  12··cause and effect and efficiency; right?
  13·· · · ·A.· ··That's correct.
  14·· · · ·Q.· ··Your methodology would never lead you
  15··to conclude that the market was inefficient?
  16·· · · ·A.· ··I don't think it's designed to --
  17·· · · ·Q.· ··Be falsifiable?
  18·· · · ·A.· ··I'm sorry.··I want to make sure I'm
  19··answering the original question.··So let's just
  20··have a clear record, so if you want to ask me a
  21··different question.
  22·· · · · · · ·MR. BALLARD:··I interrupted you.··I
  23·· · · ·apologize.··Let me have the question read
  24·· · · ·back, please.
  25·· · · · · · ·(Record read.)

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2·· · · ·Q.· ··Let me just state it again.··Your
  ·3··methodology would never lead you to conclude that
  ·4··the market was inefficient; correct?
  ·5·· · · ·A.· ··I think that would depend on the
  ·6··specific facts and circumstances and context.··So
  ·7··if there were days where the news unambiguously in
  ·8··some way should have caused a very large change in
  ·9··how a company was being valued -- and I'm just
  10··going to throw out an example.··Let's say a
  11··company's stock is trading at $10 a share and then
  12··they declare bankruptcy and the stock price doesn't
  13··move.
  14·· · · · · · ·To me, that would be a sure sign of
  15··inefficiency, if the common stockholders are really
  16··getting wiped out in bankruptcy and the stock price
  17··doesn't move and reflect that.··So I don't think
  18··it's incapable of that.··It would really depends on
  19··the facts and circumstances.
  20·· · · · · · ·By itself, finding zero out of 17, I
  21··think does not indicate inefficiency.··It would
  22··really depend on analyzing the nature of the
  23··events, but I would not want to say that it's never
  24··possible.
  25·· · · ·Q.· ··Would it be fair to say that you are

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··testing for efficiency, not for inefficiency?
  ·3·· · · ·A.· ··I think that's a fair -- I mean, in the
  ·4··way this is being tested, it's asking is there
  ·5··affirmative scientific evidence of efficiency.··I
  ·6··think to get to a conclusion of inefficiency would
  ·7··take more detailed analysis beyond the test,
  ·8··itself.
  ·9·· · · ·Q.· ··Let me ask you some questions about the
  10··footnote on page 4 of your report.··Actually there
  11··are two footnotes.··I want to focus on Footnote No.
  12··2.··Footnote 2 notes there were StreetSweeper
  13··reports that were not contained in either the
  14··Factiva or Investext databases that you used and
  15··relied on, and then you note that there was a
  16··Reuters article of October 13, 2014 that was
  17··included in the original Factiva search, but was
  18··incorrectly treated as having occurred during
  19··market hours instead of after market hours.··Right?
  20·· · · ·A.· ··Yes.
  21·· · · ·Q.· ··So this is referring to the corrections
  22··you made as to which days were no news days?
  23·· · · ·A.· ··Yes.
  24·· · · ·Q.· ··And then you note that you're now
  25··confident that the methodology you employed and

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··have used in other reports to identify no news
  ·3··dates will reliably identify days on which major
  ·4··news related to the company is released; right?
  ·5·· · · ·A.· ··Yes.
  ·6·· · · ·Q.· ··And you note later that it's
  ·7··necessarily not perfect; right?
  ·8·· · · ·A.· ··Correct.
  ·9·· · · ·Q.· ··And then I guess my question on this
  10··is, so you use Factiva and Investext as your data
  11··source to identify certain days that were news
  12··days; right?
  13·· · · ·A.· ··Yes.
  14·· · · ·Q.· ··And it turned out that those data
  15··sources had some either incorrect or missing -- or
  16··they were missing information on the date or time
  17··of news items; right?
  18·· · · ·A.· ··Well, I think I acknowledged in my
  19··initial report that Investext, which is a source
  20··for analyst reports, doesn't have universal
  21··coverage and that's a well-known fact.··So I
  22··acknowledged, even in my opening report, that I'm
  23··likely missing some analyst reports or at least
  24··there's the potential to be missing some analyst
  25··reports.··And as I say here, StreetSweeper wasn't

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··covered so I wouldn't characterize that as an error
  ·3··of any kind.··It's just the reality that that
  ·4··source does not have universal coverage.
  ·5·· · · · · · ·And to the extent it's missing reports
  ·6··that might be considered new news, it could be
  ·7··classified -- it could result in there being a date
  ·8··classified as no news when there really was an
  ·9··analyst report, but again, that would bias against
  10··the findings to the extent that those reports had a
  11··tendency to move the market.
  12·· · · · · · ·What I found is that that issue tends
  13··not to be a -- in most cases, tends not to be a big
  14··issue, because the process by which I identify news
  15··dates typically picks up any time there was major
  16··news.
  17·· · · ·Q.· ··What did you do, if anything, to check
  18··to see if there were any other errors or omissions
  19··in the databases you used?
  20·· · · · · · ·MS. POSNER:··With regard to Factiva and
  21·· · · ·Investext?
  22·· · · · · · ·MR. BALLARD:··Yes.
  23·· · · ·A.· ··I didn't perform any other checks.··I
  24··continued to rely on those.
  25·· · · ·Q.· ··You mentioned this question of which

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··way errors would bias the results, and you do note
  ·3··in Footnote 2 that the inadvertent treatment of a
  ·4··potential news day as a no news day would, if
  ·5··anything, bias against finding a cause and effect
  ·6··relationship.
  ·7·· · · · · · ·You just referred to that; right?
  ·8·· · · ·A.· ··Yes.
  ·9·· · · ·Q.· ··But when you just mentioned earlier,
  10··you said that the inadvertent treatment of a
  11··potential news day as a news day would, if
  12··anything, bias against finding a cause and effect
  13··relationship if that news day impacted the market
  14··price.··Right?
  15·· · · ·A.· ··Well, yes.
  16·· · · ·Q.· ··And only if?
  17·· · · ·A.· ··Well, no, no, no.··Again, what I'm
  18··saying is there's two possibilities.··One is the
  19··news that is missing was not an important
  20··value-relevant piece of news and didn't move the
  21··price, and, therefore, doesn't bias the test in any
  22··way in either direction, or to the extent there's a
  23··report or news item that somehow was missed in this
  24··process, and it did impact the price, that would
  25··tend to bias against a finding of cause and effect

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··because it may have impacted the market price.
  ·3·· · · ·Q.· ··Let's take an example.··You originally
  ·4··had 318 no news days; right?
  ·5·· · · ·A.· ··Yes.
  ·6·· · · ·Q.· ··You changed it to 316 no news days;
  ·7··right?
  ·8·· · · ·A.· ··Yes.
  ·9·· · · ·Q.· ··So you identified two days you
  10··originally treated as no news days inadvertently
  11··and you're now treating them as news days, so
  12··you've taken them out of the denominator; correct?
  13·· · · ·A.· ··Yes.
  14·· · · ·Q.· ··So in your original report, you said 14
  15··of 318 no news days led to changes in the market
  16··price.
  17·· · · ·A.· ··Yes.
  18·· · · ·Q.· ··In your revised report, you found that
  19··14 of 316 no news days led to changes in the market
  20··price; correct?
  21·· · · ·A.· ··Correct.
  22·· · · ·Q.· ··The denominator changed; right?
  23·· · · ·A.· ··Yes.
  24·· · · ·Q.· ··The percentage went up if the
  25··denominator went down; correct?

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2·· · · ·A.· ··Yes.
  ·3·· · · ·Q.· ··Which narrowed the gap between no news
  ·4··days and earnings releases; right?
  ·5·· · · ·A.· ··Correct.
  ·6·· · · ·Q.· ··The correction of errors confirms that,
  ·7··in fact, the inadvertent treatment of potential
  ·8··news days as no news days biases for, not against,
  ·9··a finding of cause and effect relationship;
  10··correct?
  11·· · · ·A.· ··Well, I think that would certainly -- I
  12··mean, the change here is miniscule.··The point I'm
  13··making is in a large sample, that would certainly
  14··be true, because there's only two dates being
  15··changed here and it didn't change the significance
  16··level -- hold on just one second.
  17·· · · ·Q.· ··My question wasn't about the size of
  18··the change and whether it was miniscule.··My
  19··question was about bias, which direction it points,
  20··and it was a yes or no question.
  21·· · · · · · ·MS. POSNER:··Objection.
  22·· · · ·A.· ··Yeah.··Overall, the bias would be the
  23··way I describe in my report.··Here, in this
  24··particular situation, we're not looking at a large
  25··sample, we're looking at having changed two dates,

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··and it had a miniscule effect on the results.··So
  ·3··that's not necessarily reflecting any overall bias
  ·4··because it's such a small sample size.
  ·5·· · · ·Q.· ··If you treated ten extra news days as
  ·6··no news days and each of those news days were days
  ·7··when there was news that did not actually result in
  ·8··a price change, what would that effect be on your
  ·9··analysis, which way would it bias the analysis?
  10·· · · · · · ·THE WITNESS:··Can I have that read
  11·· · · ·back, please.
  12·· · · · · · ·(Record read.)
  13·· · · · · · ·MS. POSNER:··Objection.
  14·· · · ·A.· ··Again, I think mathematically in what
  15··you're describing isn't -- when I'm talking about
  16··bias, I'm talking about overall, adopting the
  17··methodology, how would you expect it to influence
  18··what you're looking at.··I mean, the example you're
  19··giving, it would mathematically change the numbers,
  20··but I don't think that's changing the direction of
  21··the bias.
  22·· · · ·Q.· ··It would change the numbers in a way
  23··that would make you more likely to find a cause and
  24··effect relationship; correct?··It would narrow the
  25··percentage between news days and earnings days that

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··lead to market changes in the price?
  ·3·· · · ·A.· ··Right.··I mean, what I'm saying is,
  ·4··from an economic point of view, what you would
  ·5··expect is that you would, in a large sample size,
  ·6··expect the bias to be the other way, but in a small
  ·7··sample size, what you're describing could occur.
  ·8·· · · · · · ·And again, I wouldn't consider that
  ·9··bias as much as I would say that that's just, you
  10··know, given -- you couldn't predict over small
  11··changes in classification of news dates or no news
  12··dates, it could go either direction, but in a large
  13··sample, the bias would be against finding cause and
  14··effect.
  15·· · · ·Q.· ··You are aware that no news item in this
  16··case, no category of news item, was likely to lead
  17··to a price change in a statistically significant
  18··way; right?
  19·· · · · · · ·MS. POSNER:··Objection.
  20·· · · ·A.· ··I don't know what you mean by category
  21··of news item.
  22·· · · ·Q.· ··We have earnings releases.··You found 3
  23··of 17 of those led to statistically significant
  24··price changes; right?··11 percent or something?
  25·· · · ·A.· ··I think it's 17 percent.

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2·· · · ·Q.· ··17 percent?
  ·3·· · · ·A.· ··Yes.
  ·4·· · · ·Q.· ··Okay.··You have SEC filings, you have
  ·5··news articles and you have analyst reports.··Those
  ·6··are the categories that you identified of news;
  ·7··right?
  ·8·· · · ·A.· ··I think for the preferred's, I identify
  ·9··other categories of news.
  10·· · · ·Q.· ··Focusing on the common stock, those are
  11··the four categories of news you identify; right?
  12·· · · ·A.· ··Yes.
  13·· · · ·Q.· ··None of them was anywhere close to 50
  14··percent likely to result in a statistically
  15··significant movement of the price; right?
  16·· · · · · · ·MS. POSNER:··Objection.
  17·· · · ·A.· ··Nor would you expect it to be
  18··necessarily.
  19·· · · ·Q.· ··So if you take days where there was
  20··news as you have defined it, a small or large
  21··sample of them, and you take them and you treat
  22··them as no news days incorrectly, that would bias
  23··for, not against, finding a cause and effect
  24··relationship, correct, as a matter of math?
  25·· · · · · · ·MS. POSNER:··Objection.

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2·· · · ·A.· ··Again, I think you're subsuming into
  ·3··the question a particular result.··So I'm
  ·4··approaching it from the broad methodological point
  ·5··of view that if you believe there is -- could I
  ·6··have the question read back again, please.
  ·7·· · · · · · ·(Record read.)
  ·8·· · · · · · ·MS. POSNER:··Objection.
  ·9·· · · ·A.· ··Again, I think for certain samples,
  10··that may be true.··I mean, taken to its extreme,
  11··that is certainly not true, because if you just
  12··took the earnings dates and added it to the no news
  13··dates, obviously that would eliminate any
  14··difference between -- and treated those as no news
  15··dates, it would narrow the gap.
  16·· · · · · · ·I guess I acknowledge it's possible
  17··that if there are categories of news dates that
  18··tend not to move the stock price, and you add more,
  19··that could add bias in the other way.
  20·· · · ·Q.· ··You said it could be true for certain
  21··samples.··If we take the data in Exhibits 45
  22··through 49, your data from this case, it's true for
  23··that sample; correct?
  24·· · · ·A.· ··I don't know that for certain without
  25··doing some calculations, but it's likely true.

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2·· · · · · · ·MR. BALLARD:··We've been going about an
  ·3·· · · ·hour.··Let's take a break.
  ·4·· · · · · · ·THE VIDEO TECHNICIAN:··We're going off
  ·5·· · · ·the record.··The time is 10:01 a.m.
  ·6·· · · · · · ·(Recess taken.)
  ·7·· · · · · · ·THE VIDEO TECHNICIAN:··This begins
  ·8·· · · ·Media Unit No. 2.··The time is 10:15 a.m.
  ·9·· · · ·We're back on the record.
  10·· · · ·Q.· ··Mr. Coffman, I'd like to direct your
  11··attention to page 15 of your corrected report.
  12·· · · ·A.· ··Okay.
  13·· · · ·Q.· ··In the carryover paragraph from the
  14··prior page, you refer to unique and complicated
  15··release of earnings information for Q4 2011; do you
  16··see that?
  17·· · · ·A.· ··Yes.
  18·· · · ·Q.· ··And you state that it provides both
  19··additional strong evidence that the market for
  20··Miller Energy securities was efficient during the
  21··analysis period, and also on whether the prices
  22··were impacted by KPMG's audit reports; right?
  23·· · · ·A.· ··Yes.
  24·· · · ·Q.· ··On the first part of that, are you
  25··saying that your analysis of events prior to the

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··proposed class period provides evidence of whether
  ·3··the market was efficient during the proposed class
  ·4··period?
  ·5·· · · ·A.· ··Yes.
  ·6·· · · ·Q.· ··Is that a typical methodology, to
  ·7··examine one period for the purpose of finding
  ·8··evidence of efficiency in another period?
  ·9·· · · ·A.· ··Well, there have been a whole host of
  10··reports I've filed where given the length of a
  11··particular class period, I've used an expanded
  12··analysis period that goes beyond the class period
  13··to get more data and evidence to evaluate cause and
  14··effect, and that makes sense as long as there's no
  15··structural change in the mechanics of how the
  16··market is operating.
  17·· · · · · · ·If you see evidence of cause and effect
  18··just prior to the beginning of the class period,
  19··there's nothing magical about the beginning of the
  20··class period that would suggest that suddenly cause
  21··and effect has gone away.··So I do think it
  22··provides relevant economic evidence.
  23·· · · ·Q.· ··Would you say that the study of events
  24··outside of a proposed class period is not a
  25··standard scientific method for attempting to prove

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··efficiency during the proposed class period?
  ·3·· · · ·A.· ··I would disagree with that.··I look
  ·4··outside class periods all the time to gain evidence
  ·5··about the operation of the market and whether it
  ·6··was efficient.··There's nothing -- like I said,
  ·7··there's nothing magic about the beginning of a
  ·8··class period that suggests somehow that whether the
  ·9··market is efficient or not would change.
  10·· · · ·Q.· ··In paragraph vii on page 5, little vii
  11··on page 5, you refer to the StreetSweeper
  12··publication.··Do you see that?
  13·· · · ·A.· ··Yes.
  14·· · · ·Q.· ··That was on July 18, 2011; right?
  15·· · · ·A.· ··Yes.
  16·· · · ·Q.· ··And that was during market hours?
  17·· · · ·A.· ··Yes.
  18·· · · ·Q.· ··And then you say, "The intraday price
  19··chart below shows an immediate market reaction to
  20··that news and demonstrates that the company lost
  21··over 20 percent of its value."
  22·· · · · · · ·Do you see that?
  23·· · · ·A.· ··I do.
  24·· · · ·Q.· ··And you're in that referring to the
  25··chart that appears on page 6?

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2·· · · ·A.· ··Yes.
  ·3·· · · ·Q.· ··You also state that on this date, your
  ·4··event study indicates that "the market price of
  ·5··Miller Energy common stock fell by 23.4 percent
  ·6··after controlling for market and industry effects.
  ·7··This abnormal price decrease is statistically
  ·8··significant at the 99 percent level with a
  ·9··t-statistic of -8.83"; right?
  10·· · · ·A.· ··Yes.
  11·· · · ·Q.· ··So this price decrease that you've
  12··described here took place prior to the beginning of
  13··the proposed class period on July 28, 2011; is that
  14··right?
  15·· · · ·A.· ··That is correct, yes.
  16·· · · ·Q.· ··This was before the first alleged
  17··misstatement by KPMG; correct?
  18·· · · ·A.· ··Yes.
  19·· · · ·Q.· ··You interpret this to be a reaction to
  20··the StreetSweeper report about the alleged
  21··overvaluation of the Alaska Assets?
  22·· · · ·A.· ··I do attribute it as a stock price
  23··decline related to the StreetSweeper article.··I
  24··believe that article discussed the Alaska Assets.
  25··It may have discussed other things as well, but the

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··market did clearly respond to the StreetSweeper
  ·3··article.
  ·4·· · · ·Q.· ··So in your expert opinion, the risk of
  ·5··overvaluation of the Alaska Assets was made public
  ·6··in the StreetSweeper article and immediately
  ·7··affected the price of Miller Energy's securities;
  ·8··is that right?
  ·9·· · · · · · ·MS. POSNER:··Objection.
  10·· · · · · · ·THE WITNESS:··Could I have that read
  11·· · · ·back, please.
  12·· · · · · · ·(Record read.)
  13·· · · · · · ·MS. POSNER:··Objection.
  14·· · · ·A.· ··I think the market price clearly
  15··reflected whatever was in the StreetSweeper report.
  16··Part of their opinion was that the Alaska Assets
  17··may be overvalued or were overvalued, so certainly
  18··their opinion or views were priced in the market
  19··price at that point in time.··I don't know that I
  20··would go beyond saying it that way.
  21·· · · ·Q.· ··On page 6 of your report, you refer to
  22··some events on July 29, 2011.
  23·· · · ·A.· ··Yes.
  24·· · · ·Q.· ··You note that on this date your event
  25··study indicates that the market price of the common

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··stock fell by 17.66 percent after controlling for
  ·3··market and industry effects, and that the abnormal
  ·4··price decrease is statistically significant at the
  ·5··99 percent confidence level; right?
  ·6·· · · ·A.· ··Yes.
  ·7·· · · ·Q.· ··So again, this was another decline in
  ·8··the price that took place prior to the beginning of
  ·9··the proposed class period before the first alleged
  10··misstatement by KPMG; right?
  11·· · · ·A.· ··That's correct, yes.
  12·· · · ·Q.· ··And again, you are interpreting this
  13··additional decline in the price to be a reaction to
  14··the disclosures in the StreetSweeper report?
  15·· · · · · · ·MS. POSNER:··Objection.
  16·· · · ·A.· ··I think that's a logical conclusion.··I
  17··don't know that I've studied every last possible
  18··thing that could have been going on on July 29th,
  19··but given that this is -- there had not even been a
  20··full trading day for the stock price to react to
  21··the StreetSweeper article, I think there's strong
  22··evidence that the StreetSweeper article is likely a
  23··primary cause of that, yes.
  24·· · · ·Q.· ··As a general matter, in an efficient
  25··market, if a risk is disclosed and incorporated

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··into the price of a security, and then later the
  ·3··same risk is disclosed again, would another price
  ·4··reaction at that point be a sign of inefficiency?
  ·5·· · · ·A.· ··Not necessarily, because there could be
  ·6··intervening information that affected the market's
  ·7··assessment, or the severity of the risk or
  ·8··likelihood of the risk could be changing in the
  ·9··market's mind.
  10·· · · · · · ·So I mean, I wouldn't jump to that
  11··conclusion without much further study.
  12·· · · ·Q.· ··Let's turn to page 8 of your report.
  13··On this page, you refer to law firms announcing
  14··investigations by the evening of August 1, 2011.
  15··Do you see that?
  16·· · · ·A.· ··I see that.
  17·· · · ·Q.· ··Where did you get that information?
  18·· · · ·A.· ··As I sit here right now, I don't recall
  19··where that specific information comes from.
  20·· · · ·Q.· ··You indicate that you evaluated the
  21··decline in Miller Energy's common stock on August
  22··2.··Were you attributing that decline to the law
  23··firm announcements that you referenced in this
  24··paragraph?
  25·· · · ·A.· ··I mean, it could have been continued

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··reaction to the 8-K filing the prior day.··It could
  ·3··have been in reaction to the law firms announcing
  ·4··investigations.··Those I think are the primary
  ·5··sources of new news on these days, including Miller
  ·6··Energy also released an open letter to
  ·7··shareholders.
  ·8·· · · · · · ·But I haven't done a full study of all
  ·9··the possible things that could have been moving the
  10··price, but those were the things that I reviewed
  11··that struck me as the most likely sources of the
  12··price movements.
  13·· · · ·Q.· ··Would it be fair to say that as a
  14··general matter, in a period when there are a lot of
  15··things going on, lots of public statements and
  16··filings happening, it's more difficult to isolate
  17··cause and effect?
  18·· · · ·A.· ··I think it can be more difficult to
  19··isolate exactly what is causing which price -- that
  20··can make it more difficult to analyze exactly which
  21··statements are causing which price movements, but
  22··it really depends on the facts and circumstances,
  23··because if most of the information is not new or
  24··repeated and you can isolate which filing actually
  25··has new information that the market would care

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··about, then it might not be.··So I think it really
  ·3··depends on the facts and circumstances.
  ·4·· · · ·Q.· ··Please turn to page 30 of your report.
  ·5·· · · ·A.· ··Okay.
  ·6·· · · ·Q.· ··Earlier we identified this change in
  ·7··paragraph 47 where you took the words "very end"
  ·8··out and added the phrase "towards the end of the
  ·9··analysis period."··Do you see that?
  10·· · · ·A.· ··I think you said paragraph 47 so I want
  11··you to clarify your question.
  12·· · · ·Q.· ··Looking at paragraph 46 you made a
  13··change to the wording there; right?
  14·· · · ·A.· ··Yes.
  15·· · · ·Q.· ··Why did you make that change?
  16·· · · ·A.· ··Because I thought "very end" could be
  17··misinterpreted and I thought "towards the end" is a
  18··better description.
  19·· · · ·Q.· ··I want to talk about your study of
  20··cause and effect in your regression analysis, so
  21··let's turn to that section of that report beginning
  22··on page 31.
  23·· · · · · · ·Do you have that?
  24·· · · ·A.· ··Yes.
  25·· · · ·Q.· ··I believe if you turn to page 33, you

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··will see Footnote 62.··Do you have that?
  ·3·· · · ·A.· ··Yes.
  ·4·· · · ·Q.· ··In Footnote 62, you have changed the
  ·5··number of outliers from 2 to 3; right?
  ·6·· · · ·A.· ··Yes.
  ·7·· · · ·Q.· ··And it looks like you added July 28,
  ·8··2011 with regard to market reaction to the
  ·9··StreetSweeper article alleging potential fraud in
  10··Miller Energy's subsequent 10-K as a new outlier;
  11··right?
  12·· · · ·A.· ··Yes.
  13·· · · ·Q.· ··Did you analyze the market reaction to
  14··that StreetSweeper article?
  15·· · · ·A.· ··Yes.
  16·· · · ·Q.· ··Is that what you described in your
  17··report at page -- what page?
  18·· · · ·A.· ··5 and the chart on page 6.
  19·· · · ·Q.· ··Got it.··Was the reaction to the
  20··StreetSweeper article from July 28, 2011,
  21··statistically significant?
  22·· · · ·A.· ··Yes.
  23·· · · ·Q.· ··That's the reaction we talked about
  24··earlier?
  25·· · · ·A.· ··We talked about others, but yes.

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2·· · · · · · ·MS. POSNER:··Objection.
  ·3·· · · ·Q.· ··Got it.··We can move on to the next
  ·4··item here.··Let's turn to page 38.··In paragraph
  ·5··61, on page 38 of your report, you indicate that
  ·6··three events resulted in statistically significant
  ·7··price movements at the 95 percent confidence level
  ·8··in your event study of the common stock; right?
  ·9·· · · ·A.· ··Yes.
  10·· · · ·Q.· ··That was what you had changed from 4 in
  11··your original report?
  12·· · · ·A.· ··Yes.
  13·· · · ·Q.· ··Then in paragraph 62, you say you
  14··compared these results against the 316 days during
  15··the analysis period that were no news days.··That's
  16··what you changed from 318 in your original report;
  17··right?
  18·· · · ·A.· ··Yes.
  19·· · · ·Q.· ··And then you say there were 14 no news
  20··days that had statistically significant price
  21··movements.··That didn't change?
  22·· · · ·A.· ··Correct.
  23·· · · ·Q.· ··And then in paragraph 62, you say,
  24··"Thus, during the analysis period, there was a
  25··statistically significant price reaction at the 95

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··percent confidence level on 17.65 percent of the
  ·3··earnings announcements."
  ·4·· · · · · · ·That figure changed from 23.53 percent
  ·5··in your original report; right?
  ·6·· · · ·A.· ··Yes.
  ·7·· · · ·Q.· ··And then in paragraph 62, you continue
  ·8··to say, "But when compared to days with no Miller
  ·9··Energy-related news, I observed statistically
  10··significant reactions 4.43 percent of the time."
  11·· · · · · · ·That percentage changed from 4.4
  12··percent in your original report; right?
  13·· · · ·A.· ··Yes.
  14·· · · ·Q.· ··So both the numerator and the
  15··denominator in that calculation changed?
  16·· · · ·A.· ··No.··Just the denominator.
  17·· · · ·Q.· ··You're right.··So the numerator in the
  18··first comparison of the earnings release has
  19··changed and the denominator in the no news days
  20··changed?
  21·· · · ·A.· ··Correct.
  22·· · · ·Q.· ··Then looking at Footnote 71, I guess
  23··the only change there is the three earnings
  24··announcements; right?
  25·· · · ·A.· ··Yes.

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2·· · · ·Q.· ··And then in Footnote 72, you do the
  ·3··calculation of statistical significance and you say
  ·4··the difference between 17.65 percent and 4.43
  ·5··percent is statistically significant at the 95
  ·6··percent confidential level.··So this is just you've
  ·7··rerun the calculation with the new numbers?
  ·8·· · · ·A.· ··Correct.
  ·9·· · · ·Q.· ··And concluded that 3 of 17 is still
  10··statistically significant compared to the no news
  11··result; correct?
  12·· · · ·A.· ··Correct.
  13·· · · ·Q.· ··Going back to what we said earlier, if
  14··it dropped to 2 of 17, you believe that would not
  15··be statistically significant; right?
  16·· · · ·A.· ··That I believe is likely the case, yes.
  17··Again, that's not the only relevant test, but for
  18··that particular test, that's correct.
  19·· · · ·Q.· ··In Footnote 73 you write, "There is no
  20··statistically significant difference between 4.43
  21··percent and 5 percent.··This is within the
  22··proportion of dates that would be significant by
  23··chance alone when using a 95 percent confidence
  24··interval."
  25·· · · · · · ·Can you explain that?

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2·· · · ·A.· ··Sure.··So if you have a model where
  ·3··you're testing for significance at the 95 percent
  ·4··confidence level, by chance alone, you would expect
  ·5··1 out of every 20 dates or 5 percent of the no news
  ·6··dates to be statistically significant.··So this is
  ·7··just saying that the 4.43 percent isn't
  ·8··statistically different than the 5 percent you
  ·9··would expect by chance alone.
  10·· · · ·Q.· ··Does that mean you could have run your
  11··analysis without even looking at no news days, you
  12··could have just compared the result you got for
  13··earnings releases against 5 percent?
  14·· · · ·A.· ··I think that would have been a less
  15··powerful test but in -- you could -- I guess it's
  16··possible to devise that sort of test.··I don't
  17··think that would be as reliable or accurate a test
  18··because then you're not actually using sample data
  19··points.··You're just assuming what the no news
  20··results would be.
  21·· · · ·Q.· ··But the 5 percent at least doesn't
  22··require you to rely on data sources, whereas your
  23··test does, and we know there are errors in your
  24··data source; right?
  25·· · · · · · ·MS. POSNER:··Objection.

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2·· · · ·A.· ··Well, it's also an implicit test of
  ·3··whether the model is working well.··In other words,
  ·4··the 5 percent is a hypothetical number, it's not an
  ·5··actual what-you-observed number.··So if you're
  ·6··comparing -- let's say you're doing a test of a new
  ·7··drug and you give it to -- you give it to -- you
  ·8··give the real drug to some patients and they do
  ·9··better than would be expected by just giving a
  10··placebo.··You can't just make an assumption about
  11··what the placebo effect is, you actually test it.
  12··So that's the importance of actually testing the no
  13··news dates for the given security.
  14·· · · ·Q.· ··In paragraph 63 of your corrected
  15··report, in the first line, there's a reference to
  16··the 316 days with no news.··We already talked about
  17··that.··That was changed from 318.··Right?
  18·· · · ·A.· ··Yes.
  19·· · · ·Q.· ··And then in the next line, you refer to
  20··the average change in price of the common stock as
  21··2.52 percent.··That changed from 2.53 percent in
  22··your original report?
  23·· · · ·A.· ··Yes.
  24·· · · ·Q.· ··Then in the last line, there's a
  25··reference to the average change on earnings dates

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··of 4.16 percent.··That changed from 4.37 percent?
  ·3·· · · ·A.· ··That's correct.
  ·4·· · · ·Q.· ··On page 39 of your report, you have
  ·5··included a chart regarding the percentage of days
  ·6··significant at the 95 percent confidence level.··Do
  ·7··you see that?
  ·8·· · · ·A.· ··Yes.
  ·9·· · · ·Q.· ··This is just a graphic representation
  10··of the data we just discussed; right?
  11·· · · ·A.· ··Yes.
  12·· · · ·Q.· ··So the blue column is now representing
  13··the 17.65 percent instead of what you previously
  14··had as 23.53 percent?
  15·· · · ·A.· ··Yes.
  16·· · · ·Q.· ··And the reddish orange column is now
  17··the 4.43 percent instead of what was originally 4.4
  18··percent; right?
  19·· · · ·A.· ··Yes.
  20·· · · ·Q.· ··So looking back at your original
  21··report, the charts from a distance look almost
  22··identical, but that's because you changed the
  23··scale; right?
  24·· · · ·A.· ··Yes.··The scale has changed.
  25·· · · ·Q.· ··That's to emphasize the difference

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··between the two columns; right?
  ·3·· · · ·A.· ··There's still a statistically
  ·4··significant difference between the two columns.
  ·5·· · · ·Q.· ··Looking at Footnote 74 on this page,
  ·6··there's another calculation of statistical
  ·7··significance and this one is the 2.52 percent
  ·8··average change in the price of the common stock
  ·9··versus the 4.16 percent average change in the
  10··common stock on earnings dates; right?
  11·· · · ·A.· ··Yes.
  12·· · · ·Q.· ··Those numbers changed from whatever you
  13··had before, but you found that there are still
  14··statistically significant differences?
  15·· · · ·A.· ··Yes.··It was a very small change from
  16··2.53 to 2.52 and then a change from 4.37 to 4.16.
  17·· · · ·Q.· ··Those data points are shown on the
  18··chart on page 40?
  19·· · · ·A.· ··Yes.
  20·· · · ·Q.· ··So again, this chart would have changed
  21··at least slightly from what you had in your
  22··original report; right?
  23·· · · ·A.· ··Yes.
  24·· · · ·Q.· ··And then in paragraph 65, it looks like
  25··you have some data on trading volume where you have

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··a reference to 71 million.··Do you see that?
  ·3·· · · ·A.· ··I think it's .71 million.
  ·4·· · · ·Q.· ··Good point.··.71 million, that's the
  ·5··average daily trading volume on the 17 days with
  ·6··earnings announcements; right?
  ·7·· · · ·A.· ··Yes.
  ·8·· · · ·Q.· ··That came down from .72 in your
  ·9··original report; right?
  10·· · · ·A.· ··Yes.
  11·· · · ·Q.· ··And then you compared this to the
  12··average daily trading volume with.34 million for no
  13··news days.··That's a change from .35 million in
  14··your original report; right?
  15·· · · ·A.· ··Yes.
  16·· · · ·Q.· ··And it looks like you have a chart
  17··showing that on page 41; right?
  18·· · · ·A.· ··Yes.
  19·· · · ·Q.· ··That one also changed slightly from
  20··what you had in your original report?
  21·· · · ·A.· ··Yes.
  22·· · · ·Q.· ··Let's turn to page 60.··In paragraph
  23··104 of your corrected report, you write, "Any
  24··negative causation evidence would be applicable to
  25··each class member as opposed to relevant for any

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··specific investor."
  ·3·· · · · · · ·What did you mean by that?
  ·4·· · · ·A.· ··Meaning --
  ·5·· · · · · · ·MS. POSNER:··I'm sorry, where are you?
  ·6·· · · · · · ·MR. BALLARD:··Page 60, paragraph 104.
  ·7·· · · ·A.· ··I mean that any evidence regarding what
  ·8··was causing the stock price to be moving -- so let
  ·9··me take a step back.··I understand negative
  10··causation is something that defendants have the
  11··burden of proving for a Section 11 case, meaning
  12··that the stock price declines or security price
  13··declines were caused by something other than the
  14··fraud.
  15·· · · · · · ·And what I'm saying here is that
  16··whatever negative causation analysis would be done
  17··would be done -- could be done on a class-wide
  18··basis, not on an individual investor basis, because
  19··the reasons the stock price was moving would not be
  20··specific to any individual investor.
  21·· · · ·Q.· ··I think I got it.··So when you said
  22··applicable to each class member, you didn't mean it
  23··would have to be proven individually for each class
  24··member.··You meant it could be proven on a
  25··class-wide basis?

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2·· · · ·A.· ··Yes.
  ·3·· · · ·Q.· ··So if the decline was caused by changes
  ·4··in oil prices, that could be proven on a class-wide
  ·5··basis for example?
  ·6·· · · ·A.· ··If that were considered negative
  ·7··causation information, yes.
  ·8·· · · ·Q.· ··Going back to what we talked about
  ·9··earlier about the 4.43 percent of no news days that
  10··had a statistically significant price movement, do
  11··you recall that discussion?
  12·· · · ·A.· ··Yes.
  13·· · · ·Q.· ··If you want to look at your report in
  14··the regression analysis, it's on page 38.
  15·· · · ·A.· ··I know which number you're referring
  16··to, yes.
  17·· · · ·Q.· ··We talked about that and the 5 percent
  18··a little while ago.··So the 4.43 percent is
  19··basically the measure you're comparing against,
  20··right, when you're testing the earnings releases to
  21··see if they have a market effect, a price effect?
  22·· · · · · · ·MS. POSNER:··Objection.
  23·· · · ·A.· ··That's one of the things I'm testing
  24··against.
  25·· · · ·Q.· ··What other things are you testing

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··against?
  ·3·· · · ·A.· ··The average stock price movement on
  ·4··those dates, the average volume on those dates.
  ·5·· · · ·Q.· ··If you found that the number of days
  ·6··was not significant, then the other factors
  ·7··wouldn't matter much; would they?
  ·8·· · · · · · ·MS. POSNER:··Objection.
  ·9·· · · ·A.· ··I don't follow that.
  10·· · · ·Q.· ··If you found zero out of 17 days of
  11··earnings releases had statistically significant
  12··price movements, it really wouldn't matter much how
  13··much volume there was on those days; right?
  14·· · · ·A.· ··The volume test, itself, might not
  15··matter as much, but the average stock price
  16··movement still would be relevant.
  17·· · · ·Q.· ··So in this comparison where you compare
  18··the 17.65 percent of earnings announcements, 3 out
  19··of 17, that had statistically significant price
  20··movements with the 4.43 percent of no news days
  21··that had such movements, you drew conclusions about
  22··cause and effect; right?
  23·· · · ·A.· ··Yes.
  24·· · · ·Q.· ··Can you explain what your conclusions
  25··about cause and effect were?

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2·· · · ·A.· ··My conclusion is that consistent with
  ·3··what you would expect to see in an efficient
  ·4··market, their earnings announcements, which provide
  ·5··at least sometimes, not all the time, but at least
  ·6··sometimes, the academic literature has shown,
  ·7··provide new value-relevant information to
  ·8··investors, had a greater tendency to move the stock
  ·9··price than when there was no news, and that
  10··directly goes to the idea of Cammer factor 5, which
  11··is that there's a cause and effect relationship
  12··between news and information that is being released
  13··about the company.
  14·· · · ·Q.· ··In your analysis, did you attempt to
  15··exclude other possible causes?
  16·· · · · · · ·MS. POSNER:··Objection.
  17·· · · ·A.· ··When you say other possible causes, I
  18··want to make sure I understand.··When I'm looking
  19··at the earnings announcements, I'm looking at all
  20··the information in the earnings announcements, not
  21··any specific number or -- I guess the test is
  22··looking at the mix of information that is released
  23··on those days.
  24·· · · ·Q.· ··Well, did you do anything, to control
  25··for the price of oil?

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2·· · · ·A.· ··Yes.
  ·3·· · · ·Q.· ··Did you do anything to control for
  ·4··movements in the S&P 500?
  ·5·· · · ·A.· ··Yes.
  ·6·· · · ·Q.· ··Did you do anything to control for
  ·7··anything other than those two things?
  ·8·· · · ·A.· ··Not explicitly, no.
  ·9·· · · ·Q.· ··So you didn't attempt to exclude any
  10··other possible causes of the price movements beyond
  11··changes in the price of oil or the S&P 500 index;
  12··right?
  13·· · · · · · ·MS. POSNER:··Objection.
  14·· · · ·A.· ··That's correct.
  15·· · · ·Q.· ··Let's turn to Exhibit 7 of your
  16··corrected report.··I'm going to ask you some
  17··questions about the changes that were made to
  18··Exhibit 7 so you might want to have the redline
  19··handy.
  20·· · · ·A.· ··Okay.
  21·· · · ·Q.· ··So in Exhibit 7, you have obviously 17
  22··events.··We talked about that.··And for each event,
  23··you have data across 12 columns; right?
  24·· · · ·A.· ··Other than the numbering column, yes.
  25·· · · ·Q.· ··And each column was intended to give a

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··separate piece of relevant information?
  ·3·· · · ·A.· ··It's providing summary information.··I
  ·4··mean, what matters is the results of the event
  ·5··study ultimately, but it provides information about
  ·6··the timing of the events, yes.
  ·7·· · · ·Q.· ··I mean, you had included each column
  ·8··for a reason; right?
  ·9·· · · ·A.· ··Yes.
  10·· · · ·Q.· ··To show something?
  11·· · · ·A.· ··Yes.
  12·· · · ·Q.· ··So 17 columns -- I'm sorry.··17 rows
  13··and 12 columns of data.··204 pieces of data on this
  14··chart; right?
  15·· · · ·A.· ··I'm trying to do the math in my head
  16··but I'll believe you that 17 times 12 is 204.
  17·· · · ·Q.· ··It's beyond the usual multiplication
  18··tables I recognize.··I count of the 204 pieces of
  19··data displayed on this chart in your original
  20··report, 41 of them were incorrect.
  21·· · · · · · ·MS. POSNER:··Objection.
  22·· · · ·Q.· ··Is that right?
  23·· · · ·A.· ··Again, I don't think that incorrect is
  24··the right way to characterize it.··I would say for
  25··what ultimately mattered, there was one correction,

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··which is the timing of -- because all that really
  ·3··matters ultimately for getting the analysis right
  ·4··is identifying the correct earnings date, and I did
  ·5··that for all but one of the dates.
  ·6·· · · · · · ·Updating all of the results for that
  ·7··change created some changes to some of the numbers,
  ·8··and then as described in my report, I made an
  ·9··effort, in going back and checking a variety of
  10··sources and the timing of the news information,
  11··updated the exhibit to show what I could determine
  12··was the earliest version of the earnings release
  13··that I could identify.··So that changed the
  14··specific source I was citing, the time of day that
  15··it was occurring, but it also really didn't change
  16··any of the analysis.
  17·· · · ·Q.· ··You changed these 41 data items because
  18··they were wrong in your original report; correct?
  19·· · · ·A.· ··I changed them because it updates my --
  20··it reflects an update to the analysis.··The only
  21··thing that resulted in a -- that was incorrect in
  22··terms of how it affected the analysis was the
  23··timing of event 9.
  24·· · · ·Q.· ··Well, let's take an example.··In event
  25··1, you originally said the abnormal return

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··percentage was .46 percent.··Was that correct or
  ·3··incorrect?
  ·4·· · · ·A.· ··That did not reflect treating one of
  ·5··the outlier dates as an outlier date.··So it wasn't
  ·6··incorrect from a -- it was the wrong calculation.
  ·7··It reflected the analysis at that point in time.
  ·8·· · · · · · ·I now believe it's more appropriate to
  ·9··leave out one additional outlier date, as I
  10··described, but I don't think the original number
  11··was wrong.··I think this is an updated number.
  12·· · · · · · ·In other words, that wasn't the result
  13··of an error.··That was the result of a slight
  14··change in identifying outlier dates that I think
  15··was appropriate.··The one thing that was just flat
  16··out wrong and was an error was the timing on event
  17··9.
  18·· · · ·Q.· ··For event 3, in your original report,
  19··you found nothing for significance level, and then
  20··you have an asterisk for that event in your
  21··corrected exhibit.··Which is correct?
  22·· · · ·A.· ··I'm relying on my updated, corrected
  23··analysis which shows that date is significant at
  24··the 90 percent level.··It was a relatively small
  25··change in the abnormal return, but it pushed it

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··over the threshold of 90 percent.
  ·3·· · · ·Q.· ··So would you say that the original
  ·4··report, in having no asterisk there, was incorrect
  ·5··and your corrected report is correct?
  ·6·· · · ·A.· ··I think this is more reliable.··Again,
  ·7··that wasn't due to what I would consider an error.
  ·8··It's really an update.
  ·9·· · · ·Q.· ··So whether we call them corrections or
  10··updates, you have 41 of 204 corrections or updates
  11··in this chart.··Correct?
  12·· · · ·A.· ··Yes.
  13·· · · ·Q.· ··Over 20 percent of the items here have
  14··been corrected or updated; right?
  15·· · · ·A.· ··If you count it that way.··I don't
  16··think that's a particularly relevant way to count
  17··it given the substance, but if you count it that
  18··way, that's fair.
  19·· · · ·Q.· ··Let's take a look at an example.··Take
  20··time of day.··You've got 9 out of 17 of those
  21··wrong, right, in the original report?
  22·· · · ·A.· ··Again, I don't -- the time of day of
  23··the -- what I was citing was not wrong.··What has
  24··been reflected here is an updated analysis to make
  25··sure I was grabbing the earliest time, which

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··required relying on some of these for a different
  ·3··source which slightly changed the time of day.
  ·4·· · · · · · ·Again, by -- it doesn't change which
  ·5··market date is relevant.··It just changes the
  ·6··earliest time that the news was identified, and I
  ·7··changed the source that reflects that.
  ·8·· · · · · · ·So, in other words, let's take event
  ·9··number 2.··There was a "Miller Energy Resources
  10··reports first quarter result," reported by Business
  11··Wire at 5:22 p.m. on September 9th.··That was not
  12··wrong.··It was correct.
  13·· · · · · · ·I'm just saying in my updated analysis,
  14··I've reflected that there was actually a -- I
  15··identified that the 10-Q was published on the SEC
  16··website 12 minutes earlier, and while that doesn't
  17··change anything in the analysis, I wanted to
  18··reflect that.
  19·· · · ·Q.· ··Are you saying it was not important for
  20··you to get the right time for these items?
  21·· · · ·A.· ··I think getting the right time --
  22··getting the earliest time, as long as it was on the
  23··correct market date, was not material to the
  24··analysis at all.··That's what I'm saying.
  25·· · · ·Q.· ··Given the nature of the analysis you

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··were doing, trying to test for whether there was a
  ·3··market reaction, a rapid reaction in the price to
  ·4··new information, wasn't it really, really, really
  ·5··important to figure out when the new information
  ·6··first came out?
  ·7·· · · · · · ·MS. POSNER:··Objection.
  ·8·· · · ·A.· ··It was really important to figure out
  ·9··which was the appropriate market date to analyze.
  10··It was -- the difference between 5:10 p.m. and 5:22
  11··p.m., given the nature of my analysis, was not
  12··important.
  13·· · · ·Q.· ··So you're saying you're lucky that when
  14··you identified the wrong release of information,
  15··you're lucky that it so happens the correct release
  16··of information wasn't the day before or during
  17··business hours; right?
  18·· · · ·A.· ··I don't know that I would use the word
  19··"lucky."··It's that it didn't change it.
  20·· · · ·Q.· ··Well, in one instance, it did.
  21·· · · ·A.· ··Again, in a prior -- in many prior
  22··cases, I've relied on the timing of the Business
  23··Wire reporting of earnings as reflecting the
  24··appropriate data to analyze for earnings
  25··announcements.

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2·· · · · · · ·In this particular case, there was one
  ·3··time, and this is an unusual occurrence, but there
  ·4··was one time that what came up out of that process
  ·5··was a correction rather than the original report,
  ·6··and for the other 16 dates, it resulted in looking
  ·7··at the right earnings date.
  ·8·· · · · · · ·I mean, in my experience, the Business
  ·9··Wire story comes out very quickly after earnings
  10··announcements, and in all of the other matters in
  11··which I've relied upon that, it didn't result in
  12··any error.
  13·· · · ·Q.· ··And you're sure that's true for event
  14··number 1 as well?
  15·· · · ·A.· ··I believe we looked carefully to see if
  16··there was anything earlier than 4:22 p.m. on event
  17··1.
  18·· · · ·Q.· ··So in this test, you were at least
  19··attempting to identify when Miller Energy first
  20··released its earnings for each event; right?
  21·· · · ·A.· ··Well, I was looking for when the market
  22··date upon which Miller Energy securities, common
  23··stock, would have been reacting to an earnings
  24··announcement, yes.
  25·· · · ·Q.· ··And you were looking for the time as

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··well?
  ·3·· · · ·A.· ··Yes.
  ·4·· · · ·Q.· ··And in nine of those instances, your
  ·5··process or methodology or work resulted in you
  ·6··getting the wrong time; correct?
  ·7·· · · ·A.· ··Again, in all but one, it didn't matter
  ·8··for the analysis, for any substance of the
  ·9··analysis.··It was giving me the right earnings
  10··announcement date to analyze.··In one case, it was
  11··incorrect.
  12·· · · ·Q.· ··Well, in nine instances, the time you
  13··put in your original report was incorrect; correct?
  14·· · · ·A.· ··I think you're just pointing out that
  15··there could be some time difference between
  16··Business Wire and certain other sources hitting the
  17··public market, and I wasn't always picking up the
  18··very earliest one.
  19·· · · ·Q.· ··And my question is, did that happen in
  20··nine of 17 instances?
  21·· · · ·A.· ··Yes.
  22·· · · ·Q.· ··Turning to the column for abnormal
  23··return, there were six instances where you changed
  24··the abnormal return that was reported in your
  25··original Exhibit 7; is that right?

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2·· · · ·A.· ··That's correct.
  ·3·· · · ·Q.· ··And then for abnormal dollar change, it
  ·4··looks like four of these changed; right?
  ·5·· · · ·A.· ··Well, they all would have changed to
  ·6··some -- I mean, all six would have changed to some
  ·7··slight degree.··It's just that two of them, the
  ·8··change is so small that due to rounding, it doesn't
  ·9··result in any change.
  10·· · · ·Q.· ··And then for the significant level
  11··column, it looks like 2 of the 17 items have
  12··changed; right?
  13·· · · ·A.· ··That's correct.
  14·· · · ·Q.· ··On the event number 1, where you refer
  15··to the Q4 2011 earnings and you cite Business Wire,
  16··you have a market date of August 31, 2011.··Do you
  17··see that?
  18·· · · ·A.· ··Yes.
  19·· · · ·Q.· ··You are aware that the Form 10-K was
  20··filed on August 29, 2011; right?
  21·· · · ·A.· ··Yes.
  22·· · · ·Q.· ··And you're still confident that you
  23··have the right market date for that one?
  24·· · · ·A.· ··Yes.
  25·· · · ·Q.· ··And why is that?

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2·· · · ·A.· ··Because there was an earnings
  ·3··announcement released by Miller Energy in the
  ·4··afternoon on August 30th, 2011.
  ·5·· · · ·Q.· ··In your report, you indicate that the
  ·6··Form 10-K -- I'm on page 7 -- came out after market
  ·7··hours on July 29, 2011.··Do you see that?
  ·8·· · · ·A.· ··I thought you were asking me about
  ·9··August.
  10·· · · ·Q.· ··Good point.··I'm looking in the wrong
  11··place.··Okay.··So August.
  12·· · · · · · ·When was the Form 10-K for 2011 filed?
  13·· · · ·A.· ··Are you talking about the original one
  14··or the amended one?
  15·· · · ·Q.· ··Amended.
  16·· · · ·A.· ··The final amended one -- my
  17··understanding is there are two amended ones, but
  18··the final amended one, my understanding is was
  19··filed August 29th, at 7:46 a.m.
  20·· · · ·Q.· ··So before the markets opened on the
  21··29th; right?
  22·· · · ·A.· ··Correct.
  23·· · · ·Q.· ··And notwithstanding that, you believe
  24··you have the right market date for event 1?
  25·· · · ·A.· ··Yes, because as I described in the

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··report, there's still a, quote-unquote, earnings
  ·3··announcement released on that day that at least
  ·4··contains some additional information, and so to be
  ·5··consistent with my general methodology, I included
  ·6··that date.
  ·7·· · · · · · ·And I acknowledged -- just to be clear,
  ·8··I mean, I acknowledge in the first section of the
  ·9··report that there were some earlier disclosures
  10··that contained earnings information for Q4 2011.
  11·· · · ·Q.· ··For event 5, you originally had a
  12··Business Wire source for your headline and you've
  13··changed that to the Form 10-K; right?
  14·· · · ·A.· ··Yes.
  15·· · · ·Q.· ··So why did you change 5 and not 1?
  16·· · · ·A.· ··Because as I've described in the
  17··report, I'm attempting to identify dates on which
  18··new earnings information came out.··So like I
  19··described in the report, the release of fourth
  20··quarter 2011 earnings is much more complex than the
  21··other date.
  22·· · · · · · ·On date 5, the 10-K and the earnings
  23··announcement and the Business Wire all came out
  24··within a matter of hours with each other, all after
  25··market on the same day, so I was just identifying

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··the earliest release of fourth quarter information.
  ·3··I'm not saying that's the only source of
  ·4··information on that day.
  ·5·· · · · · · ·In other words, the Business Wire
  ·6··article also contains information, but I'm just
  ·7··identifying the first one on that day that contains
  ·8··fourth quarter information.
  ·9·· · · ·Q.· ··For events 5 and 9, you identify the
  10··10-K as the first release of earnings for the
  11··fiscal year 2012 and 2013; right?
  12·· · · ·A.· ··Because those came out before the
  13··Business Wire articles on those days.
  14·· · · ·Q.· ··But the same is true for event 1.··The
  15··10-K came out before the Business Wire article;
  16··right?
  17·· · · ·A.· ··Right, but it's actually on separate
  18··days and providing different information.··So that
  19··was a relevant difference.
  20·· · · ·Q.· ··Okay, I think I've got it.··You're
  21··confident you've got the right date for event 1?
  22·· · · ·A.· ··Yes.··Again, to be clear, I'm
  23··acknowledging in my report that there is some
  24··fourth quarter 2011 earnings information out, in
  25··fact, most of it out before that date, but I still

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··think it's a relevant date to consider because
  ·3··there is some -- at least arguably some new
  ·4··information included in that particular earnings
  ·5··announcement.
  ·6·· · · ·Q.· ··In the footnotes to your Exhibit 7, I
  ·7··just want to make sure we've identified all the
  ·8··changes, but I think we've talked about this in
  ·9··another context.··But in Footnote 1, it looks to me
  10··like there's a change.··You changed two outliers to
  11··three outliers; right?
  12·· · · ·A.· ··Yes.
  13·· · · ·Q.· ··And then you added a reference to the
  14··StreetSweeper.··I think this is the same as what
  15··you included in the text of your report.
  16·· · · ·A.· ··Yes.
  17·· · · ·Q.· ··And in Footnote 2, you added the
  18··sentence we talked about last time we met about
  19··statistical significance at the 90 percent
  20··confidence level being indicated by one asterisk;
  21··right?
  22·· · · ·A.· ··Yes.
  23·· · · ·Q.· ··That was just inadvertently left off
  24··your prior exhibit; right?
  25·· · · ·A.· ··Yes.

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2·· · · ·Q.· ··Let's turn to Exhibit 8.··So Exhibit 8
  ·3··is your comparison of statistical significance and
  ·4··abnormal returns for common stock earnings
  ·5··announcements against no news dates; right?
  ·6·· · · ·A.· ··That's part of what is on there.
  ·7··There's also a comparison of average absolute
  ·8··returns and volume as well.
  ·9·· · · ·Q.· ··I was just trying to read the heading.
  10··Your heading of Exhibit 8 states, "Comparison of
  11··Statistical Significance and Abnormal Returns for
  12··Miller Energy Common Stock Earnings Announcements
  13··Versus Days With No News During the Analysis
  14··Period."
  15·· · · ·A.· ··That's the title, yes.
  16·· · · ·Q.· ··And there a few items of data here.··It
  17··looks like there's a number, significant days at 95
  18··percent, percentage of significant days at 95
  19··percent, and average absolute abnormal return
  20··followed by average volume; right?
  21·· · · ·A.· ··Yes.
  22·· · · ·Q.· ··And it looks like ten items of data are
  23··reflected on this chart; correct?
  24·· · · ·A.· ··Yes.
  25·· · · ·Q.· ··In your original Exhibit 8, seven of

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··the ten items were incorrect; is that right?··I
  ·3··take that back.··Let me rephrase that.
  ·4·· · · · · · ·In your original Exhibit 8, six of the
  ·5··ten items of data were wrong; is that right?
  ·6·· · · ·A.· ··Six of the ten have been updated to
  ·7··reflect the correction of an error, yes, or
  ·8··correction of errors, yes.
  ·9·· · · ·Q.· ··And those changes are also made in the
  10··footnotes; right?
  11·· · · ·A.· ··Yes.
  12·· · · ·Q.· ··So in terms of significant days, the
  13··number went from four to three; right?
  14·· · · ·A.· ··Yes.
  15·· · · ·Q.· ··The percentage went from 23.53 percent
  16··to 17.65 percent.··Right?
  17·· · · ·A.· ··Yes.
  18·· · · ·Q.· ··And the average absolute abnormal
  19··return went from 4.37 percent to 4.16 percent;
  20··right?
  21·· · · ·A.· ··Yes.
  22·· · · ·Q.· ··And in the right-hand column, 318
  23··became 316?
  24·· · · ·A.· ··Yes.
  25·· · · ·Q.· ··14 stayed the same for the number of

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··significant days at 95 percent confidence; right?
  ·3·· · · ·A.· ··Yes.
  ·4·· · · ·Q.· ··And the percentage of significant days
  ·5··went up to 4.43 percent from 4.0 percent; right?
  ·6·· · · ·A.· ··4.40.
  ·7·· · · ·Q.· ··4.40.··And then the average absolute
  ·8··abnormal return went from 2.53 to 2.52 percent;
  ·9··right?
  10·· · · ·A.· ··Correct.
  11·· · · ·Q.· ··Let's look at Exhibit 9.··Exhibit 9
  12··summarizes the event study you conducted with
  13··respect to the C series; right?
  14·· · · ·A.· ··Yes.··This is part of it.··It's the
  15··dates -- the news dates that I considered for the
  16··Series C.··There's obviously other dates I
  17··considered in terms of the no news dates,
  18··et cetera, but this reflects part of the event
  19··study analysis, yes.
  20·· · · ·Q.· ··And on this page you made the same
  21··changes on the footnotes regarding outlier dates
  22··and on statistical significance at the 90 percent
  23··level we already talked about?
  24·· · · ·A.· ··Yes.
  25·· · · ·Q.· ··And then it looks like you've changed

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··the market or the date for one of these items; is
  ·3··that right?
  ·4·· · · · · · ·MS. POSNER:··Can you direct us --
  ·5·· · · ·Q.· ··It looks like event 1, the date
  ·6··changed.
  ·7·· · · ·A.· ··The market date didn't change, but
  ·8··the -- I show the first announcement as being
  ·9··reflected on the evening of the 30th instead of the
  10··morning of the 31st, that is correct.
  11·· · · ·Q.· ··And you added a time where you had none
  12··before; right?
  13·· · · ·A.· ··Correct.
  14·· · · ·Q.· ··So again, you were lucky that in
  15··looking at the wrong source, changing it to the
  16··correct source was at least after hours so it
  17··didn't change the market date; right?
  18·· · · · · · ·MS. POSNER:··Objection.
  19·· · · ·A.· ··Again, I wouldn't say it was lucky.
  20··It's that that source generally allows getting the
  21··market date correct.
  22·· · · ·Q.· ··You changed for this event also the
  23··headline source that you referred to.
  24·· · · ·A.· ··That probably just reflects that I
  25··was -- I'm citing a -- the source that came out at

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··7:35 p.m. the prior night rather than the one that
  ·3··came out in the morning.
  ·4·· · · ·Q.· ··It looks like you changed the sources
  ·5··you used under headline for events 5 and 7 as well;
  ·6··right?
  ·7·· · · · · · ·MS. POSNER:··Objection.··7 is just a
  ·8·· · · ·change in capitalization.
  ·9·· · · · · · ·MR. BALLARD:··Okay, hold on.··Okay.
  10·· · · ·Let me rephrase that.
  11·· · · ·Q.· ··You changed the source that you used
  12··for event 5 as well; right?
  13·· · · ·A.· ··Yes.
  14·· · · ·Q.· ··And it looks like you made a change to
  15··the heading at the top.··Where in your original
  16··Exhibit 9, you had the heading, "Rolling Event
  17··Study Regression 120-Day Window," it looks like you
  18··changed that to "Two Fixed Event Study
  19··Regressions."
  20·· · · ·A.· ··Yeah.··That was -- I mean, in my prior
  21··report, in the text, I described how for the
  22··preferred securities, I used two fixed event
  23··windows rather than the 120-day rolling.··The
  24··120-day rolling window heading was inadvertently
  25··carried over onto these exhibits.

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2·· · · ·Q.· ··So in Exhibit 9 of your original
  ·3··report, that was just a typo on the heading?
  ·4·· · · ·A.· ··Yes.
  ·5·· · · ·Q.· ··So you fixed that?
  ·6·· · · ·A.· ··Yes.
  ·7·· · · ·Q.· ··Let's turn to Exhibit 10, please.
  ·8··Exhibit 10 is your comparison of statistical
  ·9··significance in abnormal returns for Miller Energy
  10··Series C preferred stock material announcements
  11··versus days with no news during the analysis
  12··period; right?
  13·· · · ·A.· ··Correct.
  14·· · · ·Q.· ··And this, again, has ten items of data
  15··on it; right?
  16·· · · ·A.· ··Yes.
  17·· · · ·Q.· ··Four of these items were incorrect in
  18··your original Exhibit 10; right?
  19·· · · ·A.· ··As a result of errors described --
  20··correcting the errors described, it changed four
  21··data items, yes.
  22·· · · ·Q.· ··So the number in the right-hand column
  23··changed from 194 to 192?
  24·· · · ·A.· ··Correct.
  25·· · · ·Q.· ··The significant days at 95 changed from

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··11 to 9?
  ·3·· · · ·A.· ··Yes.
  ·4·· · · ·Q.· ··And the percentage of significant days
  ·5··changed from 5.67 percent to 4.69 percent?
  ·6·· · · ·A.· ··Correct.
  ·7·· · · ·Q.· ··And the average absolute abnormal
  ·8··return changed from 1.35 percent to 1.28 percent?
  ·9·· · · ·A.· ··Correct.
  10·· · · ·Q.· ··And again, there were changes in the
  11··footnotes regarding the number of days on which
  12··there was no news; is that right?
  13·· · · ·A.· ··Correct.
  14·· · · ·Q.· ··In this instance, because the period of
  15··time was different, from the common stock, you had
  16··192 no news days in your revised Exhibit 10,
  17··whereas you had 194 in your original exhibit;
  18··right?
  19·· · · ·A.· ··Correct.
  20·· · · ·Q.· ··And then you note, at the end of
  21··Footnote 1 of Exhibit 10, two other dates with
  22··corrective information that were not reported in
  23··the initial report.··12/24/13 and 10/14/2014 have
  24··been added as news dates.··Did I read that
  25··correctly?

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2·· · · ·A.· ··Yes.
  ·3·· · · ·Q.· ··That's new, you added that; right?
  ·4·· · · ·A.· ··Yes.··That's consistent with what has
  ·5··been described in previous exhibits, but yes,
  ·6··that's new to this exhibit.
  ·7·· · · ·Q.· ··And then I think the Footnotes 2 and 3
  ·8··just contain the same corrected numbers that are
  ·9··reflected in the chart and reflect your test of
  10··statistical significance on them, right?
  11·· · · ·A.· ··Correct.
  12·· · · ·Q.· ··Let's look at Exhibit 11 on your event
  13··study for the Series D.··Do you have that?
  14·· · · ·A.· ··Yes.
  15·· · · ·Q.· ··So again, you made the correction to
  16··the heading on the two fixed event studies; right?
  17·· · · ·A.· ··Yes.
  18·· · · ·Q.· ··You changed the date and added the time
  19··for event 1; right?
  20·· · · ·A.· ··The same changes that were on Exhibit
  21··9, yes.
  22·· · · ·Q.· ··The same exact changes, so again, for
  23··events 1 and 5, you have a new source and it's the
  24··same source as what we talked about for Exhibit 9?
  25·· · · ·A.· ··Right, and for both Exhibit 9 and

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2··Exhibit 11, none of the changes change any of the
  ·3··numbers from the event study in those exhibits, but
  ·4··those updates were made, yes.
  ·5·· · · ·Q.· ··Turn to Exhibit 12, please.
  ·6·· · · ·A.· ··Okay.
  ·7·· · · ·Q.· ··Exhibit 12 is your comparison of
  ·8··statistical significance and abnormal returns for
  ·9··Miller Energy Series D preferred stock material
  10··announcements versus days with no news during the
  11··analysis period; right?
  12·· · · ·A.· ··Yes.
  13·· · · ·Q.· ··And this contains ten items of data?
  14·· · · ·A.· ··Yes.
  15·· · · ·Q.· ··Your original Exhibit 12 had -- in your
  16··original Exhibit 12, four of the ten items of data
  17··were incorrect?
  18·· · · ·A.· ··Yeah, and just to be clear, I mean,
  19··there's the ten items of data on the table.
  20··There's also the conclusions in the footnotes about
  21··the difference between, or the significance levels
  22··of the findings, which hasn't changed at all, but
  23··within the table itself, there are ten data items,
  24··yes, and four of them, as a result of correcting
  25··the errors I've identified, did change.

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  ·1·· · · · · · · · · · ··C. Coffman
  ·2·· · · ·Q.· ··The number went from 120 to 118?
  ·3·· · · ·A.· ··The number of no news dates, yes.
  ·4·· · · ·Q.· ··And then the significant days at 95
  ·5··confidence went from 6 to 4 for no news days;
  ·6··right?
  ·7·· · · ·A.· ··Yes.
  ·8·· · · ·Q.· ··And the percentage went from 5 to 3.39
  ·9··percent?
  10·· · · ·A.· ··Yes.
  11·· · · ·Q.· ··The average absolute abnormal return
  12··went from 2.2 to 2.09 percent; right?
  13·· · · ·A.· ··Correct.
  14·· · · ·Q.· ··Please turn to Exhibit 17.
  15·· · · ·A.· ··Okay.
  16·· · · ·Q.· ··So it looks like this is summarizing
  17··some of your tests for autocorrelation during the
  18··analysis period; is that right?
  19·· · · ·A.· ··Yes.
  20·· · · ·Q.· ··And it looks like there are data items
  21··for 16 quarters here; right?
  22·· · · ·A.· ··Correct, and the analysis period as a
  23··whole.
  24·· · · ·Q.· ··You've changed at least some of the
  25··data for at least five of these items; right?··I

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··mean five of the 16 quarters.
 ·3·· · · ·A.· ··I believe the numbers have changed
 ·4··slightly for five of the quarters, yes.
 ·5·· · · ·Q.· ··Just explain why did these numbers
 ·6··change?
 ·7·· · · ·A.· ··So you will notice that the first two
 ·8··quarters changed.··That's as a result of changing
 ·9··the regression to remove the outlier date from --
 10··that's identified in the other exhibits that we've
 11··already talked about.··So that, just because of the
 12··120-day rolling regression, that only affects the
 13··first two quarters of the analysis period, and then
 14··there are changes to a number in the middle of the
 15··table because the earnings date changed associated
 16··with event number 9, so that changed again.
 17··Because of that change, it changed which dates were
 18··being excluded from the regression.
 19·· · · ·Q.· ··Just generally, what is this chart
 20··intended to show?
 21·· · · ·A.· ··Well, Exhibit 17 is intended to
 22··reflect -- to summarize the test I performed to
 23··analyze whether stock price movements on a given
 24··day are predictive of stock price movements on the
 25··next day.··And you would not expect to find a

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··significant relationship there, or at least a
 ·3··consistent significant relationship there if the
 ·4··market were efficient.
 ·5·· · · ·Q.· ··So can you explain just what these
 ·6··numbers -- you have a coefficient on previous days
 ·7··abnormal return for the analysis period of -.02 and
 ·8··a t-statistic of -.67.··What does that mean?
 ·9·· · · ·A.· ··So what that means is on average, if
 10··there's a 1 percent stock price movement today,
 11··that on average, we observed the next day, there's
 12··a negative 0.02 percentage stock price movement the
 13··following day, and the t-statistic of -.67 suggests
 14··that's not statistically significant, meaning
 15··that's close enough to zero that it can be
 16··explained by randomness alone.
 17·· · · ·Q.· ··What would the cutoff be for the
 18··t-statistic?
 19·· · · ·A.· ··In a large enough sample, it's 1.96 for
 20··95 percent significance.··Because of the size of
 21··the sample, it may be slightly higher than that.
 22·· · · ·Q.· ··So then Exhibit 17-C looks like there
 23··are a couple of changes there.··They would be for
 24··the same reasons?
 25·· · · ·A.· ··Yes.··The removal of the outlier

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··pre-analysis period doesn't affect this one because
 ·3··the Series C begins trading on the NYSE later, but
 ·4··it is still affected by the one earnings date being
 ·5··changed.
 ·6·· · · · · · ·MR. BALLARD:··We're about to start a
 ·7·· · · ·new topic so I want to take a short break.
 ·8·· · · · · · ·THE VIDEO TECHNICIAN:··We're going off
 ·9·· · · ·the record.··The time is 11:24 a.m.
 10·· · · · · · ·(Recess taken.)
 11·· · · · · · ·THE VIDEO TECHNICIAN:··This begins
 12·· · · ·Media Unit No. 3.··The time is 11:37 a.m.
 13·· · · ·We're back on the record.
 14·· · · ·Q.· ··I'm going to hand you what we've marked
 15··as Exhibit No. 3.··It's the Second Amended
 16··Complaint.··Turn to page 73, paragraph 197.
 17··There's a heading that states, "The Truth Begins to
 18··Emerge."··Do you see that?
 19·· · · ·A.· ··Yes.
 20·· · · ·Q.· ··I'm sure you recall at the first day of
 21··your deposition, I asked you some questions about
 22··plaintiffs' allegations about disclosures and
 23··events when, according to plaintiffs, the truth
 24··leaked out over time.··Right?
 25·· · · ·A.· ··Yes.

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2·· · · ·Q.· ··You remember that?
 ·3·· · · ·A.· ··Yes.
 ·4·· · · ·Q.· ··And you recall we looked at some
 ·5··instances where the plaintiffs allege a disclosure
 ·6··or an event impacted the price of Miller Energy
 ·7··securities over a two or three-day period?
 ·8·· · · ·A.· ··Yes.
 ·9·· · · ·Q.· ··So we looked at paragraph 199,
 10··paragraph 215.··A couple of these paragraphs we
 11··looked at.··Do you remember that?
 12·· · · ·A.· ··I generally remember that, yes.
 13·· · · ·Q.· ··And you testified that there could be
 14··instances in which an announcement of new news
 15··might be absorbed by the market over two days, with
 16··at least an initial reaction on the first trading
 17··day after the announcement, followed by another
 18··reaction on the second trading day after the
 19··announcement.··Do you recall that?
 20·· · · · · · ·MS. POSNER:··Objection.
 21·· · · ·A.· ··I don't know whether I used the word
 22··"another decline" or "another change" but that the
 23··full impact of the announcement wouldn't be
 24··reflected until the end of the second day or
 25··something to that effect.

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2·· · · ·Q.· ··And I think you said that you would
 ·3··expect at least an initial reaction on the first
 ·4··day of trading.··Do you recall that?
 ·5·· · · ·A.· ··Yes.
 ·6·· · · ·Q.· ··We looked at some instances where
 ·7··plaintiffs alleged that there was a disclosure that
 ·8··leaked out the truth where your data showed there
 ·9··was no statistically significant movement on the
 10··following day, but there was a statistically
 11··significant price movement on the second day after
 12··the disclosure.··Do you remember that?
 13·· · · · · · ·MS. POSNER:··Objection.
 14·· · · ·A.· ··I don't remember which specific events
 15··that related to.··I generally remember -- and when
 16··you say the following day, you mean the first
 17··trading day after which the news -- which the
 18··market would reflect the news; correct?
 19·· · · ·Q.· ··So yeah --
 20·· · · ·A.· ··I just don't want to get -- when you
 21··say the following day, I want to make sure we're
 22··not talking about starting from day two.
 23·· · · ·Q.· ··Let's be clear.··I believe we looked at
 24··instances where there was an alleged disclosure
 25··where the truth leaked out, and then the first

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··market date after that, where there was trading,
 ·3··there was no statistically significant price
 ·4··movement, but on the market date plus 1 there was a
 ·5··movement.
 ·6·· · · · · · ·MS. POSNER:··Objection.
 ·7·· · · ·Q.· ··Do you remember that?
 ·8·· · · ·A.· ··Vaguely, yes.··I don't remember which
 ·9··days we were talking about, but again, there can
 10··also be a difference between any movement and a
 11··significant movement, but yes, I generally recall
 12··that discussion.
 13·· · · ·Q.· ··And you said "That's just not something
 14··I've studied here."··Do you remember?
 15·· · · ·A.· ··In terms of drawing any specific
 16··conclusions about any specific disclosures, that's
 17··correct.
 18·· · · ·Q.· ··Since the first day of your deposition,
 19··have you studied that question?
 20·· · · ·A.· ··No.··I mean, the only additional things
 21··I've studied are reflected in the report.
 22·· · · ·Q.· ··You haven't done any additional work to
 23··evaluate instances where plaintiffs allege that a
 24··disclosure impacted the market over two or three
 25··days?

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2·· · · ·A.· ··I have not done that, no.
 ·3·· · · ·Q.· ··In your opinion, is it possible for an
 ·4··event to cause a significant price movement on the
 ·5··day after the event, the first market date, and
 ·6··then another movement on the next day, market date
 ·7··plus 1, in an efficient market?
 ·8·· · · · · · ·MS. POSNER:··Objection.
 ·9·· · · ·A.· ··As I described in my previous
 10··deposition, that's plausible.··And in certain cases
 11··I've seen where there's, you know, additional
 12··evidence to support that, not just that it always
 13··makes sense to look at two-day windows, but where
 14··there's evidence of continued reporting or
 15··additional analyst reporting or additional
 16··analysis, or additional volume, there could be
 17··supporting evidence to suggest that looking at more
 18··than a one-day window would be appropriate.
 19·· · · ·Q.· ··So you could have an announcement of
 20··news in some form, and then you might see in an
 21··efficient market a price movement on the market
 22··date followed by another price movement on market
 23··date plus 1?
 24·· · · ·A.· ··Yes.
 25·· · · ·Q.· ··When I say market date plus 1, you know

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··what I mean; right?
 ·3·· · · ·A.· ··Yes.
 ·4·· · · ·Q.· ··So market date, we're using the
 ·5··definition you used for your Exhibit 7.··Right?
 ·6·· · · ·A.· ··Yes.
 ·7·· · · ·Q.· ··And market date plus 1 would just be
 ·8··the next day?
 ·9·· · · ·A.· ··The next trading day, yes.
 10·· · · ·Q.· ··I just want to make sure we're using
 11··the same terminology.
 12·· · · ·A.· ··Yes.
 13·· · · ·Q.· ··So in an efficient market, would it be
 14··possible for there to be an announcement of new
 15··news followed by a statistically significant price
 16··movement at the 90 percent confidence level on the
 17··market date, followed by a statistically
 18··significant price movement at the 95 percent
 19··confidence level on market date plus 1?
 20·· · · ·A.· ··It's plausible.··I'm not saying it
 21··happens frequently, but it's plausible.
 22·· · · ·Q.· ··In your event study for the common
 23··stock as reflected on Exhibit 7, you found that
 24··there was a statistically significant price
 25··movement at the 95 percent confidence level for

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··three of the 17 events you studied; right?
 ·3·· · · ·A.· ··Yes.
 ·4·· · · ·Q.· ··For the three events for which you
 ·5··found an earnings release was followed by a
 ·6··statistically significant price movement at the 95
 ·7··percent confidence level, what, if anything, did
 ·8··you do to make sure that the price movement you
 ·9··observed was the market date response to the
 10··earnings release you were studying rather than a
 11··market date plus 1 carryover effect from a news
 12··event the day before?
 13·· · · ·A.· ··Well, I reviewed the news around these
 14··earnings announcements, and I don't remember all
 15··the details, but I don't recall, on the day prior
 16··to any of those dates, there being what I would
 17··consider clearly new material news that would be
 18··expected to move the market, but without looking
 19··back at my backup, I don't know for sure, but I
 20··certainly would have looked at that.
 21·· · · ·Q.· ··It is conceivable in your opinion, in
 22··an efficient market, for the three price reactions
 23··you observed at the 95 percent confidence level,
 24··it's conceivable that those were a reaction to
 25··something other than the earnings release; correct?

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2·· · · ·A.· ··When you define the earnings release,
 ·3··are you including everything in the earnings
 ·4··release and not just the earnings numbers,
 ·5··themselves?··I just want to make sure I'm --
 ·6·· · · ·Q.· ··Let me be clear.
 ·7·· · · ·A.· ··Yeah.
 ·8·· · · ·Q.· ··I'm saying, take an example, event 5.
 ·9··You used the date of July 16 and it was after
 10··hours, the earnings release, and so you looked at
 11··the market date of 7/17; right?
 12·· · · ·A.· ··Yes.
 13·· · · ·Q.· ··And you found a statistically
 14··significant price movement at the 95 percent
 15··confidence level on July 17th; right?
 16·· · · ·A.· ··Yes.
 17·· · · ·Q.· ··And you've drawn an inference that that
 18··was a cause and effect response to the earnings
 19··release; right?
 20·· · · ·A.· ··Yes, that -- well, it is an earnings
 21··date.··There is an earnings release.··It doesn't
 22··exclude the possibility there could be other news
 23··on that day that is also contributing.··But that's
 24··not --
 25·· · · ·Q.· ··Well, it's possible that news came out

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··the day before July 16th as well; right?
 ·3·· · · ·A.· ··It's plausible.··Like I said, I believe
 ·4··I looked at that as to whether there was any news
 ·5··that could plausibly explain that, but it's
 ·6··theoretically plausible.
 ·7·· · · ·Q.· ··Was July 13, 2012, a news day?
 ·8·· · · ·A.· ··Are you asking me about July 13th?
 ·9·· · · ·Q.· ··Yes.
 10·· · · ·A.· ··2013?
 11·· · · ·Q.· ··Correct.··I believe that's a Friday,
 12··right?
 13·· · · ·A.· ··I don't believe that's a trading day at
 14··all.
 15·· · · ·Q.· ··Are you looking at your trade dates
 16··chart?
 17·· · · ·A.· ··I am.
 18·· · · ·Q.· ··I'm looking at item 768 on Exhibit 45.
 19·· · · ·A.· ··Isn't that 2012?··You were asking me
 20··about 2013, I believe, or maybe I misunderstood.
 21·· · · ·Q.· ··Event 5 is 2012.
 22·· · · ·A.· ··Oh, it is 2012.··Okay, that's the
 23··mistake I was making.
 24·· · · ·Q.· ··Let me ask a clean question.··Was
 25··Friday, July 13, 2012, a news day?··You know what?

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··Let me back up.
 ·3·· · · · · · ·First was Friday, July 13, 2012 a
 ·4··trading day?
 ·5·· · · ·A.· ··Yes.··Sorry.··I was getting confused.
 ·6··I was looking at 2013.··Yes, it is.
 ·7·· · · ·Q.· ··July 13, 2012 was a trading day.··Was
 ·8··it a news day?
 ·9·· · · ·A.· ··According to my table, yes, it was.
 10·· · · ·Q.· ··Do you know what news came out that
 11··day?
 12·· · · ·A.· ··Sitting here right now, I don't recall.
 13·· · · ·Q.· ··You're saying it's a news day because
 14··it appears on your Exhibit 47 which lists the days
 15··when news articles came out according to the
 16··databases you consulted; right?
 17·· · · ·A.· ··I think you said Exhibit 47.··That's
 18··not right.
 19·· · · ·Q.· ··Exhibit 46, sorry.
 20·· · · ·A.· ··Correct.
 21·· · · ·Q.· ··And it would also be a news day if an
 22··SEC filing was made on that day; right?
 23·· · · ·A.· ··Correct.
 24·· · · ·Q.· ··We will look at that in a minute, but I
 25··believe your SEC list in Exhibit 48 does not list

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··that date.
 ·3·· · · ·A.· ··Correct.
 ·4·· · · ·Q.· ··If there, in fact, was an SEC filing on
 ·5··that date, then it would also be a news day for
 ·6··that reason?
 ·7·· · · ·A.· ··Yeah.··I don't know that we look at all
 ·8··types of SEC filings.··I think we certainly looked
 ·9··at 10-Ks, 10-Qs, 8-Ks, but there might be some
 10··other types of filings related to specific
 11··individuals that might not be counted in there, but
 12··it's -- if there would have been a 10-K or a 10-Q
 13··or an 8-K, yes, we would have treated that as a
 14··news day.
 15·· · · ·Q.· ··Let's pause on that for a moment.··I
 16··was under the impression that you included all SEC
 17··filings.··Do I now understand you to say that you
 18··looked at all the SEC filings, and then you
 19··categorized them into as some that might be counted
 20··as news days and some that would not?
 21·· · · ·A.· ··I'm just trying to recall.··I believe
 22··there's a filter for types of SEC filings where
 23··we're attempting to pick up primary news
 24··disclosures by the company, so 10-Ks, 10-Qs, 8-Ks.
 25··There may be other types that are included.

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2·· · · · · · ·I'm not sure that every single type of
 ·3··SEC filing is picked up.··That's something I just
 ·4··have to go back and review.
 ·5·· · · ·Q.· ··And there's nothing in your materials
 ·6··or backup that I can look to to get the answer to
 ·7··that question?
 ·8·· · · ·A.· ··I'm not certain about that.··I would
 ·9··have to look.··Certainly we've shown which dates
 10··have SEC filings according to our -- what data
 11··analysis we performed.
 12·· · · ·Q.· ··What was the purpose of counting some
 13··SEC filings but not others?
 14·· · · ·A.· ··Again, I'm just -- I'm not absolutely
 15··certain about that.··I just -- I would have to go
 16··back and look at exactly what the search criteria
 17··was.
 18·· · · ·Q.· ··Well, I'm certain you missed SEC
 19··filings, but I'm wondering why.··So you can't shed
 20··any light on that today?
 21·· · · ·A.· ··I would have to go back and review
 22··which filings are being excluded to answer why.
 23·· · · · · · ·(Exhibit 50, printout from SEC Edgar
 24·· · · ·system indicating Exhibit 51 was filed on
 25·· · · ·July 13, 2012, marked for identification.)

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2·· · · · · · ·(Exhibit 51, letter dated July 13, 2012
 ·3·· · · ·from Miller Energy, marked for
 ·4·· · · ·identification.)
 ·5·· · · ·Q.· ··I'm going to hand you what we've marked
 ·6··as Exhibit 50 and Exhibit 51.··So Exhibit 51 is a
 ·7··letter dated July 13, 2012 from Miller Energy; do
 ·8··you see that?
 ·9·· · · ·A.· ··I see that.
 10·· · · ·Q.· ··And it contains, among other things,
 11··supplemental oil and gas disclosure information; do
 12··you see that?
 13·· · · ·A.· ··Could you point me to where you see
 14··that particular language?
 15·· · · ·Q.· ··I'm just flipping through the document,
 16··looking at lots of words and numbers, and a heading
 17··"Supplemental Oil and Gas Disclosures Unaudited."
 18·· · · · · · ·MS. POSNER:··Page 3.
 19·· · · ·Q.· ··Maybe it will help if I directed your
 20··attention --
 21·· · · ·A.· ··I just want to review the document to
 22··make sure I understand what it is.
 23·· · · ·Q.· ··Take your time.··Just let me know when
 24··you're ready.
 25·· · · ·A.· ··Okay.

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2·· · · ·Q.· ··So you've had a chance to review
 ·3··Exhibit 51?
 ·4·· · · ·A.· ··Yeah.··I haven't read every word of it
 ·5··but I generally have a sense of what it is now.
 ·6·· · · ·Q.· ··It's a response from Miller to comments
 ·7··it received from the SEC; right?
 ·8·· · · ·A.· ··Yes.
 ·9·· · · ·Q.· ··And this letter is dated July 13, 2012.
 10··Right?
 11·· · · ·A.· ··Yes.
 12·· · · ·Q.· ··And if you look at Exhibit 50, you can
 13··see that it was filed on the SEC's Edgar system on
 14··July 13, 2012; right?
 15·· · · ·A.· ··Yes.
 16·· · · ·Q.· ··So this would make this a news day in
 17··your analysis; right?··I recognize you picked it up
 18··as a news day because you had a news article on the
 19··same date, but I just mean would this SEC filing
 20··also make it a news day?
 21·· · · ·A.· ··I would have to understand -- I mean,
 22··on the face of it, it's not clear to me why it
 23··wouldn't, but whether this could plausibly impact
 24··the stock price is another question because I would
 25··have to review whether and how much of this had

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··been previously disclosed, but arguably you could
 ·3··treat a day as a news day as a result of this, yes.
 ·4·· · · ·Q.· ··You're aware that plaintiffs have
 ·5··alleged that there were comment letters from the
 ·6··SEC that are very significant in this case; right?
 ·7·· · · ·A.· ··That's my recollection, yes.
 ·8·· · · ·Q.· ··And they have alleged that some of
 ·9··those comment letters were unknown to investors.
 10··Are you aware of that?
 11·· · · ·A.· ··I don't recall that detail.
 12·· · · ·Q.· ··Even though they were filed with the
 13··SEC on their Edgar system?
 14·· · · · · · ·MS. POSNER:··Objection.
 15·· · · ·A.· ··I don't recall that detail.
 16·· · · ·Q.· ··Those kinds of comment letters from the
 17··SEC and the company's responses certainly would be
 18··significant SEC filings that should be counted as
 19··news days; right?
 20·· · · ·A.· ··Plausibly, yes.
 21·· · · ·Q.· ··So, in any event, going back to Friday,
 22··July 13, 2012, that was a news day and you treated
 23··it as such in your analysis; right?
 24·· · · ·A.· ··Yes.
 25·· · · ·Q.· ··So July 16, 2012, was a Monday.

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2·· · · ·A.· ··I believe it was a Tuesday.··Oh, no,
 ·3··you're right.··The 16th would be a Monday, yes.
 ·4·· · · ·Q.· ··And the 17th would be a Tuesday.
 ·5·· · · ·A.· ··Correct, sorry.
 ·6·· · · ·Q.· ··Was there a statistically significant
 ·7··movement in the price of Miller Energy's common
 ·8··stock on Monday, July 16?
 ·9·· · · ·A.· ··Of 2012?··I'm sorry.
 10·· · · ·Q.· ··Yes, of 2012.
 11·· · · ·A.· ··Yes.
 12·· · · ·Q.· ··There was a statistically significant
 13··price movement at the 90 percent confidence level
 14··on July 16, 2012; right?
 15·· · · ·A.· ··No, at the 95 percent level.
 16·· · · ·Q.· ··Let me --
 17·· · · ·A.· ··Oh, I'm sorry.··Okay, I understand
 18··where the confusion is now.··I thought you were
 19··asking about the market date of the 17th which we
 20··started this conversation with.··Now I understand.
 21·· · · ·Q.· ··Let's clear it up.
 22·· · · ·A.· ··I understand the confusion.
 23·· · · ·Q.· ··I'll ask a couple of questions and we
 24··will clear it up.··So starting with July 17, the
 25··market date you looked at, there was a

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··statistically significant price movement at the 95
 ·3··percent confidence level on July 17?
 ·4·· · · ·A.· ··Yes.
 ·5·· · · ·Q.· ··Was there a statistically significant
 ·6··movement in the price on July 16, 2012?
 ·7·· · · ·A.· ··At the 90 percent level, yes.
 ·8·· · · ·Q.· ··So you observed a statistically
 ·9··significant price movement at the 90 percent level
 10··on July 16, 2012, followed by a statistically
 11··significant price movement at the 95 percent level
 12··on July 17, 2012; right?
 13·· · · ·A.· ··Yes.
 14·· · · ·Q.· ··Is it possible that the news item or
 15··items on July 13, 2012, could have caused the
 16··statistically significant price movements on July
 17··16 and July 17, 2012?
 18·· · · ·A.· ··The 16th, yes, for sure.··The 17th, I
 19··can't absolutely rule it out.··It's plausible that
 20··it contributed.··It wouldn't -- it would be
 21··unlikely it was the only thing, given that there
 22··was other material news revealed, but it's
 23··plausible that it contributed.
 24·· · · ·Q.· ··If that event drops out of your
 25··analysis, you would be down to 2 of 17 earnings

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··releases that resulted in statistically significant
 ·3··price movements?
 ·4·· · · ·A.· ··I don't know why you would do that, but
 ·5··if you just simply removed it, I guess that's true.
 ·6·· · · ·Q.· ··Well, if you removed it because
 ·7··something else caused the price movement or because
 ·8··you can't rule out the possibility that something
 ·9··else caused the price movement, it would result in
 10··you concluding that 2 of 17 price movements can be
 11··attributed to earnings releases; correct?
 12·· · · ·A.· ··Well, again, I mean, at the end of the
 13··day, it would still be showing that the stock price
 14··was moving significantly to firm-specific news.··So
 15··I don't know why one would focus -- why it has to
 16··be just due to the earnings release, but
 17··mathematically, if you removed it, it would be 2
 18··out of 17.
 19·· · · ·Q.· ··And 2 out of 17 would not be
 20··statistically significant versus no news days;
 21··correct?
 22·· · · ·A.· ··Well, again, if you're removing it
 23··entirely --
 24·· · · ·Q.· ··To be clear, I'm not saying remove the
 25··event.··I'm saying if you were unable to include

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··that as an event for which there was a
 ·3··statistically significant price reaction that you
 ·4··can attribute to the earnings release.
 ·5·· · · ·A.· ··That's what I'm confused about because
 ·6··I don't know that, number one, it matters, or
 ·7··number two, that even if you thought that was the
 ·8··right thing to do, it would be to just remove it
 ·9··from the numerator and not the denominator, but I
 10··don't think either one is the right thing to do.
 11·· · · ·Q.· ··Is it possible that all three of the
 12··statistically significant price movements you
 13··observed on the market date after earnings releases
 14··could have been market-date-plus-1 reactions to
 15··something that happened the day before the event
 16··date?
 17·· · · ·A.· ··Not if there was no news on all three
 18··of those days.
 19·· · · ·Q.· ··You're assuming the market was
 20··efficient, though, right, for that answer?
 21·· · · ·A.· ··No, because the predicate of your
 22··question is, is it possible that news from the day
 23··earlier affected a day later, and I'm saying if
 24··there was no news on the day earlier, it wouldn't
 25··make sense to believe that.

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2·· · · ·Q.· ··So earlier you said you had looked at
 ·3··news around the event dates in question to see if
 ·4··there's something else that might have caused the
 ·5··price movements; right?
 ·6·· · · ·A.· ··Yes.
 ·7·· · · ·Q.· ··In doing that work, did you look at and
 ·8··consider Exhibit 51?
 ·9·· · · ·A.· ··I don't recall specifically having seen
 10··Exhibit 51.
 11·· · · ·Q.· ··So in concluding that there was no
 12··other cause of the price movement that you
 13··attributed to event number 5, you didn't consider
 14··whether Exhibit 51 might have actually caused that
 15··movement; is that right?
 16·· · · ·A.· ··I don't remember specifically
 17··considering that.
 18·· · · · · · ·MR. BALLARD:··We're going to take a
 19·· · · ·short break.··They're going to be bringing in
 20·· · · ·lunch shortly if they haven't already done
 21·· · · ·that.
 22·· · · · · · ·THE VIDEO TECHNICIAN:··We're going off
 23·· · · ·the record.··The time is 12:08 p.m.
 24·· · · · · · ·(Luncheon recess:··12:08 p.m.)
 25··

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2·· · · · · ·A F T E R N O O N· ·S E S S I O N
 ·3·· · · · · · · · · · · ·1:06 p.m.
 ·4··C H A D· ·C O F F M A N, resumed the stand and
 ·5·· · · ·testified further as follows:
 ·6·· · · · · · ·THE VIDEO TECHNICIAN:··The time is 1:06
 ·7·· · · ·p.m.··We're back on the record.··BY MR.
 ·8·· · · ·BALLARD:
 ·9·· · · ·Q.· ··Can you turn to Exhibit 7 to your
 10··corrected report.
 11·· · · ·A.· ··Before we do that, can I go back to
 12··some of the questions you asked me before about SEC
 13··filings and which ones we downloaded and the timing
 14··of this particular SEC announcement?
 15·· · · ·Q.· ··Sure.
 16·· · · ·A.· ··After checking with my staff, I
 17··confirmed we actually don't exclude any specific
 18··types of SEC filings.··The particular filing that
 19··you showed me is something that was considered and
 20··is on the list of SEC filings.
 21·· · · · · · ·It's actually reflected, if you look at
 22··Exhibit 48, as having become public on August 17th,
 23··2012, so it's one of the items on the SEC list
 24··that's one of the items 32 through 40 that I
 25··understand were made public on August 17th.

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2·· · · · · · ·In fact, if you go -- you had showed me
 ·3··Exhibit 50, which is the exhibit that shows the
 ·4··filing date and the accepted date.··The accepted
 ·5··date, my understanding is, reflects when the SEC
 ·6··accepted it, but that's not reflective of when it
 ·7··was necessarily made public and given to the Edgar
 ·8··system.
 ·9·· · · · · · ·If you click on the complete submission
 10··file which is the -- there's a sequence number 1
 11··and 2, and then there's a complete submission file
 12··which is a text file there.··At the top of that
 13··text file, it reflects what I understand to be the
 14··date it was received by Edgar, which is the site
 15··that makes these filings public, and the date
 16··reflected there is August 17th.
 17·· · · · · · ·I also, when downloading the SEC site
 18··list, I download that through Investext and that
 19··also shows what is -- reflects a quote-unquote
 20··receipt date, which the documentation suggests is
 21··when Edgar received the file as August 17th, 2012
 22··as well.··So I don't believe sort of the predicate
 23··to all your questions before about this document as
 24··being made public on July 13th, 2012, are correct.
 25·· · · ·Q.· ··So looking at Exhibit 50, your

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··understanding is that that filing date is not the
 ·3··date that it became public?
 ·4·· · · ·A.· ··That's my understanding, correct.··That
 ·5··was the date that the issuer filed it with the SEC
 ·6··and it was accepted by the SEC, but that's not
 ·7··necessarily the date it became public.
 ·8·· · · ·Q.· ··How do you know for sure when it became
 ·9··public?
 10·· · · ·A.· ··My understanding is the best way -- I
 11··mean, there's multiple ways that I've looked at
 12··that, but if you click on the complete submission
 13··text file, there's a date reflected at the top of
 14··that document that my understanding is that's when
 15··it was received by Edgar, which is the service that
 16··makes these documents public.
 17·· · · ·Q.· ··Where did you get that understanding?
 18·· · · ·A.· ··By pulling up this document and
 19··clicking through to this complete submission file
 20··and then also talking with my staff to understand
 21··how we had put this document on August 17th.
 22·· · · ·Q.· ··So when your staff compiled the SEC
 23··filing data, they didn't go and click through all
 24··these complete submission text files; did they?
 25·· · · ·A.· ··No.··Through the Investext service, you

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··can create a spreadsheet or a list that reflects
 ·3··not just the filing date and the accepted date, but
 ·4··also the receipt date by Edgar.··At least that's
 ·5··how we're interpreting it and that's what we
 ·6··believe it to be.··And that shows August 17, and as
 ·7··a check, while I was on a break, I went to this
 ·8··particular filing and clicked through to the
 ·9··complete submission text file and it also showed
 10··that date.
 11·· · · ·Q.· ··Thank you.··Let's turn to your Exhibit
 12··7 to your corrected report.··So in conducting your
 13··event study for the common stock, you checked to
 14··see if there was a statistically significant price
 15··movement on the first trading day after each
 16··earnings release, which you called the market date.
 17··Right?
 18·· · · ·A.· ··Yes.
 19·· · · ·Q.· ··And you were attempting to study
 20··whether the market reacted rapidly to earnings
 21··releases; correct?
 22·· · · ·A.· ··That's the methodology, yes.
 23·· · · ·Q.· ··You didn't check to see if there was a
 24··price movement on market date plus 1; right?
 25·· · · ·A.· ··No.

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2·· · · ·Q.· ··And you didn't check to see if there
 ·3··was a price movement on market date plus 2; right?
 ·4·· · · ·A.· ··That was not part of the test, no.
 ·5·· · · ·Q.· ··So you were basically checking to see
 ·6··if there was a rapid reaction to earnings releases,
 ·7··not whether there was a slow reaction to earnings
 ·8··releases?
 ·9·· · · · · · ·MS. POSNER:··Objection.
 10·· · · ·Q.· ··Is that fair?
 11·· · · ·A.· ··Yes.
 12·· · · ·Q.· ··To put it in scientific terms, if you
 13··were going to say you had a hypothesis, you could
 14··say your hypothesis was that the market for Miller
 15··Energy's common stock is efficient and you're
 16··testing for that; right?
 17·· · · ·A.· ··No.··The hypothesis is that there's no
 18··difference -- so the null hypothesis that I'm
 19··attempting to reject is that there's no difference
 20··between earnings announcement dates and no news
 21··dates.··And then I run a test which shows I can
 22··reject that null hypothesis, and from that, I
 23··conclude that there is evidence of a cause and
 24··effect relationship between news on earnings
 25··announcement dates and movements in the security.

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2·· · · ·Q.· ··You're saying if there is an efficient
 ·3··market, you would expect a cause and effect
 ·4··relationship between earnings releases and price
 ·5··movements; correct?
 ·6·· · · · · · ·MS. POSNER:··Objection.
 ·7·· · · ·A.· ··Can I have that read back, please.
 ·8·· · · · · · ·(Record read.)
 ·9·· · · ·A.· ··Not necessarily in every single
 10··circumstances.··Again, what Cammer 5 is calling for
 11··is evidence of a cause and effect between
 12··company-specific news and the movements in the
 13··prices.
 14·· · · · · · ·I've designed a test where the null
 15··hypothesis is that there's actually no difference
 16··between the no news dates and the particular dates
 17··I'm identifying as having news or this type of
 18··news.··One could imagine a scenario where even
 19··though the market is perfectly efficient, that
 20··there's not sufficient surprising information on
 21··earnings dates that it would just be a circumstance
 22··of the facts that you actually didn't observe any
 23··statistically significant stock price movements on
 24··the earnings dates.
 25·· · · · · · ·So I don't think what you said is quite

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··right.··You don't always expect there to be price
 ·3··movements on earnings dates in an efficient market
 ·4··every time, but if you do observe it, that
 ·5··certainly allows you to reject the null hypothesis.
 ·6·· · · ·Q.· ··So you are essentially checking to see
 ·7··if there's a rapid reaction to earnings releases?
 ·8·· · · ·A.· ··Relative to the no news days, correct.
 ·9·· · · ·Q.· ··And you found that 3 of the 17 earnings
 10··releases had statistically significant reactions
 11··upon the market date?
 12·· · · · · · ·MS. POSNER:··Objection.
 13·· · · ·A.· ··At the 95 percent level.··There's more
 14··at the 90 percent, but at the 95 percent level,
 15··yes, 3 out of 17.
 16·· · · ·Q.· ··For event 9, was there a statistically
 17··significant price movement at the 95 percent
 18··confidence level on market date plus 1?
 19·· · · ·A.· ··I believe there was, yes.
 20·· · · ·Q.· ··For event 13, was there a statistically
 21··significant price movement at the 95 percent
 22··confidence level on market date plus 1?
 23·· · · ·A.· ··Yes.
 24·· · · ·Q.· ··For event number 17, was there a
 25··statistically significant price movement at the 95

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··percent confidence level on market date plus 1?
 ·3·· · · · · · ·MS. POSNER:··Was that number 17?
 ·4·· · · · · · ·MR. BALLARD:··Yes.
 ·5·· · · ·A.· ··Yes.
 ·6·· · · ·Q.· ··There were at least three instances out
 ·7··of 17 in which the price of Miller Energy's common
 ·8··stock moved in a statistically significant way at
 ·9··the 95 percent confidence level on market date plus
 10··1, with a second day after the earnings release;
 11··correct?
 12·· · · ·A.· ··Yes.
 13·· · · ·Q.· ··Three out of 17 would be 17.65 percent?
 14·· · · ·A.· ··Yes, but I think you're assuming in
 15··your question somehow that there's no additional
 16··news that might explain that and, in fact, I think
 17··the company had a practice from time to time of
 18··holding earnings calls a day after their
 19··announcements so their earnings calls may have also
 20··been contributing to that, but what you state is
 21··correct.
 22·· · · ·Q.· ··In fairness, in your analysis, you were
 23··assuming for each of the market dates there was no
 24··other confounding news item that came out on those
 25··dates as well; correct?

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2·· · · · · · ·MS. POSNER:··Objection.
 ·3·· · · ·A.· ··I wasn't assuming that.··I'm assuming
 ·4··that whatever the -- that the stock price was
 ·5··reacting to whatever the total mix of news was on
 ·6··those dates.
 ·7·· · · ·Q.· ··In each instance, you looked at an
 ·8··entire trading day and looked at the market price
 ·9··at the end of that day; right?
 10·· · · ·A.· ··That's correct, yes.
 11·· · · ·Q.· ··So other news could have come out that
 12··could have been the cause of the price movements
 13··you observed rather than the earnings release;
 14··right?
 15·· · · ·A.· ··Other news plausibly could have
 16··contributed.··Again, to the extent that's
 17··occurring, that's just adding further evidence that
 18··that day was showing a cause and effect
 19··relationship, but yes, it's possible things other
 20··than the earnings news were contributing.
 21·· · · ·Q.· ··So your data shows that 3 out of 17
 22··earnings releases were followed by statistically
 23··significant price movements on the market date, but
 24··also shows that 3 out of 17 earnings releases were
 25··followed by statistically significant price

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··movements on the market date plus 1; right?
 ·3·· · · ·A.· ··At least.··I don't know that I've
 ·4··looked at all of them.··You've shown me three.··I
 ·5··don't know if there's more.
 ·6·· · · ·Q.· ··Earnings releases were just as likely
 ·7··to be followed by a statistically significant price
 ·8··movement on the second day of trading as they were
 ·9··the first; right?
 10·· · · · · · ·MS. POSNER:··Objection.
 11·· · · ·A.· ··Again, I think your question is
 12··ignoring the possibility that there's additional
 13··news being released around those times, but as a
 14··factual matter, it's showing that, yes.
 15·· · · ·Q.· ··The price of Miller Energy's common
 16··stock was as likely to take an extra day to react
 17··as it was to react on the first market date;
 18··correct?
 19·· · · · · · ·MS. POSNER:··Objection.
 20·· · · ·A.· ··No.
 21·· · · ·Q.· ··What is your basis for saying that, if
 22··any?
 23·· · · ·A.· ··That there's -- I'm not aware of
 24··evidence suggesting that on those days, it was
 25··taking an extra day for it to react.··It may have

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··been reacting to other information, so I just
 ·3··haven't drawn that conclusion.
 ·4·· · · ·Q.· ··So it's possible that those three
 ·5··occasions where there was a market reaction two
 ·6··days after the announcement were, in fact,
 ·7··reactions to those earnings releases; correct?
 ·8·· · · · · · ·MS. POSNER:··Objection.
 ·9·· · · ·A.· ··I guess I haven't done anything to
 10··completely rule that out, but I'm certainly not
 11··drawing that conclusion.
 12·· · · ·Q.· ··If that's true, that would be strong
 13··evidence of an inefficient market; correct?
 14·· · · ·A.· ··I don't necessarily believe so, no.
 15·· · · ·Q.· ··You were testing for whether the market
 16··was efficient.··You were not testing for whether it
 17··was inefficient; correct?
 18·· · · ·A.· ··Again, I think I've laid out exactly
 19··what my test is.··I'm testing a null hypothesis
 20··that the earnings announcements had no effect and
 21··I'm able to reject that scientifically.
 22·· · · ·Q.· ··If you can test for whether the market
 23··reacted rapidly, can't you test for whether it
 24··reacted slowly?
 25·· · · ·A.· ··Well, if it was consistently reacting

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··slowly in some systematic way, I would have
 ·3··expected to see some evidence of that in the
 ·4··autocorrelation test, but I don't see that.··I mean
 ·5··what you're saying is technically plausible, I
 ·6··guess, but I don't believe there's actually any
 ·7··evidence to support that, certainly not in my
 ·8··report.
 ·9·· · · ·Q.· ··For event number 12, was there a
 10··statistically significant price movement at the 95
 11··percent confidence level on market date plus 2?
 12·· · · ·A.· ··So it would be March 17th, the Monday.
 13··Yes, there was a significant return.··And just to
 14··be clear, throughout this questioning, we're
 15··talking about the common stock.
 16·· · · ·Q.· ··Yes, for the common stock.
 17·· · · · · · ·For event number 17, was there a
 18··statistically significant price movement in the
 19··common stock at the 95 percent confidence level on
 20··market date plus 2?
 21·· · · ·A.· ··So that would be July 31st.··The answer
 22··is yes.··I happen to know that's the day they were
 23··delisted from the exchange so there certainly was
 24··other news that helps explain that.
 25·· · · ·Q.· ··Of the 17 events at issue, in at least

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··five instances, the price of the common stock moved
 ·3··in a statistically significant way at the 95
 ·4··percent confidence level on the second or third day
 ·5··after the event in question; correct?
 ·6·· · · ·A.· ··You're factually correct that it moves.
 ·7··Attributing that to the earnings announcement or
 ·8··somehow inferring from that that the price moved
 ·9··slowly, I don't think would be the conclusion you
 10··could draw from that.
 11·· · · ·Q.· ··You've devised a test that will allow
 12··you to conclude that there was a cause and effect
 13··relationship, but your test does not allow you to
 14··ever conclude that there was a slow reaction to the
 15··earnings releases; correct?
 16·· · · ·A.· ··Well, the test -- again, I think it's
 17··important to look at a couple of different things.
 18··I've devised a test that allows me to test the null
 19··hypothesis that earnings announcement dates don't
 20··look any different than the no news dates, and
 21··rejected that null.
 22·· · · · · · ·I've not performed a specific test of
 23··whether there are delayed reactions beyond day 2 --
 24··I'm sorry, beyond day 1, but I do have a test of
 25··autocorrelation that suggests there's no consistent

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··ability to predict the stock price movement on day
 ·3··T+1 from day T, so I think there is evidence in my
 ·4··report that suggests that the market -- that it did
 ·5··generally react rapidly.
 ·6·· · · ·Q.· ··Can you explain, if the market was
 ·7··efficient, why the stock price was much more likely
 ·8··to move on the second or third day after an
 ·9··earnings release than it was on the day after an
 10··earnings release?
 11·· · · · · · ·MS. POSNER:··Objection.
 12·· · · ·A.· ··Yeah, because it may not have been the
 13··earnings release that was moving the stock up on
 14··those days.
 15·· · · ·Q.· ··You're saying there might have been
 16··some other news out there that could have caused
 17··the price movement on market date plus 1 and plus
 18··2?
 19·· · · ·A.· ··Yes.··In fact, I just gave you an
 20··answer to that.··On July 31st, I know for a fact
 21··there was other news that caused the stock price to
 22··decline with an abnormal return over 50 percent, so
 23··I know there was other news on that day.
 24·· · · ·Q.· ··That criticism is applicable to your
 25··entire approach, because you didn't check to see

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··whether there was conflicting or additional
 ·3··information on any of the market dates; correct?
 ·4·· · · · · · ·MS. POSNER:··Objection.
 ·5·· · · ·A.· ··No, because now I'm looking within a
 ·6··day and that's my methodology.··You're now saying
 ·7··that you could somehow draw some conclusion about
 ·8··how slowly the market is reacting just by observing
 ·9··the rate at which there were significant results
 10··over the two and three-day windows without
 11··considering whether there was other news that was
 12··interfering.
 13·· · · ·Q.· ··So you're assuming there must have been
 14··new information on market date 1 or market date 2,
 15··but you're assuming there wasn't any new
 16··information on the market date beyond the earnings
 17··release?
 18·· · · · · · ·MS. POSNER:··Objection.
 19·· · · ·A.· ··No, I'm not assuming any of those
 20··things.
 21·· · · ·Q.· ··Is it your opinion that the markets for
 22··Miller Energy securities were efficient through the
 23··entirety of the proposed class period?
 24·· · · ·A.· ··So I guess the reason I'm hesitating
 25··there is I know originally there was a proposed

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··class period that extended beyond July 31st of
 ·3··2015, and so I just want to be clear about what
 ·4··time period you're asking me about.
 ·5·· · · ·Q.· ··So just to be clear, when I refer to
 ·6··the proposed class period, I'm referring to the
 ·7··proposed class period contained in the motion to
 ·8··certify classes, not what is in the complaint.
 ·9·· · · ·A.· ··Okay.··I don't know that I've actually
 10··ever reviewed that document, so if you're asking
 11··for the analysis period, which is what I was asked
 12··to give an opinion on, the answer is yes.
 13·· · · ·Q.· ··If the market for Miller Energy
 14··securities was efficient throughout the analysis
 15··period, then publicly disclosed information
 16··contained in SEC filings related to Miller Energy
 17··should have been rapidly incorporated into the
 18··price of Miller Energy's securities; right?
 19·· · · · · · ·MS. POSNER:··Can you read that back.
 20·· · · · · · ·(Record read.)
 21·· · · · · · ·MS. POSNER:··Objection to form.
 22·· · · ·A.· ··Yes.
 23·· · · ·Q.· ··On your Exhibit 7, for example, looking
 24··at event number 5 for the year-end results reported
 25··in the company's Form 10-K, your opinion is that

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··the market for Miller Energy securities was
 ·3··efficient and that the information made public
 ·4··through that filing was rapidly incorporated into
 ·5··the price of the company's securities?
 ·6·· · · ·A.· ··Yes.
 ·7·· · · · · · ·MS. POSNER:··Objection to form.
 ·8·· · · ·A.· ··Yes.
 ·9·· · · ·Q.· ··And is it your opinion that for each of
 10··the 10-Ks and 10-Qs, the information that was
 11··publicly disclosed would have been rapidly
 12··incorporated into the price of the company's
 13··securities because the market was efficient?
 14·· · · ·A.· ··Yes.
 15·· · · ·Q.· ··Does that apply to the exhibits to the
 16··Form 10-K as well?
 17·· · · ·A.· ··Generally speaking, yes.··I guess there
 18··could be a circumstance in which -- and I think I
 19··may have testified about this at our first session,
 20··that if there was some important value-relevant
 21··detail buried deep in a filing and it wasn't
 22··noticed until -- and then it was reported on
 23··shortly after that by analysts and things like
 24··that, you could imagine there being some short
 25··delay, but generally speaking, I would think that

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··anything that's attached to the 10-K filing would
 ·3··be reflected rapidly.
 ·4·· · · ·Q.· ··I'm going to hand you Exhibit 28.
 ·5·· · · ·A.· ··Just to be clear, as long as those
 ·6··exhibits were public at the time, as part of the
 ·7··public filing.
 ·8·· · · ·Q.· ··In Exhibit 28, can you turn to page F30
 ·9··toward the end.··There's a heading, "Supplemental
 10··Oil and Gas Disclosures Unaudited."··Do you see
 11··that?
 12·· · · ·A.· ··I see that heading, yes.
 13·· · · ·Q.· ··Following that heading, there's some
 14··texts and charts and data.
 15·· · · ·A.· ··Yes.
 16·· · · ·Q.· ··If the markets were efficient, this
 17··information would have been incorporated in Miller
 18··Energy's securities prices rapidly?
 19·· · · ·A.· ··Sitting here right now, I have no
 20··reason to believe that to be untrue.··I agree, I
 21··would expect that.
 22·· · · ·Q.· ··If you look at page F35 -- actually,
 23··F34, sorry.
 24·· · · ·A.· ··Okay.
 25·· · · ·Q.· ··On F34, the last paragraph starts, "The

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··following schedule."··Do you see that?
 ·3·· · · ·A.· ··Yes.
 ·4·· · · ·Q.· ··And there's a sentence that says, "All
 ·5··estimates were prepared by third-party reserve and
 ·6··engineering firms."
 ·7·· · · · · · ·Do you see that?
 ·8·· · · ·A.· ··I see that.
 ·9·· · · ·Q.· ··And then if you look on the next page,
 10··there's a paragraph, "Each of the engineering
 11··reports also projected..."··Do you see that?
 12·· · · ·A.· ··I see the paragraph that starts that,
 13··yes.
 14·· · · ·Q.· ··There's a reference to their
 15··calculation of present value discounted at 10
 16··percent per annum.··Do you see that?
 17·· · · ·A.· ··Let me review it.··I see that.
 18·· · · ·Q.· ··Are you familiar with the engineering
 19··firms that are referred to here?
 20·· · · ·A.· ··Not specifically, no.
 21·· · · · · · ·MR. BALLARD:··I need to go off the
 22·· · · ·record.
 23·· · · · · · ·THE VIDEO TECHNICIAN:··We're going off
 24·· · · ·the record.··The time is 1:33 p.m.
 25·· · · · · · ·(Recess taken.)

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2·· · · · · · ·THE VIDEO TECHNICIAN:··The time is 1:58
 ·3·· · · ·p.m.··We're back on the record.
 ·4·· · · · · · ·MR. BALLARD:··Mr. Coffman, we've handed
 ·5·· · · ·you Exhibit 52.
 ·6·· · · · · · ·(Exhibit 52, Edgar detail related to
 ·7·· · · ·the Form 10-K for the year 2012 for Miller
 ·8·· · · ·Energy, marked for identification.)
 ·9·· · · · · · ·MR. BALLARD:··I'm going to hand you two
 10·· · · ·more exhibits.··Number 53.
 11·· · · · · · ·(Exhibit 53, May 29, 2012 reserve
 12·· · · ·report, marked for identification.)
 13·· · · · · · ·MR. BALLARD:··And 54.
 14·· · · · · · ·(Exhibit 54, reserve report, marked for
 15·· · · ·identification.)
 16·· · · ·Q.· ··Do you recognize Exhibit 52 as the
 17··Edgar detail related to the Form 10-K for the year
 18··2012 for Miller Energy?
 19·· · · ·A.· ··Yes.
 20·· · · ·Q.· ··And you see that there were a number of
 21··exhibits that were filed along with the annual
 22··report on Form 10-K?
 23·· · · ·A.· ··That appears to be the case, yes.
 24·· · · ·Q.· ··Among those exhibits were a number of
 25··reserve reports; do you see that?

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2·· · · ·A.· ··It appears to be, yes.
 ·3·· · · ·Q.· ··And can you take a look at Exhibits 53
 ·4··and 54.··Do you see that those are two of those
 ·5··reserve reports?
 ·6·· · · ·A.· ··That's what it appears to be, yes.
 ·7·· · · ·Q.· ··So looking at Exhibit 53, what is the
 ·8··date of the letter that you have in front of you
 ·9··there?
 10·· · · ·A.· ··The date of the letter appears to be
 11··May 29, 2012.
 12·· · · ·Q.· ··This is a letter signed by a Lloyd
 13··Branum of Ralph E. Davis Associates, Inc.
 14·· · · ·A.· ··I'm sorry, you said Lloyd?··I see LB.
 15··Do you see Lloyd somewhere?
 16·· · · · · · ·MS. POSNER:··Page 7 of 17.
 17·· · · ·A.· ··Yes, I see that.
 18·· · · ·Q.· ··And he's identified as a licensed
 19··professional engineer, do you see that, in
 20··paragraph 2?
 21·· · · ·A.· ··I see that's the representation, yes.
 22·· · · ·Q.· ··Turning to the front of this document,
 23··Exhibit 53, do you see that he has indicated that
 24··Miller has asked his firm, Ralph E. Davis, to
 25··prepare a statement of oil and gas reserves in

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··Alaska?
 ·3·· · · ·A.· ··I see it says, "On specific leaseholds
 ·4··in which Cook Inlet Energy has interest for CIE and
 ·5··Miller."··I don't know if that's referenced to all
 ·6··the Alaska Assets, but I see he's prepared an
 ·7··estimate of the reserves for whatever he's looking
 ·8··at.
 ·9·· · · ·Q.· ··And in this instance, he's prepared an
 10··estimate of the proved, probable and possible
 11··reserves; do you see that in the third line?
 12·· · · ·A.· ··I see the words "probable" and
 13··"possible" there, yes.
 14·· · · ·Q.· ··And "proved" as well; right?
 15·· · · ·A.· ··Yes.
 16·· · · ·Q.· ··If the markets were efficient, the
 17··markets would have absorbed this information and
 18··incorporated it into the price of Miller Energy
 19··securities; isn't that true?
 20·· · · ·A.· ··Generally speaking, yes, to the extent
 21··there's -- someone could read between the lines
 22··here and some analyst or other person could put
 23··this in more context and provide additional
 24··information.··That's theoretically possible, but
 25··certainly given that it was public and filed with a

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··10-K, it was available to the market and would be
 ·3··priced in, yes.
 ·4·· · · ·Q.· ··If you look at page 2 of Exhibit 53, in
 ·5··the second paragraph, do you see that Ralph E.
 ·6··Davis has estimated the future net income and
 ·7··discounted present value associated with the
 ·8··reserves as of April 30, 2011?
 ·9·· · · ·A.· ··I see that, yes.
 10·· · · ·Q.· ··And do you see that at the end of that
 11··paragraph, he's indicated that "The present value
 12··is presented for your information and should not be
 13··construed as an estimate of the fair market value"?
 14··Do you see that?
 15·· · · ·A.· ··I see that, yes.
 16·· · · ·Q.· ··That was also made public as well and
 17··should have been incorporated into the market price
 18··of Miller Energy securities if the market was
 19··efficient; right?
 20·· · · ·A.· ··Yes.
 21·· · · ·Q.· ··Do you see that in this instance, Ralph
 22··E. Davis estimated that the company had, for the
 23··proved reserves, estimated future net income in
 24··excess of $452 million?
 25·· · · ·A.· ··Can you point me again to where you're

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··seeing that?
 ·3·· · · ·Q.· ··If you look at the first chart on page
 ·4··2 there's a heading, "Proved."
 ·5·· · · ·A.· ··I see that.··I didn't see the proved
 ·6··heading.··Yes, I see that.
 ·7·· · · ·Q.· ··Under "Income Data" there's a capital M
 ·8··and a dollar sign.··Do you see that?
 ·9·· · · ·A.· ··I see that.
 10·· · · ·Q.· ··So that would indicate these numbers
 11··are in thousands?
 12·· · · ·A.· ··That's generally the notation for that,
 13··yes.
 14·· · · ·Q.· ··And if you look down at future net
 15··income, FNI, do you see that line?
 16·· · · ·A.· ··Yes.
 17·· · · ·Q.· ··So Ralph E. Davis was estimating over
 18··$452 million of future net income for the proved
 19··reserves as of April 30, 2011; right?
 20·· · · ·A.· ··That's what it seems to indicate.··I
 21··mean, that's not a present value, but that's the
 22··future net income according to them, yes.
 23·· · · ·Q.· ··And using a discount rate of 10
 24··percent, this firm calculated the present value of
 25··that as in excess of $301 million; right?

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2·· · · ·A.· ··That's what it seems to indicate
 ·3··they're calculating.
 ·4·· · · ·Q.· ··If you turn to the next page, do you
 ·5··see there's a heading for, "Probable"?
 ·6·· · · ·A.· ··Yes.
 ·7·· · · ·Q.· ··And Ralph E. Davis was estimating at
 ·8··this time that Miller Energy would have in excess
 ·9··of $412 million of future net income on its
 10··probable reserves?··Do you see that?
 11·· · · ·A.· ··That seems to be what this is
 12··indicating, yes.
 13·· · · ·Q.· ··And their present value of that, at a
 14··10 percent discount rate, was in excess of $232
 15··million; is that right?
 16·· · · ·A.· ··That's what this seems to indicate
 17··their view was, this particular engineer's view was
 18··or this firm's view was.
 19·· · · ·Q.· ··Do you see the next heading for,
 20··"Possible"?
 21·· · · ·A.· ··Yes.
 22·· · · ·Q.· ··It looks as though Ralph E. Davis' firm
 23··was estimating that there would be future net
 24··income in excess of $1.1 billion on the possible
 25··reserves according to this; right?

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2·· · · ·A.· ··That's what it seems to indicate.
 ·3·· · · ·Q.· ··Their present value for that was in
 ·4··excess of $663 million using a 10 percent discount
 ·5··rate?
 ·6·· · · ·A.· ··That's what it seems to indicate.
 ·7·· · · ·Q.· ··If you turn to page 5, at the top in
 ·8··the first line, do you see that this firm was using
 ·9··an average crude oil price of $85.55 per barrel?
 10·· · · ·A.· ··I see that statement.
 11·· · · ·Q.· ··So if the markets were efficient, the
 12··price of Miller Energy's common stock would have
 13··rapidly absorbed all this information; right?
 14·· · · ·A.· ··Yes.
 15·· · · ·Q.· ··If you turn to Exhibit 54 --
 16·· · · · · · ·MS. POSNER:··Before you go on, are you
 17·· · · ·going to tie this to the corrections in his
 18·· · · ·report?··Because you don't just get another
 19·· · · ·seven hours.
 20·· · · · · · ·MR. BALLARD:··I'm not going to comment.
 21·· · · ·You can give a direction if you want to.
 22·· · · · · · ·MS. POSNER:··I'm going to tell him to
 23·· · · ·stop answering questions unless you can tell
 24·· · · ·me you're relating this in some way to his
 25·· · · ·corrected report and the corrections to it.

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2·· · · · · · ·MR. BALLARD:··You can give whatever
 ·3·· · · ·instructions you want to give.
 ·4·· · · · · · ·MS. POSNER:··You're not going to tell
 ·5·· · · ·me one way or the other?
 ·6·· · · · · · ·MR. BALLARD:··I'm going to ask
 ·7·· · · ·questions today.··I'm not going to explain.
 ·8·· · · · · · ·MS. POSNER:··If you have no further
 ·9·· · · ·questions on his corrections to his report,
 10·· · · ·we can stop the deposition.
 11·· · · · · · ·MR. BALLARD:··No, I'm not stopping the
 12·· · · ·deposition.
 13·· · · · · · ·MS. POSNER:··We can leave.··That's
 14·· · · ·fine.
 15·· · · · · · ·MR. BALLARD:··If you leave, the
 16·· · · ·consequences will be on you.··I have
 17·· · · ·questions to ask and I'm going to continue
 18·· · · ·asking.
 19·· · · · · · ·MS. POSNER:··We can call the Court.
 20·· · · · · · ·MR. BALLARD:··Do you have a direction
 21·· · · ·to your witness?
 22·· · · · · · ·MS. POSNER:··I'm going to stop the
 23·· · · ·deposition.··I don't need to instruct him.
 24·· · · ·We can leave.··I'm trying to get some clarity
 25·· · · ·from you if you're asking questions about the

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2·· · · ·corrected report.··You know that you're
 ·3·· · · ·limited to seven hours for the deposition.
 ·4·· · · ·We agreed to take him back to answer
 ·5·· · · ·questions with regard to his corrected
 ·6·· · · ·report.
 ·7·· · · · · · ·You're now well beyond that with regard
 ·8·· · · ·to your questions, so I'm asking you if
 ·9·· · · ·you're going to get to questions pertaining
 10·· · · ·to his corrected report.··If so, I'm happy to
 11·· · · ·let you continue.
 12·· · · · · · ·MR. BALLARD:··My position is all of my
 13·· · · ·questions relate to his corrected report.··If
 14·· · · ·you disagree, you can disagree.··If you want
 15·· · · ·to give him an instruction, give him an
 16·· · · ·instruction, but otherwise, I have a question
 17·· · · ·I'd like to ask this witness.
 18·· · · · · · ·MS. POSNER:··That is not being
 19·· · · ·responsive.··You're taking the position that
 20·· · · ·anything about efficiency relates to the
 21·· · · ·corrections to his report?··Is that your
 22·· · · ·position?
 23·· · · · · · ·MR. BALLARD:··I didn't say that.
 24·· · · · · · ·MS. POSNER:··I'm asking you for clarity
 25·· · · ·so we have a record here.

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2·· · · · · · ·MR. BALLARD:··I think we've made a
 ·3·· · · ·record.··I have a question pending.··I'd like
 ·4·· · · ·an answer.
 ·5·· · · · · · ·MS. POSNER:··No.··I'd like some clarity
 ·6·· · · ·from you about what you think the scope that
 ·7·· · · ·you can cover today is.··If you think it goes
 ·8·· · · ·beyond the corrections to his report, please
 ·9·· · · ·put that on the record so that I know your
 10·· · · ·position and we can decide how we want to
 11·· · · ·proceed here.
 12·· · · · · · ·MR. BALLARD:··The deposition today is
 13·· · · ·on his corrected report and that's what I'm
 14·· · · ·asking questions about.
 15·· · · · · · ·MS. POSNER:··You've just asked
 16·· · · ·questions that have nothing to do with his
 17·· · · ·corrected report.
 18·· · · · · · ·MR. BALLARD:··We agree to disagree on
 19·· · · ·that.
 20·· · · · · · ·MS. POSNER:··What do you think you just
 21·· · · ·asked questions about that went to the
 22·· · · ·corrections in his report?
 23·· · · · · · ·MR. BALLARD:··I'm not going to argue
 24·· · · ·anymore with you.··You can answer the
 25·· · · ·question, or if your counsel wants to

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2·· · · ·instruct you, she can instruct you.
 ·3·· · · · · · ·Can we have the question read back.
 ·4·· · · · · · ·MS. POSNER:··If you're not going to be
 ·5·· · · ·able to provide any further information
 ·6·· · · ·regarding whether you have any further
 ·7·· · · ·questions about the corrections to his
 ·8·· · · ·report, then we can just stop.··That's all
 ·9·· · · ·I'm asking you.
 10·· · · · · · ·MR. BALLARD:··I'm asking questions.··I
 11·· · · ·have one pending.··I want an answer.··Please
 12·· · · ·answer.
 13·· · · · · · ·MS. POSNER:··You can answer the pending
 14·· · · ·question if you want and we can leave after
 15·· · · ·that.
 16·· · · · · · ·THE WITNESS:··I don't recall the
 17·· · · ·pending question.
 18·· · · · · · ·(Record read.)
 19·· · · · · · ·MS. POSNER:··If you have no further
 20·· · · ·questions about the corrections to his
 21·· · · ·report, I'm going to do my redirect and we're
 22·· · · ·going to be done with the deposition.··If you
 23·· · · ·have further questions about the corrections
 24·· · · ·to his report, I'm happy to let you ask them.
 25·· · · ·Q.· ··Turning to Exhibit 54, would all of the

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··information in it have been rapidly incorporated
 ·3··into the price of Miller Energy's securities if the
 ·4··market was efficient?
 ·5·· · · ·A.· ··To the extent it was attached to the
 ·6··10-K as it seems to be indicated here, I would say
 ·7··yes.
 ·8·· · · ·Q.· ··You can set that aside.··I want to
 ·9··direct your attention to the Second Amended
 10··Complaint again.··It's Exhibit No. 3.
 11·· · · ·A.· ··Okay.
 12·· · · ·Q.· ··I'll direct your attention to paragraph
 13··225.
 14·· · · ·A.· ··Okay.
 15·· · · ·Q.· ··In this paragraph, plaintiffs allege
 16··"On May 12, 2015, the company disclosed that the
 17··New York Stock Exchange had notified it that its
 18··shares were subject to de-listing due to its having
 19··failed to maintain listing requirements.
 20·· · · · · · ·Do you see that?
 21·· · · ·A.· ··I do.
 22·· · · ·Q.· ··Are you aware of how this information
 23··became public on May 12, 2015?
 24·· · · ·A.· ··I don't have a specific recollection as
 25··I sit here.··Give me just a moment.

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2·· · · · · · ·I don't.
 ·3·· · · ·Q.· ··Would it surprise you if you heard that
 ·4··a Form 8-K witness disclosure was filed on the
 ·5··morning of May 12, 2015?
 ·6·· · · ·A.· ··I don't know that it would surprise me.
 ·7··Like I said, as I sit here, I'm generally not aware
 ·8··of that, of the specifics of how that became
 ·9··public.
 10·· · · · · · ·(Exhibit 55, Form 8-K dated May 12,
 11·· · · ·2015, marked for identification.)
 12·· · · ·Q.· ··I've handed you Exhibit No. 55.
 13··Exhibit 55 is a Form 8-K dated May 12, 2015; right?
 14·· · · · · · ·MS. POSNER:··What date did you say?
 15·· · · ·It's May 6, 2015, as of the cover of this
 16·· · · ·document.
 17·· · · ·Q.· ··If you look at the last page of the
 18··document, do you see that there's a signature from
 19··Carl Isler, Jr.?
 20·· · · ·A.· ··I see that.
 21·· · · ·Q.· ··And it's dated May 12, 2015, at least
 22··on the signature page; right?
 23·· · · ·A.· ··I see that.
 24·· · · ·Q.· ··And then on the front, there's a date
 25··of report, date of earliest event reported, of May

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··6, 2015; do you see that?
 ·3·· · · ·A.· ··Where specifically are you pointing me
 ·4··to there?··Oh, at the top, on the cover sheet?
 ·5··Okay, I see that.
 ·6·· · · ·Q.· ··Is it your understanding that this
 ·7··document was filed on May 12, 2015?
 ·8·· · · ·A.· ··That's what it appears to suggest.
 ·9·· · · ·Q.· ··In this document, Miller Energy has
 10··indicated that on May 6, 2015, the company received
 11··a notice from the New York Stock Exchange that it
 12··was not in compliance with listing standards; do
 13··you see that?
 14·· · · ·A.· ··Yes.
 15·· · · ·Q.· ··And Miller Energy disclosed that such
 16··non-compliance was based on the company's failure
 17··to maintain an average market capitalization and
 18··shareholder's equity greater than $50 million over
 19··a 30 trading day period.··Do you see that?
 20·· · · ·A.· ··Yes.
 21·· · · ·Q.· ··It also indicated that the company had
 22··45 days to submit a plan to regain compliance or be
 23··delisted; right?
 24·· · · ·A.· ··Yeah.··I mean it had 18 months to
 25··regain compliance, but it had to submit a plan

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··within 45 days.··That's my understanding of how to
 ·3··read this.
 ·4·· · · ·Q.· ··So basically Miller Energy got the
 ·5··notice from the New York Stock Exchange on May 6th
 ·6··and they filed or publicly disclosed it by May 12,
 ·7··2015.··Is that how you understand it?
 ·8·· · · ·A.· ··Yeah.··I would want to review to see if
 ·9··there's any other indication that it was disclosed
 10··earlier, but that's what this document appears to
 11··be suggesting, yes.
 12·· · · ·Q.· ··And it's what the complaint alleges in
 13··paragraph 225?
 14·· · · ·A.· ··That's what it appears to allege, yes.
 15·· · · ·Q.· ··So looking at Exhibit 44, which is the
 16··regression analysis for the common stock for your
 17··corrected report, can you tell us if there was a
 18··statistically significant price reaction on May 12
 19··or May 13 or May 14 of 2015?
 20·· · · ·A.· ··There was not.
 21·· · · ·Q.· ··If you would look at the Second Amended
 22··Complaint at paragraph 227, there's an allegation
 23··that "On July 30, 2015, after market close, Miller
 24··Energy disclosed that its common and preferred
 25··stock would be de-listed from the New York Stock

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··Exchange," and then there's an allegation that this
 ·3··leaked out the truth, and the stock price fell.
 ·4·· · · · · · ·Do you see that?
 ·5·· · · ·A.· ··Yes.
 ·6·· · · ·Q.· ··And your regression analysis for the
 ·7··common stock showed that the price in fact declined
 ·8··in a statistically significant way on July 30,
 ·9··2015; is that right?
 10·· · · ·A.· ··It does, although paragraph 227 seems
 11··to indicate that the news was after the market
 12··close, which means the market date would have been
 13··July 31st.
 14·· · · ·Q.· ··And your regression analysis shows a
 15··statistically significant decline on that date as
 16··well; right?
 17·· · · ·A.· ··Yes.
 18·· · · ·Q.· ··If the market was efficient, given that
 19··the risk of delisting was disclosed on May 12,
 20··shouldn't there have been a price reaction after
 21··the May 12 disclosure?
 22·· · · ·A.· ··No, not necessarily.
 23·· · · ·Q.· ··If the market was efficient, given that
 24··the risk of delisting was disclosed on May 12,
 25··shouldn't the price not have reacted after the July

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··30 disclosure?
 ·3·· · · ·A.· ··No, not at all.··There are two very
 ·4··different sets of information being disclosed.··On
 ·5··May 12, they're being notified -- they're telling
 ·6··the market they have been notified that they don't
 ·7··meet the market capitalization qualifications and
 ·8··they need a plan to rectify that.
 ·9·· · · · · · ·The market was well aware through
 10··public information what their market cap was so it
 11··probably wouldn't have been a shock to the market
 12··that they were getting such a notice.
 13·· · · · · · ·And on July 30th, the fact that they
 14··didn't come up with a plan to rectify it and the
 15··exchange actually went through with the delisting
 16··is very different than just saying the company had
 17··to submit a plan.··So I see those as two very
 18··different events.
 19·· · · ·Q.· ··The market knew through that entire
 20··period that the average market capitalization
 21··didn't bounce back; right?
 22·· · · ·A.· ··Correct, but -- correct.
 23·· · · ·Q.· ··So the market knew that the listing
 24··requirements continued to not be met through this
 25··entire period; right?

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2·· · · ·A.· ··That's probably true, yes.
 ·3·· · · ·Q.· ··I want to turn back to Exhibit 44, your
 ·4··regression analysis for the common stock for your
 ·5··corrected report.
 ·6·· · · · · · ·If you look at the top, there are a
 ·7··bunch of column headings.
 ·8·· · · ·A.· ··Yes.
 ·9·· · · ·Q.· ··And I don't know, a third of the way
 10··across the page, there's one "REP" and then "CL."
 11··Do you see that?
 12·· · · ·A.· ··Yes.
 13·· · · ·Q.· ··What is that?
 14·· · · ·A.· ··I believe that is the return of the oil
 15··futures index that I'm controlling for or the oil
 16··futures price that I'm controlling for on each day.
 17·· · · ·Q.· ··And how did you compute the return on
 18··oil futures in this analysis?
 19·· · · ·A.· ··It's the percentage change in the price
 20··of the index.··Hold on, let me just take a step
 21··back.··So it's relying on -- I'm sorry, Footnote 62
 22··of my corrected report makes reference to the NYMEX
 23··WTI light sweet crude oil index futures index so
 24··it's NYMEX CL so I'm looking at the percentage
 25··change in value of that index.

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2·· · · ·Q.· ··So let's just take a specific day.··Can
 ·3··you look at November 15 of 2011.
 ·4·· · · ·A.· ··Okay.
 ·5·· · · ·Q.· ··And you have a figure in there, it
 ·6··looks like .0131445.··Do you see that?
 ·7·· · · ·A.· ··Yes.
 ·8·· · · ·Q.· ··How mathematically did you calculate
 ·9··that number by way of example?
 10·· · · ·A.· ··It's the percentage change in the price
 11··of the index that is referenced in my report from
 12··the prior day.··The closing -- the closing price.
 13·· · · · · · ·So if -- I mean, formulaically, it's
 14··the price at the close on that day, divided by the
 15··price of the close on the prior day, minus 1.
 16·· · · ·Q.· ··Closing price on November 15, 2012,
 17··divided by closing price on the prior day, which
 18··would have been November 14 --
 19·· · · ·A.· ··Yes.
 20·· · · ·Q.· ··-- '12, minus 1?
 21·· · · ·A.· ··Yes.
 22·· · · ·Q.· ··And that would get you the --
 23·· · · ·A.· ··Percentage change or the return.
 24·· · · · · · ·MS. POSNER:··We're on 2011 though,
 25·· · · ·right?

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2·· · · · · · ·MR. BALLARD:··You're right, 2011.··I
 ·3·· · · ·think I misspoke.··2011.
 ·4·· · · ·Q.· ··Is that the method you used to compute
 ·5··all of the numbers in this column?
 ·6·· · · ·A.· ··Yes.
 ·7·· · · ·Q.· ··What happens when a futures contract
 ·8··matures?
 ·9·· · · · · · ·MS. POSNER:··Objection.
 10·· · · ·A.· ··My understanding is this is an index of
 11··how generally futures prices are changing, so it's
 12··not necessarily reflective of the maturity of a
 13··specific contract.
 14·· · · ·Q.· ··So you pulled data from this source
 15··that gave you the prices for oil futures for each
 16··date?
 17·· · · ·A.· ··Well, my understanding is it's an index
 18··of, or it's meant to be a reflection of how oil
 19··futures prices are changing on a day-to-day basis.
 20··And I know there's a methodology for how they
 21··choose which futures they're looking at, but it's
 22··meant to reflect a relative change in oil prices.
 23·· · · ·Q.· ··Did you use the price for the future
 24··with the nearest maturity date?
 25·· · · ·A.· ··It's been sometime since I've looked at

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··the details of how this index is computed, but I
 ·3··believe that's the general methodology, but I think
 ·4··it converts over to the next nearest to maturity at
 ·5··some point before maturity.··So I just don't recall
 ·6··all the specific details about that.
 ·7·· · · · · · ·(Exhibit 56, printout of backup data to
 ·8·· · · ·Chad Coffman's expert report production
 ·9·· · · ·numbers MILLER ENERGY-KPMG-CC 015923, marked
 10·· · · ·for identification.)
 11·· · · ·Q.· ··I'm going to hand you Exhibit No. 56.
 12··Exhibit 56 is a printout of some of the backup data
 13··that you provided to us.··It had production numbers
 14··MILLER ENERGY-KPMG-CC 015923.
 15·· · · ·A.· ··Can you give me just one second.
 16·· · · ·Q.· ··Sure, take your time.
 17·· · · ·A.· ··Okay.
 18·· · · ·Q.· ··Are you ready?
 19·· · · ·A.· ··Yes.
 20·· · · ·Q.· ··So do you recognize the data in Exhibit
 21··56?
 22·· · · ·A.· ··Not specifically.··I mean, I would have
 23··to have some additional context to -- all that is
 24··shown is a date and a price, so I'm not certain.
 25·· · · ·Q.· ··Maybe I can help you with that.··I

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··mean, it looks to be the oil index prices that you
 ·3··used for your analysis; right?
 ·4·· · · ·A.· ··I don't know the answer to that without
 ·5··looking at something else.
 ·6·· · · ·Q.· ··Let's look at the date 11/15/2011 that
 ·7··we looked at before and test that formula you gave
 ·8··us.
 ·9·· · · ·A.· ··Okay.
 10·· · · ·Q.· ··So if we would take 11/15/11, there's a
 11··price of $99.43; right?
 12·· · · ·A.· ··Yes.
 13·· · · ·Q.· ··99.43 and you would divide that by
 14··98.14, which is the price for 11/14/2011; right?
 15·· · · ·A.· ··Yes.
 16·· · · ·Q.· ··Subtract 1, right, subtract 1?
 17·· · · ·A.· ··Yes.
 18·· · · ·Q.· ··My calculator says .01314449.
 19·· · · ·A.· ··Right, which would correspond to what
 20··is listed in the column on Exhibit 44.
 21·· · · ·Q.· ··So can you now confirm that Exhibit 56
 22··is the oil price data you used to calculate that
 23··column on your Exhibit 44?
 24·· · · · · · ·MS. POSNER:··Objection.
 25·· · · ·A.· ··Based on that calculation, that seems

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··likely, yes.
 ·3·· · · ·Q.· ··And when you downloaded the data on oil
 ·4··prices on the index or futures, did you just
 ·5··download the data or did you compute something?
 ·6·· · · · · · ·MS. POSNER:··Objection.
 ·7·· · · ·A.· ··I believe it was just downloaded as is,
 ·8··because I'm reporting that these data actually come
 ·9··from a specific ticker symbol.
 10·· · · ·Q.· ··Where is the ticker symbol?
 11·· · · ·A.· ··In Footnote 62, in parens there, I have
 12··(NYMEX:CL) so that is probably why it was called
 13··REP_CL.
 14·· · · ·Q.· ··I see.··In the second line?
 15·· · · ·A.· ··Yes.
 16·· · · · · · ·(Exhibit 57, data downloaded from
 17·· · · ·Bloomberg, marked for identification.)
 18·· · · ·Q.· ··I've handed you Exhibit No. 57 which is
 19··data downloaded from Bloomberg.··Do you see there's
 20··a listing there for CL 1 and CL 2?
 21·· · · ·A.· ··There appears to be, yes.
 22·· · · ·Q.· ··Do you know what those refer to?
 23·· · · ·A.· ··Not specifically as I sit here, no.··I
 24··would have to investigate that.
 25·· · · ·Q.· ··Did you understand that there were

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··futures contracts available with different maturity
 ·3··dates?
 ·4·· · · ·A.· ··That's my general understanding of
 ·5··futures contracts, yes.
 ·6·· · · ·Q.· ··So there might at any point in time be
 ·7··a contract with a maturity date of X and another
 ·8··contract available at the same time with a later
 ·9··maturity date?
 10·· · · · · · ·MS. POSNER:··Objection.
 11·· · · ·A.· ··I understand that there can be
 12··different futures contracts, yes.
 13·· · · ·Q.· ··In performing your calculations here
 14··for the oil futures returns column in your Exhibit
 15··44 of your corrected report, was it just a
 16··mechanical calculation every time where you just
 17··went through that math that you walked through
 18··where you divide the price on one day by the prior
 19··day price and then subtract one?
 20·· · · ·A.· ··I believe so, yes.
 21·· · · ·Q.· ··Were you always comparing the same
 22··contracts with the same maturity date in that
 23··calculation?
 24·· · · ·A.· ··I know that series is put together
 25··somehow in terms of looking at the contracts on a

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··rolling basis.··Just without seeing the description
 ·3··of exactly how that's done, I just don't recall as
 ·4··I sit here.
 ·5·· · · ·Q.· ··Let's look at that November 15, 2011
 ·6··date again, and we already looked at Exhibit 56
 ·7··where we determined how you got to that number.
 ·8·· · · ·A.· ··Yes.
 ·9·· · · ·Q.· ··So the $99.43 divided by the $98.14;
 10··right?
 11·· · · ·A.· ··Yes.
 12·· · · ·Q.· ··So look at 11/15/2011 on Exhibit 57.
 13·· · · ·A.· ··Okay.
 14·· · · ·Q.· ··For purposes of calculating the return,
 15··the oil futures return for November 15, 2011, you
 16··used the $99.43 figure from the CL 2 futures
 17··contract; right?
 18·· · · ·A.· ··I mean, those numbers are the same.··I
 19··don't know that that's precisely how that was done.
 20·· · · ·Q.· ··You didn't divide that number into the
 21··98.22 from the same contract from the day before;
 22··did you?
 23·· · · · · · ·MS. POSNER:··Objection.
 24·· · · ·A.· ··That's not the calculation that was
 25··done.··Again, I'm not -- it's not clear to me

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··exactly if these are the contracts where those
 ·3··prices were coming from without investigating it
 ·4··more carefully, but --
 ·5·· · · ·Q.· ··Do you see the 98.14 for the CL 1
 ·6··futures contract for November 14, 2011?
 ·7·· · · ·A.· ··I see that number there, yes.
 ·8·· · · ·Q.· ··So it looks like you took the -- for
 ·9··your calculation for November 15, 2011, you took
 10··the price of 99.43 from one futures contract with a
 11··certain maturity and you divided that by the price
 12··from the prior day for a different futures contract
 13··with a different maturity date and that's how you
 14··performed the calculation.
 15·· · · · · · ·MS. POSNER:··Objection.
 16·· · · ·Q.· ··Is that right?
 17·· · · ·A.· ··Again, this index may have been created
 18··using a rolling method of looking at different
 19··contracts.··That may be how it was done.··I would
 20··have to investigate further.··I just don't know.
 21·· · · ·Q.· ··To do it properly, you should be using
 22··the same contract in the formula; right?
 23·· · · ·A.· ··I don't know that that's the only way
 24··you could do it.
 25·· · · ·Q.· ··Well, in some instances, did you use,

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··for your formula, the contract price for one
 ·3··contract divided by the contract price from the day
 ·4··before for that same contract?
 ·5·· · · ·A.· ··Again, just sitting here right now, I
 ·6··don't recall all the details of how the price
 ·7··series that I rely on was put together.··I
 ·8··understand that it reflects the prices of near-term
 ·9··futures contracts, but precisely how it was put
 10··together, I just don't recall, so I would be
 11··speculating to answer that question.
 12·· · · ·Q.· ··So looking at the figure you gave in
 13··your Exhibit 44 for your corrected report for the
 14··oil futures returns for November 15, 2011, you had
 15··this figure .0131445.··Is that correct?
 16·· · · ·A.· ··It reflect the differences in price you
 17··showed me on Exhibit 56, yes.
 18·· · · ·Q.· ··Well, if you took the price of 99.43
 19··and divided it by the prior day price of the same
 20··futures contract, you would get a different number;
 21··wouldn't you?
 22·· · · ·A.· ··I don't -- you know, you're
 23··representing what these series represent.··I'm not
 24··absolutely sure what they are, so I'm just not
 25··certain and I'm not going to speculate about it.

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2·· · · ·Q.· ··If Exhibit 57 accurately reflects the
 ·3··data for two different sets of futures contracts
 ·4··with different maturities -- assume that -- if
 ·5··that's the case, looking at the date of November
 ·6··15, 2011, the figure you have in your oil futures
 ·7··returns of .0131445 is not correct; right?
 ·8·· · · · · · ·MS. POSNER:··Objection.
 ·9·· · · ·A.· ··When you say not correct, I mean, if
 10··what you're saying is correct, and these are the
 11··sources for this price series, it's not necessarily
 12··incorrect.··It's just rolling over from one
 13··contract to the next and that's what this index is
 14··intended to reflect.
 15·· · · ·Q.· ··So how did you go about deciding which
 16··contract prices to use for this calculation?
 17·· · · ·A.· ··I believe -- I would have to
 18··double-check the details, but I think this is just
 19··a series that you can download on its own.··I don't
 20··believe there were any specific decisions or
 21··calculations made about which contract to pull
 22··from.
 23·· · · ·Q.· ··I mean, you see from the data on 57, if
 24··you're starting with a price of 99.43, you could
 25··have divided that by 98.22 or you could divide it

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··by 98.14 to do your calculation; right?
 ·3·· · · · · · ·MS. POSNER:··Objection.
 ·4·· · · ·A.· ··I mean, plausibly you could have done
 ·5··it either way, yes.
 ·6·· · · ·Q.· ··In fact, you or your team chose to do
 ·7··it by dividing 99.43 for the one contract and by
 ·8··98.14 for the other contract; right?
 ·9·· · · ·A.· ··If what you're representing to me is
 10··that these are the underlying prices that lead into
 11··this price series, that appears to be correct.
 12·· · · ·Q.· ··Do you have any explanation for why you
 13··would use that methodology?
 14·· · · · · · ·MS. POSNER:··Objection.
 15·· · · ·A.· ··Again, without reviewing, I don't -- I
 16··would have to review to understand completely the
 17··methodology used for this index.··I think it's
 18··still reflecting an overall change in prices.··The
 19··fact that you might be comparing across contracts,
 20··I think you can do it either way.
 21·· · · ·Q.· ··That contract that has the 99.43 price
 22··for 11/15/2011 also had a price for the prior day;
 23··right?
 24·· · · ·A.· ··It did, yes.
 25·· · · ·Q.· ··So --

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2·· · · ·A.· ··If this is what you're representing to
 ·3··me it is, yes.
 ·4·· · · ·Q.· ··Wouldn't that be the better
 ·5··calculation, to use the same security price?
 ·6·· · · ·A.· ··That's another way one could do it.··I
 ·7··would have to think carefully about what all the
 ·8··implications of that are, but it's plausible.··I
 ·9··don't want to say it's the wrong way to do it, but
 10··I think you could do it either way.
 11·· · · ·Q.· ··You could get different numbers and
 12··different results depending on which way you do it;
 13··right?
 14·· · · ·A.· ··Plausibly the numbers could be a little
 15··bit different.··Again, because they're both
 16··reflecting oil futures, you would expect them to
 17··move roughly together, but the numbers would be
 18··slightly different, yes.
 19·· · · ·Q.· ··If you had used the same prices in your
 20··calculation for the same contracts throughout, do
 21··you know how it would have affected all of your
 22··data?
 23·· · · · · · ·MS. POSNER:··Objection.
 24·· · · ·A.· ··Not without calculating it, no.
 25·· · · ·Q.· ··But it could affect all of your data;

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··right?
 ·3·· · · ·A.· ··It would only affect the index on days
 ·4··in which it rolled from one contract to the next in
 ·5··terms of how the returns would change for the oil
 ·6··index.
 ·7·· · · ·Q.· ··Who created the index?
 ·8·· · · ·A.· ··I believe this is a NYMEX index.
 ·9·· · · ·Q.· ··So you just consulted the data and used
 10··it, no one on your team performed any analysis of
 11··it; is that right?
 12·· · · ·A.· ··I recall, again, like I said, reading
 13··the details of this at one point in time.··I just
 14··don't recall the specifics as I sit here, but I
 15··don't think that's a fair description.
 16·· · · ·Q.· ··Do you have any idea how your team
 17··dealt with the situation where contracts had to be
 18··rolled forward?
 19·· · · ·A.· ··As I sit here, I don't know the details
 20··of that, no.
 21·· · · · · · ·MR. BALLARD:··We're going to take a
 22·· · · ·short break.
 23·· · · · · · ·THE VIDEO TECHNICIAN:··We're going off
 24·· · · ·the record.··The time is 2:47 p.m.
 25·· · · · · · ·(Recess taken.)

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2·· · · · · · ·THE VIDEO TECHNICIAN:··The time is
 ·3·· · · ·3:03:00 p.m.··We're back on the record.
 ·4·· · · ·Q.· ··Mr. Coffman, have you had a chance to
 ·5··talk with your staff about the rolling forward of
 ·6··futures contracts?
 ·7·· · · ·A.· ··The only thing I was able to confirm is
 ·8··that the series was created just by pulling down a
 ·9··consistent series from a market website that
 10··reflects the price of the nearest-term contract, so
 11··that -- there weren't any changes or putting
 12··together of the data from different contracts.
 13·· · · · · · ·The price series you see in Exhibit 56
 14··is precisely what was downloaded as the price index
 15··for the current contract.
 16·· · · ·Q.· ··Okay.··And so if you're looking at
 17··Exhibit 57, and Exhibit 56, do you have any way of
 18··knowing how the data your team downloaded for
 19··Exhibit 56, how it pulled prices from which
 20··maturity?
 21·· · · ·A.· ··I was not able to get to that level of
 22··detail over the break.··I don't know as I sit here.
 23·· · · ·Q.· ··But looking at Exhibit 57, for November
 24··15, you can see that there are prices for November
 25··15 and November 14 for both maturity dates; right?

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2·· · · ·A.· ··Yes.
 ·3·· · · ·Q.· ··And you just don't know why they chose
 ·4··to use one price from one security and the other
 ·5··price from the other security?
 ·6·· · · ·A.· ··When you say they chose, the data was
 ·7··just downloaded as one series so there wasn't a
 ·8··choice made.··We downloaded the data and used it as
 ·9··is.
 10·· · · ·Q.· ··So it was in the index, you just pulled
 11··it down?
 12·· · · ·A.· ··Yes.
 13·· · · ·Q.· ··So we would have to talk to whoever
 14··created the index to figure out why they were
 15··mixing prices up?
 16·· · · ·A.· ··I think it was designed that way.··I
 17··think the idea is you're trying to create something
 18··that reflects how an investment, a continued
 19··rolling investment in the most current contract,
 20··would have performed.··And so at some point you
 21··have to roll over to the next contract, so I think
 22··that's the logic behind it, but again, it's been a
 23··while since I've thought about this specific
 24··detail.
 25·· · · ·Q.· ··How would we go about finding out what

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··their methodology is for rolling forward the
 ·3··contracts?
 ·4·· · · ·A.· ··Well, it's a price series that's listed
 ·5··on S&P's Capital IQ website so I would want to go
 ·6··and consult with how it's described there.
 ·7·· · · ·Q.· ··Would you agree that it's important for
 ·8··this data to be correct for your analysis?
 ·9·· · · ·A.· ··Well, I don't think there's any
 10··question our data is correct in that we pulled it
 11··down as a price series of oil futures, so I don't
 12··think there's a question of whether it's correct or
 13··not.··You're asking a question about
 14··methodologically how it moves from one contract to
 15··the next, but I don't think any of the data is
 16··incorrect.
 17·· · · ·Q.· ··Would you agree that if your data is
 18··incorrect, your analysis will be incorrect as well?
 19·· · · ·A.· ··Well, I don't think any of the data is
 20··incorrect.··I calculated -- I downloaded an oil
 21··futures index and computed returns off of that.··I
 22··don't think there's anything incorrect about that.
 23·· · · ·Q.· ··If the data in the index is incorrect,
 24··your analysis will be incorrect; right?
 25·· · · ·A.· ··If there's something incorrect about an

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··input to an analysis, then conceivably the results
 ·3··coming out of that analysis are incorrect.
 ·4·· · · ·Q.· ··I think I have one more question for
 ·5··you on a different topic.··Can you turn back to
 ·6··your corrected report, Exhibit No. 42.
 ·7·· · · ·A.· ··Okay.
 ·8·· · · ·Q.· ··I'm looking at page 57.
 ·9·· · · ·A.· ··Okay.
 10·· · · ·Q.· ··There's the heading on Section 10(b)(5)
 11··damages.··Do you have that?
 12·· · · ·A.· ··Yes.
 13·· · · ·Q.· ··I'd asked you some questions about the
 14··damages analysis on the first day of your
 15··deposition.··Have you done any additional work
 16··since the first day of your deposition on damages?
 17·· · · ·A.· ··No.
 18·· · · ·Q.· ··Has your opinion on whether damages are
 19··capable of being calculated on a class-wide basis
 20··changed in any way?
 21·· · · ·A.· ··No.
 22·· · · ·Q.· ··Has your opinion about how damages
 23··could be calculated changed in any way since the
 24··first day of your deposition?
 25·· · · ·A.· ··No.

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2·· · · ·Q.· ··Does your damages methodology provide
 ·3··any mechanism for separating low risk investors
 ·4··from high risk investors?
 ·5·· · · ·A.· ··No.··I don't know why there would be a
 ·6··rationale to do that, but no.
 ·7·· · · · · · ·MR. BALLARD:··Thank you.··I have no
 ·8·· · · ·further questions at this time.
 ·9·· · · · · · ·MS. POSNER:··I'm going to attempt to do
 10·· · · ·some redirect without a voice.
 11··EXAMINATION BY
 12··MS. POSNER:
 13·· · · ·Q.· ··During your first deposition,
 14··Mr. Ballard asked you some questions regarding the
 15··identity of the analysts that were covering Miller
 16··Energy during the analysis period.
 17·· · · · · · ·Do you recall that?
 18·· · · ·A.· ··Yes.
 19·· · · ·Q.· ··Does the identity of the analyst, in
 20··other words, their name specifically, that covered
 21··Miller Energy matter?
 22·· · · ·A.· ··I don't see why it would, no.
 23·· · · ·Q.· ··Why not?
 24·· · · ·A.· ··Because analyst reports are generally
 25··put out by -- the concept of looking at analysts

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··for market efficiency is whether or not there's
 ·3··interest and information being disseminated about a
 ·4··company and an analysis being performed.··It
 ·5··doesn't depend on the identity of any particular
 ·6··analyst.
 ·7·· · · ·Q.· ··And Mr. Ballard was separating out what
 ·8··he deemed traditional analysts versus
 ·9··computer-generated analysts.··Do you remember that?
 10·· · · ·A.· ··Yes.
 11·· · · ·Q.· ··Do you know how many, in his definition
 12··of traditional analysts, covered Miller Energy
 13··during the analysis period?
 14·· · · ·A.· ··I believe it was on the order of
 15··approximately 80 to 90, I think.
 16·· · · ·Q.· ··80 or 90 reports?
 17·· · · ·A.· ··Reports.
 18·· · · ·Q.· ··Do you know how many analysts,
 19··traditional analysts, issued those reports?
 20·· · · ·A.· ··I believe it was six.
 21·· · · ·Q.· ··Do you know whether there have been
 22··other cases that have been certified that you've
 23··been involved in that have had similar numbers of
 24··reports or analysts covering the company?
 25·· · · · · · ·MR. BALLARD:··Objection to form.

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2·· · · ·A.· ··There are certainly cases where the
 ·3··analyst coverage in, terms of number of analysts or
 ·4··reports, was less that were certified, yes.
 ·5·· · · ·Q.· ··You testified at your first deposition
 ·6··that there's not a set threshold for the number of
 ·7··analysts that need to cover a security in order for
 ·8··Cammer factor 2 to be satisfied.··Why is that?
 ·9·· · · ·A.· ··Because again, the idea of the factor
 10··is whether or not there's sufficient interest and
 11··resources being spent in analyzing a company and
 12··information dissemination about a company, and so
 13··the specific counting of analysts isn't really the
 14··thrust of the idea.
 15·· · · · · · ·And so there's -- you know, there's --
 16··and there's no academic literature that says in
 17··order to have efficiency, you have to have a
 18··specific number of analysts.··So there's just not a
 19··bright line test.
 20·· · · ·Q.· ··Does not having a threshold mean that
 21··your analysis of Cammer factor 2 was not
 22··scientific?
 23·· · · · · · ·MR. BALLARD:··Objection.
 24·· · · ·A.· ··No.··I think I showed there was
 25··substantial coverage by analysts and there was no

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··need to consider what some sort of threshold would
 ·3··be since it was clear there was substantial analyst
 ·4··coverage.
 ·5·· · · ·Q.· ··Did the analysts that were covering
 ·6··Miller Energy during the analysis period provide
 ·7··information that was relevant to preferred
 ·8··securities holders?
 ·9·· · · ·A.· ··Yes.
 10·· · · ·Q.· ··What was that information?
 11·· · · ·A.· ··Any information that would be involved
 12··in valuing the common stock would be relevant to
 13··consider in valuing or considering the value of the
 14··preferred stock.
 15·· · · ·Q.· ··Did any of the analysts give a price
 16··target for the preferred securities?
 17·· · · ·A.· ··Not that I specifically remember, no.
 18·· · · ·Q.· ··Is it common for analysts to not
 19··provide a price target for preferred securities?
 20·· · · ·A.· ··I don't -- that would be something that
 21··I think is pretty rare.··I don't recall having seen
 22··a lot of analysts provide price targets for
 23··preferred securities.
 24·· · · ·Q.· ··I'm going to turn your attention to
 25··another topic Mr. Ballard asked you about at your

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··first deposition.··He asked you some questions
 ·3··regarding whether you can identify by name any of
 ·4··the market makers in Miller Energy securities
 ·5··during the analysis period.
 ·6·· · · · · · ·Do you recall that?
 ·7·· · · ·A.· ··Yes.
 ·8·· · · ·Q.· ··In conducting an analysis for market
 ·9··efficiency purposes, does it matter if you can
 10··identify by name the market makers?
 11·· · · ·A.· ··Certainly not in this case.··In a case
 12··where the stock is traded on a national exchange
 13··where the rules are designed to always make sure
 14··there is market making present for a common stock
 15··or a preferred stock, knowing the identity of who
 16··the market makers are I don't think really provides
 17··any additional or useful information.
 18·· · · ·Q.· ··If you could take out Exhibit 42, which
 19··is your corrected report, I'm going to turn your
 20··attention to page 30.
 21·· · · ·A.· ··Okay.
 22·· · · ·Q.· ··Can you read what you say quoting from
 23··Cammer under paragraph 44 there.
 24·· · · ·A.· ··Sure.··"It would be helpful to allege
 25··the company was entitled to file an S-3

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··registration statement in connection with public
 ·3··offerings, or if ineligible, such ineligibility was
 ·4··only because of timing factors rather than because
 ·5··the minimum stock requirements set forth in the
 ·6··instructions to Form S-3 were not met.··Again, it
 ·7··is the number of shares traded and value of shares
 ·8··outstanding that involve the facts which imply
 ·9··efficiency."
 10·· · · ·Q.· ··I think you discussed with Mr. Ballard
 11··the fact that Miller Energy was ineligible to file
 12··an S-3 for about the first year of the analysis
 13··period.··Do you recall that?
 14·· · · ·A.· ··Yes.
 15·· · · ·Q.· ··Was the reason that they were
 16··ineligible due to them failing to meet the, quote,
 17··minimum stock requirements that are described in
 18··Cammer factor 4 here?
 19·· · · ·A.· ··In terms of the shares traded or the
 20··value of shares outstanding, no.··My understanding
 21··that is not the reason they were ineligible.
 22·· · · ·Q.· ··And then there was a time period at the
 23··end of the analysis period where they became
 24··ineligible again.··Do you recall that?
 25·· · · ·A.· ··Yes.

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2·· · · ·Q.· ··And I believe that was July 14, 2015.
 ·3··Does sound like the right date to you?
 ·4·· · · ·A.· ··I believe that's the date on which they
 ·5··missed a filing and therefore weren't current on
 ·6··their filings, yes.
 ·7·· · · ·Q.· ··Did Miller Energy's shares trading and
 ·8··volume of shares outstanding otherwise meet the
 ·9··minimum stock requirement under Cammer factor 4
 10··during that time period?
 11·· · · ·A.· ··The number of shares traded certainly
 12··did.··The value of shares outstanding, my
 13··understanding is, is not actually necessary to be
 14··eligible for S-3.
 15·· · · ·Q.· ··Is there a reason why -- strike that.
 16·· · · · · · ·During the early part of the analysis
 17··period, Mr. Ballard asked you some questions
 18··regarding whether Miller Energy securities were
 19··efficient.··During that first year of the analysis
 20··period, is it your opinion that Miller Energy
 21··common stock was efficient?
 22·· · · ·A.· ··Yes.
 23·· · · ·Q.· ··Why is that?
 24·· · · ·A.· ··For all the reasons listed in my
 25··report.··I mean, all of the different factors that

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··I analyzed.··Clearly, some of the factors speak
 ·3··directly to it.
 ·4·· · · · · · ·Some of the factors speak over the
 ·5··period more generally, but in terms of -- I mean,
 ·6··there was certainly sufficient volume during that
 ·7··period.··There was analyst coverage during that
 ·8··period.
 ·9·· · · · · · ·They were generally -- would have been
 10··S-3 eligible, based on the shares traded and value
 11··of shares outstanding, but for the late filing.
 12··They were on the exchange, so it certainly met the
 13··market maker, and the price reaction to new
 14··information analysis supports it was efficient.
 15·· · · · · · ·The -- just one second.··While it
 16··had -- it had sufficient market capitalization at
 17··the beginning of the class period.··The bid-asked
 18··spread was low during the beginning of the class
 19··period.··There were institutional holdings.··There
 20··was no autocorrelation, and there was options
 21··trading.··So really none of the factors point
 22··towards it being inefficient during that period.
 23·· · · ·Q.· ··I realize the preferred stock didn't
 24··start trading until a little bit later, at least
 25··most of it.··During the initial few months when the

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··preferred stock was trading, is it your opinion
 ·3··that the market for preferred shares was also
 ·4··efficient at that time?
 ·5·· · · ·A.· ··Yes.
 ·6·· · · ·Q.· ··Why is that?
 ·7·· · · ·A.· ··Again, because overall, looking at all
 ·8··of the factors, there was certainly sufficient
 ·9··volume in the preferred securities.··There was
 10··analyst coverage of the company throughout that
 11··period.··They traded on the exchange.··They were
 12··S-3 eligible during that period.
 13·· · · · · · ·I've shown that at least during a
 14··period where the preferred's would have been
 15··subject to price changes due to new news, that
 16··there is a cause and effect relationship there.
 17·· · · · · · ·The bid-asked spread during that period
 18··for the preferred stocks was around -- just a
 19··second.··The bid-asked spread was generally below
 20··the mean for the exchange traded stocks.
 21·· · · · · · ·Overall, the market cap of the company
 22··was sufficiently high and there's no evidence of
 23··autocorrelation, regular autocorrelation, for
 24··preferred shares.
 25·· · · ·Q.· ··In your answer just now, when you

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··talked about the cause and effect, you were talking
 ·3··about different kinds of value-relevant information
 ·4··that you used to analyze the preferred securities
 ·5··versus the common stock.
 ·6·· · · · · · ·Why did you look at different types of
 ·7··information or announcements in analyzing the cause
 ·8··and effect relationship for the preferred's versus
 ·9··the common stock?
 10·· · · ·A.· ··Well, I explained that in my report.
 11··Because preferred securities have both equity-like
 12··and bond-like components, there are periods in
 13··which the preferred shares, while they were trading
 14··in a primarily bond-like manner, would not be
 15··sensitive to announcements like earnings
 16··announcements.··And then once you get to a point
 17··that the price is trading below par value and,
 18··therefore, in a substantial way, and therefore
 19··reflects that there is some liquidity concern about
 20··the company, then it would trade more on an
 21··equity-like basis and you would expect it to react
 22··to new updated news about the company, including
 23··potentially earnings announcements.··But in
 24··particular, you would expect it to respond to
 25··further information about the liquidity of the

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··company and the extent to which the preferred
 ·3··dividends were going to continue to be paid.··So I
 ·4··looked at those types of events.
 ·5·· · · ·Q.· ··You talked today and at your last
 ·6··deposition a little bit about how you collected
 ·7··news to use in your analysis and I think you
 ·8··provided a couple of different services you used.
 ·9··What are those services?
 10·· · · ·A.· ··Factiva for news, Investext for analyst
 11··reports, and then both the SEC directly and
 12··Investext to identify SEC filings.
 13·· · · ·Q.· ··Are those standard sources for
 14··gathering news about a company?
 15·· · · ·A.· ··Yes.
 16·· · · ·Q.· ··Have you used those same sources in
 17··other cases?
 18·· · · · · · ·MR. BALLARD:··Objection.
 19·· · · ·A.· ··Numerous other cases.
 20·· · · ·Q.· ··I turn your attention to your last
 21··deposition.··Mr. Ballard was asking you some
 22··questions about whether you could calculate Section
 23··11 damages on a class-wide basis.
 24·· · · · · · ·Do you remember that?
 25·· · · ·A.· ··Yes.

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2·· · · ·Q.· ··Assuming Series C and Series D
 ·3··purchases could be traced to a specific Miller
 ·4··Energy offering, could you calculate their damages
 ·5··under the statutory formula with precision?
 ·6·· · · · · · ·MR. BALLARD:··Objection to form.
 ·7·· · · ·A.· ··Yes.
 ·8·· · · ·Q.· ··Assuming Series C or D purchases could
 ·9··be traced to a specific Miller Energy offering and
 10··you had investors' purchase and sale information,
 11··would the damages for all purchasers of each
 12··offering be calculated in the same manner?
 13·· · · · · · ·MR. BALLARD:··Objection to form.
 14·· · · ·A.· ··They would be calculated using the same
 15··formula, yes.··The numbers might be different
 16··depending on their particular purchase prices and
 17··which offering it traces back to and what their
 18··sale prices were, et cetera, but the methodology
 19··would be identical, yes.
 20·· · · · · · ·MS. POSNER:··I don't think I have any
 21·· · · ·further questions, pending anything from Mr.
 22·· · · ·Ballard.
 23··EXAMINATION BY
 24··MR. BALLARD:
 25·· · · ·Q.· ··I have one more question.··With respect

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2··to the six traditional analysts that you referred
 ·3··to earlier, how many of those were covering Miller
 ·4··Energy at the beginning of the analysis period?
 ·5·· · · ·A.· ··One for sure.··There were other
 ·6··individuals on the call, but I don't recall seeing
 ·7··analyst reports from those particular individuals,
 ·8··and as I said, Investext, in my opening report, and
 ·9··in my deposition, Investext may not capture all
 10··analyst reports, but I believe there was one at the
 11··beginning of the class period that I could
 12··identify.
 13·· · · ·Q.· ··For the first year of the proposed
 14··class period, how many of the six traditional
 15··analysts were covering the stock?
 16·· · · ·A.· ··I don't recall.
 17·· · · · · · ·MR. BALLARD:··I have no further
 18·· · · ·questions.
 19·· · · · · · ·MS. POSNER:··Just give me two minutes.
 20·· · · · · · ·MR. BALLARD:··Let's go off.
 21·· · · · · · ·THE VIDEO TECHNICIAN:··We're going off
 22·· · · ·the record.··The time is 3:25 p.m.
 23·· · · · · · ·(Discussion off the record.)
 24·· · · · · · ·THE VIDEO TECHNICIAN:··The time is 3:26
 25·· · · ·p.m.··We're back on the record.

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 ·1·· · · · · · · · · · ··C. Coffman
 ·2·· · · · · · ·MS. POSNER:··I have no further
 ·3·· · · ·questions.··Thank you, Mr. Coffman.
 ·4·· · · · · · ·MR. BALLARD:··Thank you.
 ·5·· · · · · · ·THE VIDEO TECHNICIAN:··This completes
 ·6·· · · ·the video deposition of Chad Coffman on April
 ·7·· · · ·25, 2019 at 3:26 p.m.··We are off the record.
 ·8·· · · · · · ·(Time noted:··3:26 p.m.)
 ·9··
 10··
 11··
 12··
 13··
 14··
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 17··
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 ·1··
 ·2·· · · · · · · · ·C E R T I F I C A T E
 ·3··STATE OF NEW YORK )
 ·4·· · · · · · · · · ·:
 ·5··COUNTY OF NEW YORK)
 ·6··
 ·7·· · · ·I, ELEANOR GREENHOUSE, a Shorthand Reporter
 ·8··and Notary Public within and for the State of New
 ·9··York, do hereby certify:
 10·· · · ·That, CHAD COFFMAN, the witness whose
 11··deposition is hereinbefore set forth, was duly
 12··sworn by me and that such deposition is a true
 13··record of the testimony given by such witness.
 14·· · · ·I further certify that I am not related to
 15··any of the parties to this action by blood or
 16··marriage, and that I am in no way interested in the
 17··outcome of this matter.
 18·· · · ·IN WITNESS WHEREOF, I have hereunto set my
 19··hand this 29th day of April, 2019.
 20··
 21··
 22·· · · · · · · · ··______________________________
 23·· · · · · · · · · · · ··ELEANOR GREENHOUSE
 24··
 25··

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 ·1··
 ·2··April 25, 2019
 ·3·· · · · · · · · · · · ·I N D E X
 ·4··WITNESS· · · · · · ·EXAMINATION BY· · · · ·PAGE
 ·5··CHAD COFFMAN· · · ··MR. BALLARD· · · · ·317-487
 ·6·· · · · · · · · · · ·MS. POSNER· · · · ··487-498
 ·7·· · · · · · · · · · ·MR. BALLARD· · · · ·498-500
 ·8··
 ·9·· · · · · · · · · ··E X H I B I T S
 10·· · · · · · · · · · · · · · · · · · · · ··FOR IDENT.
 11···Exhibit 42, corrected expert report of· · ··317
 12···Chad Coffman, signed April 19, 2019
 13···Exhibit 43, redline of original report· · ··319
 14···against corrected report
 15···Exhibit 44, printout of regression CS· · · ·320
 16···tab in the backup provided with corrected
 17···Report
 18···Exhibit 45, trade dates tab from backup· · ·321
 19···to corrected report
 20···Exhibit 46, news dates tab from backup· · ··321
 21···to corrected report
 22···Exhibit 47, earnings release dates tab· · ··322
 23···from backup to corrected report
 24···Exhibit 48, SEC filing dates tab from· · · ·322
 25···backup to corrected report

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 ·1··
 ·2··April 25, 2019
 ·3·· · · · · · · · ·I N D E X (Continued.)
 ·4·· · · · · · · · · ··E X H I B I T S
 ·5·· · · · · · · · · · · · · · · · · · · · ··FOR IDENT.
 ·6···Exhibit 49, analyst report dates tab from· ·322
 ·7···Backup to corrected report
 ·8···Exhibit 50, printout from SEC Edgar· · · · ·424
 ·9···system indicating Exhibit 51 was filed
 10···on July 13, 2012
 11···Exhibit 51, letter dated July 13, 2012· · ··425
 12···from Miller Energy
 13···Exhibit 52, Edgar detail related to the· · ·452
 14···Form 10-K for the year 2012 for Miller
 15···Energy
 16···Exhibit 53, May 29, 2012 reserve report· · ·452
 17···Exhibit 54, reserve report· · · · · · · · ··452
 18···Exhibit 55, Form 8-K dated May 12, 2015· · ·464
 19···Exhibit 56, printout of backup data to· · ··472
 20···Chad Coffman's expert report production
 21···numbers MILLER ENERGY-KPMG-CC 015923
 22···Exhibit 57, data downloaded from Bloomberg··474
 23··
 24··
 25··

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   Errata – Deposition of Chad Coffman – 04-12-2019
      1.   352:3 - “date,” should be “dates.”
      2.   352:16 - “types,” should be “type.”
      3.   367: 14 - “July 18, 2011,” should be “July 28, 2011.”
      4.   469: 10 – “‘REP’ and then “CL,” should state “RET_CL.”
      5.   474:13 “REP_CL,” should state “RET_CL.”
      6.   494: 17-18 – “bid-asked spread,” should state “bid-ask spread.”
      7.   495: 17 – “bid-asked spread,” should state “bid-ask spread.”
      8.   495: 19 – “bid-asked spread,” should state “bid-ask spread.”




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